CaSe: 4217-CI’-OOJ_31-D|\/|B-J|\/|V DOC #Z 52 Filed: 02/13/18 l Of 85 Page|D #Z 152

|F|ClAL WATERMARK ON THE BACK- HOLD AT ANGLE TO V
\l\¢ 4 l

      
    
    
     
           

HECK |S VO|D WITHOUT A BLUE 81 GREEN BACKGROUND AND AN

   
  
  

        

  

       

§
wm v \\.', w - 1 ` ,1
1§@“‘§\111\“,$§1“%‘$}§1$“`@¥3% W» § 4 h
"`1> ""r\ \ f '1 . ‘
_ \111,.1.):11 \1\11\\1.,.,\.1§3;11 1431 111,

      
 
 
 
 
 

\§…
ill`{l"»\“ \1\\ ;1\`
S15"~‘ 9

`r">§»~,;\\`. mw 1
1 `UM ' 1111ng

\ "_. 1.`\ .111\1\“\…11“‘"

»01`)° 1 DOLLARS» '

         
   
    
   
    

       
 

    
 
 

- Hadiy§ rma`ni1~:13ey, B ` eacia`_r`y, ` `
uthonzed R res tative, “As Good As Aval”, Donor and Signatory for:

  
 

111

juan M\ "“'\`\":"` “`|1`1\\\3`“ 1
“`1'\““`§!\\)& 111“"\‘\‘$ mm

 

 

 

  
  

 

 

11 1111 121me d-

 

 

 

'4' - l’-OOlSl-DI\/|B-.]I\/|V DOC #Z 52 Filed: O2/13/18 2 Of 85 PB_Q€|D #Z 153
REC&S§NEB

 

FEB 1 3 2018
uNnED$mesomwptcouRT Secured Party/ Creditor MUT~'.‘ ;;1.1
N0 1 slPPl r. - . -. `, ",.-.`
iowa Q€UW Z§’», Hadiya ImaniElBey ; »_ k _ *""-"`1’€=‘1 Yl-I'

3 .~ l.:l‘.~§€ l"l!`."-:'.‘ l"-:?

  
  

P»,‘»" 4 (\"'»: UCC Filed #20172410781A

' . § Date Filed: 09/28/2017 2:38:54 PM
§Temporary Mailing Location: ([504] Ronaldman Road

§ Cleveland, Mississippi state Republic [38732] TDC)

Non-Resident / Non-Domestic / Non-Assumpsit

|||lllll|llll||llll 2018006191

PRESENTED 02-02-2018 03 2548 PM RECORDED' 02-02-2018 03 31'11 PM

l Omdal R d f ` '
UNITED STATES DISTRICT CoURTF',`B§§KTYA;°F;;";;';";OC"°“"'C°“"" C'°"‘

NORTHERN DISTRICT OF MISSISSIPPI

`--_..,

.,, "`1`:'."1'¢\:,, y :1\
Januany\ 1213‘,"201 8

 

RE: INDICTMENT CRIMINAL CASE NO. 4:17CR131
SCHEDULED COURT PROCEEDING,

Please enter this into the flle.
Notice of Special Visitation

Notice is hereby given that I, Hadiya Imani El Bey, a living, breathing woman, invoke
Special Visitation rights as titled Super Plaintiff/Respondent and that I have a superior
claim in the matter at hand. Now and forever I am a sovereign, and I reserve all of my
unalienable rights.

Please be advised that I, Hadiya Imani El Bey, the creditor, am the Authorized
Representative and the Executor for the STRAWMAN, CHARLINE KIRKLAND-
BRANDON, the debtor, I will be there as a tertius interveniens in the above referenced
matter. I will be there only as a third-party intervenor in what I see as a dispute of Title,
to conduct my public business as the Holder-In-Due-Course of the STRAWMAN charged.

I am the Creditor and Secured Party with regard to the person charged, and the
documents enclosed and in the flle, verify that I have already discharged the obligation in
this matter, and that the Plaintiff has no superior claim.

Based on these facts and the supporting documents in evidence, I will request and do
request that the account be adjusted, the case be closed, and the order of the Court be
released to me immediately.

J£wzlu.g,`¢~/~J/uwi/ §L /g’£*g}~
Hadiya Imani El Bey
enclosures

 

CaSe: 4217-Cl’-OOJ_31-D|\/|B-J|\/|V DOC #Z 52 Filed: 02/13/18 3 Of 85 Page|D #Z 154

 

UCC FlNANC|NG STATEMENT ADDENDUM

FOLLOW |NSTRUCT|ONS

9. NAME OF FlRST DEBTOR'. Same as line 1a or *lb on Financ`\ng Statement; if line 1b was left blank
because |ndividual Debtor name did not fit, check here |:|

 

9a oRGAleATioN's NAME
CHARLINE KIRKLAND-BRANDONTM©®, CESTUI QUE TRUST

C/O 1500 PENNSYLVANIA AVENUE, N.W. WASHINGTON, D.C. 20220

 

 

OR 9b. lND|V|DUAL'S SURNAME

 

FlRST PERSONAL NAME

 

ADD|T|ONAL NAME(S)/|NITIAL(S) SUFF|X

 

 

THE ABOVE SPACE |S FOR FlL|NG OFF|CE USE ONLY

10. DEBTOR'S NAME: Provide (10a or 10b) only B additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full name;
do not omitl modify, or abbreviate any pan of the Debtor's name) and enter the mailing address in line 10c

10a. ORGAN|ZAT|ON'S NAME

 

 

 

OR 10b. lND|V|DUAL'S SURNAME

 

lND|V|DUAL'S FlRST PERSONAL NAME

 

l lND|V|DUAL'S ADD|T|ONAL NAME(S)/|N|TIAL(S) SUFF|X

 

 

10<:. MAlLlNG ADDRESS ClTY STATE POSTAL CODE COUNTRY

 

 

 

 

 

 

11. ADD|T|ONAL SECURED PARTY'S NAME g \:] ASS|GNOR SECURED PARTY'S NAMEZ Provide onlyggename (11a or 11b)
118. ORGAN|ZAT|ON'S NAME

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF MISSISSIPPI

 

OR

 

 

 

 

 

11b. lND|V|DUAL'S SURNAME FlRST PERSONAL NAME ADD|T|ONAL NAME(S)/|N|TlAL(S) SUFF|X
11c. MA|L|NG ADDRESS C|TY STATE POSTAL CODE COUNTRY
91 1 JACKsoN AvE. EAsT, oXFoRD MS 3865 5 U_ S_

 

 

12. ADD|T|ONAL SPACE FOR lTEM 4 (CO||atera|):

j; Al| Assets, All Aocounts, Contract Rights, Documents, Chatte| Paper, General lntangibles, lnventory, Letters of Credit, Lines of Credit, Equipment and Fixtures, whether
presently owned or acquired in the future; All Accessions, Additions, Replacements, and Substitutes; Al| Records of ANY kind relating to ANY of the foregoing; All Proceeds
(including, |nsuranoe, Bonds, Stocks, General intangibles and Accounts Proceeds), together with All the other real and personal property, including; but NOT limited to: ANY
property, NOT specilically listed, named or listed by make, mode|, serial number, titled and non-titled interests in assets, possessions, property, resources and lioenses, etc...

_UNlTED STATES DlSTRlCT COURT FOR THE NORTHERN DlSTRlCT OF MlSSlSS|PP|, lNDlCTMENT CR|M|NAL CASE NO. 4;17CR131; ln the Pulaski County District Court,
Arkansas District Judge of Pulaski County Case Number: PCS-17-7628; Warrant No.: PC-17-3702 - Date Printed: October 16, 2017; Optlona| Form 90: Re|ease of Lien on Real
Property, Optional Form 91: release of Personal Property from Escrow, SF 281 Affidavit of individual Surety (attached). Secretary of Treasury, UCC Contract Trust Account -
Registered Mai| Number 346086831

This FlNANC|NG STATEMENT is to be fl|ed [fOr reoord] (or recorded) in the 14. This FlNANC|NG STATEMENT:

13` m REAL ESTATE RECORDS (if applicab|e)

i:i covers timber to be cut |:i covers as-extracted collateral i:l is filed as a fixture filing

15. Name and address of a RECORD OWNER of real estate described in item 16 16, Description of real estate:
(if Debtor does not have a record interest):

PARCEL #: 700020512661
ln the Pulaski County District Court, Arkansas District Judge of Pulaski County Case
Number: PCS-17-7628; Warrant No.: PC-‘l7-3702 - Date Printed: October16, 2017

PARCEL #: 700020512661 OPT|ONAL 902 RELEASE OF L|EN ON REAL PROPERTY
LOCATIONZ 504 RONALDMAN RD OPT|ONAL 911 RELEASE OF PERSONAL PROPERTY FROM ESCROW
CLEVELAND, MS 38732 SF 281AFF|DAV|T OF |ND|V|DUAL SURETY

Registered Mai| Number 346086831

UNlTED STATES DlSTRlCT COURT FOR THE NORTHERN
DlSTRlCT OF MlSSlSSlPPl, lNDlCTMENT CR|M|NAL
CASE NO. 4:17CR131

17.M|SCELLANEOUS: M*#w M £LAV\ //3//‘/'?

UCC FlNANC|NG STATEMENT ADDENDUM (Form UCC1Ad) (Rev. 04/20/11)

 

 

 

CaSe: 4:17-Cl’-00131-Dl\/|B-.]l\/|V DOC #: 52 Filed: O2/13/18 LEGFlBSi]?BQHHB #§155

i-~i‘_._
MI:L

§fl`l’.=~"l:l`.~.`~‘.1"'§_~’!:l l fE‘ 1 1 § 1331 34 Fil‘i

NOT|F|CAT|ON
PLEASE BE ADV|SED OF THE FOLLOW|NG

l, Hadiya lmani El Bey am not a corporation
l, Hadiya lmani El Bey am a flesh and blood, registered sovereign
l, Hadiya lmani El Bey am competent to handle my own affairs
l, Hadiya lmani El Bey, hereby reserve all of my rights

l, Hadiya lmani El Bey own all rights to the usage of CHARL|NE KlRKLAND-
BRANDONTM©®, and HAD|YA |MAN| EL-BEY any and all variations and
derivatives

l, Hadiya lmani El Bey specifically forbid the use of the same without my written
permission You are hereby served that | do not consent to any use whatsoever
of my Property, as shown in detail on the reverse side of this document

Any surrender of any information, documentation, or licensing is done so ONLY
under Threat, Duress, and Coercion and as a result of threats of physical harm,
either real or implied, due to aggression by an armed third-party debt collector.

Therefore, any and all actions on my part under Threat, Duress and Coercion,
does not give my expressed permission or license to practice law on my beha|f,
or to give venue or jurisdiction to any person, artificial entity, fiction, and/or
corporation as a result of the same.

lf you so elect to use my Property, by so doing you are entering into a legal and
binding contract and you fully agree to the terms thereof, including the fees for
such usage.

Thank you,

Hadiya lmani El Bey
Natural WombMan
Sovereign / Registered
All Rights Reserved
UCC 1-103, *UCC 1-207, UCC 1- 308

 

CaSe: 4217-Cl’-00131-D|\/|B-J|\/|V DOC #Z 52 Filed: O2/13/18 5 Of 85 Page|D #Z 156

 

HTTI®/?l”l/IT

Treparezfliy: F~[adi'ya lmani f[®e_y

Was£itaw ‘I“emz

‘Iémporary Maz[ing Location.' ([504] ana&{man Rpaz{
C&z've[hm{, Mississippi state RepuE[ic [38732]‘1"®@
Won-Rasi¢fent /Won-(Domestic /Won-}lssumpsit

 

_1-DMB-JMV Doc #: 52 Filed: 02/13/13 6 of 35 PagelD #: 157

UCC FlNANC|NG STATEMENT

FOLLOW lNSTRUCT|ONS

A. NAME & PHONE OF CONTACT AT FlLER (optiona|)
Hadiya lmani El Bey, Executor
B. E-MA|L CONTACT AT FlLER (optiona|)

 

 

 

 

C. SEND ACKNOWLEDGMENT TO' (Name and Address) 1

l__adiya lmani El Bey of Washitaw Terra
Temporary Mailing Location: ([504] Rona|dman Road
Cleveland, Mississippi state Republic [38732] TDC) _|
Non-Resident / Non-Domestic / Non-Assumpsit THE AeovE sPAcE is FoR Fll_lNe oFFlcE usa oNl_v

1. BEBTOR'S NAMEZ Provide only B Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the individual
r's name will not fit in line 1b, leave all of item ‘l blank, m@lere and provide the lndivi< ua| Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

 

 

 

1a ORGAN|ZAT|ON'S NAME

CHARL|NE KlRKLAND-BRANDONT“©®, CESTUI QUE TRUST

 

 

 

 

 

 

 

 

_ OR 1b. lND|V|DUAL'S SURNAME FlRST PERSONAL NAME ADD|T|ONAL NAME(S)/lNlTlAL(S) SUFF|X
1C. MA|L|NG ADDRESS C|TY STATE POSTAL CODE COUNTRV
C/O 1500 PENNSYLVANIA AVENUE, N.W. WASH|NGTON D.C. 20220 U.S.
2. DEBTOR'S NAME: Provide only w Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor’s name); if any part of the lndividual
Debtor’s name will not fit in line 2b, leave all of item 2 blank, ch@ere and provide the lndividual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

 

2a ORGAN|ZAT|ON'S NAME

OR

 

2b. lND|V|DUAL'S SURNAME FlRST PERSONAL NAME ADD|T|ONAL NAME(S)/|NlT|AL(S) SUFF|X

 

 

2c. MA|L|NG ADDRESS C|TY STATE POSTAL CODE COUNTRY

 

 

 

 

 

. SECURED PARTY'S NAME (er NAME er AsslGNEE er AsslGNoR sEcuRED PARTY); Provide only B secured Pany name (3a or 3b)
3a oReAleATloN's NAME

Hadiya lmani El Bey, trustmaker of HAD|YA lMANl EL BEY L|VlNG TRUSTl dated December 8, 2017

 

 

 

 

OR 3b. lND\VlDUAL'S SURNAME FlRST PERSONAL NAME ADD|T|ONAL NAME(S)/lNlTlAL(S) SUFF|X
30. MA|L|NG ADDRESS C|TY STATE POSTAL CODE COUNTRY
504 RoNALDMAN RD. CLEVELAND MS 3 8732 USA

 

 

 

 

 

4. COLLATERALI This financing statement covers the following collatera|:

This is the entry of collateral on the UNlTED STATES DlSTRlCT COURT FOR THE NORTHERN DlSTRlCT OF MlSSlSSlPPI,

_|NDlCTMENT CR|M|NAL CASE NO. 4:17CR131, via, Hadiya lmani El Bey, i.e., HAD|YA IMAN| EL BEY L|VlNG TRUST, Secured Party-
Creditor. The Commercial Chamber under necessity and the following property is hereby registered, claimed and liened in the same:
CHARL|NE K. BRANDONTM©® XXX-XX-XXXX; AUTO-TR|S #425045616, CUS|P #425045616, PRE-PA|D LEVY BOND NUMBER (l.M.F. #
E98397041) and UNlTED STATES DlSTRlCT COURT FOR THE NORTHERN DlSTRlCT OF MlSSlSSlPPl lNDlCTMENT CR|M|NAL
CASE NO. 4:17CR131; Filed Nov. 03, 2017 and ln the Pulaski County District Court, Arkansas District Judge of Pulaski County Case
Number: PCS-17-7628; Warrant No.: PC-17-3702 - Date Printed: October 16, 2017 and all related documents instruments and
endorsements front and back, except the paper card-but not the ink and printing on either of said paper card-issued by social security
Administration and bearing; now claimed and liened, Any and every alleged birth document/record re: CHARL|NE KlRKLAND®©T'“ BlRTH
CERTlFlCATE NUMBER: 123-56-00374; BC Bond # 10162642; is herein claimed and liened at the sum certain
$100,000,000,000,000,000.00 USD, backed by 22 Coined Silver Bond Certiflcate. A|so registered: Security Agreement, Ho|d Harmless &
indemnity Clause (Agreement), Power of Attorney. Said registration is to secure the rights title(s), interest and value therefrom in pursuant
to Public Policy House Joint Resolution 192, Public Law 73-10 and Unifomi Commercial-code: 10-104; Optional Form 90: Re|ease of Lien
on Real Property, Optional Form 912 release of Personal Property from Escrow, SF 28: Aftidavit of lndividual Surety (attached). Secretary
of Treasury, UCC Contract Trust Account - Registered Mai| Number RE 346 086 831 US, presents this UCC Financing Statement for full
settlement and closure of ALL matters on the account; discharged in the amount of $500,000.00 '

*-

__
5. cheek e_nly ii applicable and check M one box: collateral is [:] held in a mel (seel,ic§iAe, item 17 end lnsirueiiens)

  

 

being administered by a Decedent’s Personal Representative

 

6a. Check only if applicable and check only one box. /-,.:'1' l
. / ;.
! public.|:inanoe Transacli°n [:LManufactured- Home Transaction j_`_f'[*_‘-| A Debtor is a Transmittlng Utility ' `; l:\ Agricultural Lien _N:or\ UC.C,~ ~Filing
_
7. ALTERNAT|VE DESlGNAT|ON (if applicable): .|:l' Lessee/Lessor jl:l Consignee/Consignor |:i SellerlBuyer ® Bailee/Bailor E: Licensee/Licensor

 

a.oPTloNAL FlLER REFERENCE DATA: \/W w §L )g£?[¢\ / /3 / T//g)

UCC FlNANC|NG STATEMENT (Form UCC1) (Rev. 04/20/11)

 

CaSe: 4:17-Cl’-OOJ_31-D|\/|B-J|\/|V DOC #Z 52 Filed: 02/13/18 7 Of 85 Page|D #Z 158

AFFIDAVIT: COPY RIGHT / TRADE-NAME / TRADE MARK CONTRACT

[RECORDING REQUESTED BY AND WHEN
RECORDED...

Mail to: Hadiya lmani El Bey

Non-Resident / Non-Domestic /Non-Assumpsit / TDC:
Washitaw Terra

In Care of: near [504] Ronaldman Road

Cleveland, Mississippi state Republic [38732]

 

 

NO'I`ICE BY DECLARATION and AFFlDAVlT OF CONSEQUENCES FOR INFRINGEMENT
OF COPYRIGHT TRADE-NAME/TRADEMARK

And same are accepted for value and exempt from levy.

DEBTOR: Secured Party-Creditor Mailing Address:

CHARLINE KlRKLAND-BRANDON TM©® Hadiya El-Bey

C/O 1500 PENNSYLVANIA AVENUE, N.W. in Care of: [504] Ronaldman Road

WASHlNGTON, D.C. 20220 Cleveland, Mississippi State Republic near [38732]
PLAINSTA TEMENT 0F FACT

 

l depose and say as follows:

I, Hadiya lmani El Bey, a living soul, a natural wombman and competent witness(es), do state with the
first-hand knowledge the facts herein and in the nature of unalienable rights, claim, without prejudice, a
commercial unlimited possessory security interest and common law right of, in and to my Copyright(s),
Trademark(s) and Trade-Name(s) listed below. See UCC 1-308 in lieu of *UCC 1-207; United States
Codes 15 USC §1125, and 18 USC §3571‘.

l am the Secured Party of the herein said Copyright(s), Trademark(s) or Trade-Name(s), as supported
by a voluntary Copyright Notice in my possession, dated 12/23/2018 A.D.

All rights reserved re common-law copyright of trade-name/trademark Hadiya lmani El Bey _ including
any and all derivatives and variations in the spelling, i.e., CHARLINE KIRKLAND-BRANDON TM©®
and HADIYA lMANl EL BEY - Common Law Copyright© 2018 by Hadiya lmani El Bey. Said
common-law trade-name/trademark, Hadiya lmani El Bey, may neither be used nor reproduced, neither in
whole nor in part, in any manner whatsoever, without the prior, express, written consent and
acknowledgement of Hadiya lmani El Bey as signified by the blue-ink autograph of Hadiya lmani El Bey,
hereinafter “Secured Party”.

With the intent of being contractually bound, any juristic person, as well as the agent thereof,
consents and agrees by this Notice that neither said juristic person nor agent thereof shall display, nor
otherwise use in any manner, the common-law trade-name/trademark CHARLINE KlRKLAND-
BRANDON TM©®, and HADlYA lMANl EL BEY, nor the common-law copyright described herein, nor
any derivative of, or any variation in the spelling thereof without the prior, express, written consent and

 

Use of copyrighted codes and statutes within this document is only to notice the reader and all who would infringe
upon this copyright to that which is applicable to them and is not intended, nor shall it be construed, to mean that the
Secured Party confers, submits to, or has entered into any jurisdiction alluded to thereby.

 

 

CB_S€Z 4217-Cl’-OO]_31-DI\/|B-.]I\/|V DOC #Z 52 Filed: 02/13/18 8 Olc 85 PB_Q€|D #Z 159

fiaon 2513 FE)?E 1-":

Hiec

*§2¢‘9.`.:1.?~£’ iiii:i~.?:»! 34 i-ll‘i
acknowledgment of additional Secured Party, as signified by Secured Party’s autograph in blue-ink.
Secured Party neither grants, nor implies, nor otherwise gives consent for any unauthorized use of
CHARLINE KIRKLAND-BRANDON TM©®, and HADIYA lMANl EL BEY, all such unauthorized use
is strictly prohibited.

Self-executing Contract/Security Agreement in Event of Unauthorized Use: By this Notice, both
the juristic person and the agent thereof, hereinafter jointly and severally “User”, consent and agree that
any use of CHARLINE KlRKLAND-BRANDON TM©®, other than authorized use as set forth herein,
constitutes unauthorized use and counterfeiting of Secured Party’s common-law copyrighted Property,
contractually binds User and renders this Notice a Security Agreement wherein User is Debtor and

Hadiya lmani El Bey is Secured Party, and signifies that User:

(l) grants Secured Party a security interest in all of User’s assets, land and personal Property, and all of
User’s interest in assets, land and personal Property, in the sum certain amount of $1,000,000.00 per each
occurrence of use of the common-law copyrighted trade-name/trademark CHARLINE KIRKLAND-
BRANDON TM©®, as well as for each and every occurrence of use of any and all derivatives of and
variations in the spelling of CHARLINE KIRKLAND-BRANDON TM©®, plus costs, plus triple damages;

(2) authenticates this Security Agreement wherein User is Debtor and Hadiya lmani El Bey is Secured
Party, and wherein User pledges all of User’s assets, land, consumer goods, farm products, inventory,
equipment, money, investment Property, commercial tort claims, letters of credit, letter-of-credit rights,
chattel paper, instruments, deposit accounts, accounts, documents, general intangibles, and all User’s
interest in all such foregoing Property, now owned and hereafter acquired, now existing and hereafter
arising, wherever located, as collateral for securing User’s contractual obligation in favor of Secured Party
for User’s unauthorized use of Secured Party’s common-law copyrighted Property;

(3) consents and agrees with Secured Party’s filing of a UCC Financing Statement in the UCC filing
office, as well as in any county recorder’s office, wherein User CHARLlNE KlRKLAND-BRANDON
TM©® is a Debtor and Hadiya lmani El Bey is Secured Party;

(4) consents and agrees that said UCC Financing Statement described in paragraph “(3)” is a
continuing financing statement, and further consents and agrees with Secured Party’s filing of any
continuation statement necessary for maintaining Secured Party’s perfected security interest in all of User’s
Property and interest in Property pledged as collateral in this Security Agreement and described in
paragraph “(2)” until User’s contractual obligation theretofore incurred has been fully satisfied;

(5) consents and agrees with Secured Party’s filing of any UCC Financing Statement, as described in
paragraphs “(3)” and “(4)”, as well as the filing of any Security Agreement, as described in paragraph
“(2)”, in the UCC filing office, as well as in any county recorder’s office;

(6) consents and agrees that any and all such filings described in paragraphs “(4)” and “(5)” are not,
and may not be considered, bogus and that User will not claim that any such filing is bogus;

(7) waives all defenses; and

(8) appoints Secured Party as Authorized Representative for User, effective upon User’s default re
User’s contractual obligations in favor of Secured Party as set forth in “Payment Tenns” and “Default
Terms”, granting Secured Party full authorization and power for engaging in any and all actions on behalf
of User including, but not limited to, authentication of a record on behalf of User as Secured Party, at
Secured Party’s sole discretion, and as Secured Party deems appropriate, and User further consents and
agrees that this appointment of Secured Party as Authorized Representative for User, effective upon User’s
default, is irrevocable and coupled with a security interest.

User further consents and agrees with all of the following additional terms of Self-executing
Contract/Security Agreement in Event of Unauthorized Use:

Payment Terms: In accordance with fees for unauthorized use of CHARLINE KIRKLAND-
BRANDON TM©®, as set forth herein, User hereby consents and agrees that User shall pay Secured Party
all unauthorized use fees in full within ten (10) days of the date User is sent Secured Party’s invoice,
hereinafter “lnvoice”, itemizing said fees.

Default Terms: ln event of non-payment in full of all unauthorized use fees by User within ten (10)
days of date invoice is sent, User shall be deemed in default and: (a) all of User’s Property and Property
pledged as collateral by User as set forth in paragraph “(2)” immediately becomes, i.e. is, Property of
Secured Paity; (b) Secured Party is appointed User’s Authorized Representative as set forth in paragraph
“(8)”; and (c) User consents and agrees that Secured Party may take possession of`, as well as otherwise

 

:.. '. "~ -' l`._
Fmo.i'. zi`l=¢‘ r‘a=:.

"¢‘
_..~~.. `~\’ '

CaSe: 4:17-Cl’-00131-D|\/|B-J|\/|V DOC #Z 52 Filed: O2/13/18 9 Of 85 Page|D #Z 160

lf,'

iii ec

?3'.?1"@2.¢"’-""' »‘:¢ l Hl`;’»¢ 34 !§’l‘l

¢..‘..' L ~_

dispose of in any manner whatsoever at Secured Party’s sole discretion including, but not limited to, sale at
auction, at any time following User’s default and without further notice any and all of User’s Property and
interest, described in paragraph “(2)” formerly pledged as collateral by User, now Property of Secured
Party, in respect of this “Self-executing Contract/Security Agreement in Event of Unauthorized Use”, that
Secured Party, in Secured Party’s sole discretion, deems appropriate

Terms for Curing Default: Upon event of default, irrespective of any and all of User’s former
Property and interest in Property, described in paragraph “(2)”, in the possession of, as well as disposed of
by, Secured Party, as authorized by “Default Terms”, User may cure User’s default only re the remainder
of User’s said former Property and interest, formerly pledged as collateral that is neither in the possession
of nor otherwise disposed of by Secured Party within twenty (20) days of date of User’s default only by
payment in full.

Terms of Strict Foreclosure: User’s non-payment in full of all unauthorized use fees itemized in
lnvoice within said twenty (20) day period for curing default as set forth in “Terms for Curing Default”
authorizes Secured Party’s immediate non-judicial strict foreclosure on any and all remaining former
Property and interest in Property, formerly pledged as collateral by User, now Property of Secured Party,
which is not in the possession of, nor otherwise disposed of by, Secured Party upon expiration of said
twenty- (20) day default-curing period.

Ownership subject to common-law copyright and UCC Financing Statement and Security
Agreement filed with the UCC filing office. Record Owner Hadiya lmani El Bey, Autograph
Common Law Copyright © 20 l 8. Unauthorized use of “Hadiya lmani El Bey” incurs same
unauthorized-use fees as those associated with CHA RLINE KlRKLAND-BRANDON TM©®
AND HADIYA lMANl EL BEY as set forth in paragraph “(l)” under “Self-executing
Contract/Security Agreement in Event of Unauthorized Use”.

DEBTOR: Secured Party-Creditor:
HADIYA lMANl EL BEY

, l
QE@anLillmi"ML/enl£mb@]/I// ` ' //3///57
TOR’S AUTOGRAPH (Blue-lnk)- reditor’s Autograph,AllRig Re rved

 

CaSe: 4:17-Cr-00131-D|\/|B-J|\/|V DOC #: 52 Filed: O2/13/18 10 Of 85 Page|D #: 161
Efoo§:: 2013 Paa»z~ 1131

i.¢
~\-i

  

t 1025 1: ti : lll?~.: 34 aff

State of Mississippi )
) ss. ACKNOWLEDGEMENT
Bolivar County )

NOTICE

Using a notary on this document does not constitute any adhesioii, nor does it alter my status in any manner. The purpose for notary on
this document is verification and identification only and not for entrance into any foreign jurisdiction

Having witnessed the signing and sealing of the foregoing Verified NOTlCE BY DECLARAT[ON and
AFFIDAVIT OF CONSEQUENCES FOR lNFRINGEMENT OF COPYRIGHT TRADE-
NAME/'I`RADEMARK, by Hadiya lmani El Bey, l place my hand and seal hereon as an authentic act as a
Notary Public of the State of MISSISSIPPI.

FURTHER AFFIANT SAlTl-l NOT.

Subscribed and affirmed, without prejudice, and with all rights reserved, before me this 5 l day of
, 2018, the undersigned, a Notary Public in and for Mississippi state personally

ap ed the above-signed, known to me to be the one whose name is signed on this instrument, and has

acknowledged to me th as exew;e same.

Autograph of Notary W W

(-`
Autograph (Printed Name)QO\\ \> O}'WM
Notary Address an \\l » § &m\ HY`Q./

Q‘\M~Lihl\g R%"`l 153_,
My Commission Expires: l b LB! 903 |

 

 

 

 

 

 

CaSe: 4:17-Cl’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 11 Of 85 Page|D #Z 162

 

ATTACHMENT TO UNIFORM COMMERCIAL COD
FINANCING STATEMENT - UCC ~ 1
THIS FINANCING STATEMENT IS PRESENTED FOR FILING (Recording)
Pursuant to the Uniform Commercial Code 10-104 and HJR-192

NON-NEGOTIABLE

DEBTOR: Secured Party-Creditor Mailing Address:
CHARLINE KlRKLAND-BRANDON TM©® Hadiya El-Bey

C/O 1500 PENNSYLVANlA AVENUE, N.W. ln Care of: [504] Ronaldman Road
WASHfNGTON, D.C. 20220 Cleveland, Mississippi State Republic near [38732]

Financing Statement covers the following types (or items), Property:

All Property is hereby the Property of the Secured Party, Hadiya lmani El Bey and before any of the
following can be exchanged, sold, tendered, or in any manner disposed of, the Secured Party must be
compensated for the Property. F or the DEBTOR as a Transmitting utility, is entering within the
Commercial Registry, and for the Property of the following now owned and hereafter acquired herewith is
registering within the Commercial Registry: of the STATE OF MISSlSSIPPI bankruptcies, law suit,
seizers, levies/liens, rent(s), wages, all income, land and minerals, water and air rights, bank account(s),
bank deposit box(s), and the contents therein, savings account(s), retirement plans, stocks, bonds,
securities, benefits from the trust(s), inheritances, gotten inventory in any source, all machinery, jewelry,
clothing and accessories, household goods, appliances, any and all types of furniture, office equipment,
printer(s), copier(s), computer(s), scanner(s), file cabinet(s), typewriter(s), calculator(s), musical
instruments, antiques, sports equipment, baggage, of the STATE OF MlSSlSSlPPl CERTlFlCATE OF
BlRTH NUMBER gwn~l 727716-1-1, the SOClAL SECURITY NUMBER XXX-XX-XXXX ofthe
DEBTOR’s name; CHARLINE KIRKLAND-BRANDON T""©® AND HADIYA lMANl EL BEY and all
variations, any and all types of Property held by the Secured Party is/are satisfied to full acknowledgement
of same is completed. ANY and ALL Property that is not listed, named by make, model, serial number is
included as same. "

[X] DEBTOR, as a Transmitting utility foe all Property is of the accepting for value and is of the
exempting of all levies/liens For the adjusting of this file is based upon Public Policy House Joint
Resolution 192, and Uniform Commercial-code: 10-104. All proceeds, products, accounts, fixtures and
orders thereby (therefrom) are of the DEBTOR,

DATE DATE

/3//

Autograph of DEBTOR Autograph f Secured Party
Social Security Number: In Propria Persona Sui Juris ARR
XXX-XX-XXXX

   

 

Case: 4:17-cr-00131-Dl\/|B-.]l\/|V Doc #: 52 Filed: 02/13/18 12 of 85 Page|D #: 163
Eoot 2313 Psee EB

'rr" -
j.,s._

 

"' , _x "'} v"": ` i' 1 1 :"\'F ".f.' ." ‘.
€_=el t_§.'_.r itt d 11~_1.;1=._-'-1 .-;i

SECURITY PRIVATE AGREEMENT
NON-NEGOTIABLE

Pursuant to the uniform commercial code: 10-104 and HJR-l92
THIS FlNANClAL STATEMENT lS PRESENTED FOR FlLlNG (Recording)

DEBTOR: Secured Party-Creditor Mailing Address:
CHARLINE KIRKLAND-BRANDON TM©® Hadiya El-Bey

C/O 1500 PENNSYLVANIA AVENUE, N.W. ln Care of: [504] Ronaldman Road
WASHINGTON, D.C. 20220 Cleveland, Mississippi State Republic near [38732]

Now, therefore, the Parties agree as follows:

Ml

ln consideration for Secured Party providing certain accommodation to DEBTOR including but not limited
to, Secured Party

l. Constituting the source, origin, substance, and being, i.e. basis of “pre-existing claim”, from
which the Existence of DEBTOR was derived and on the basis of which DEBTOR is able to
function as a transmitting utility to conduct Commercial Activity as a conduit for the
transmission of goods and services to Secured Party, and to interact, contract and exchange
goods, services, obligations and liabilities with Other DEBTORS, corporations, and artificial
persons in Commerce and the laws pertaining thereto or derived therefrom,

2. Signing by accommodation for DEBTOR in all cases whatsoever wherein any autograph of
DEBTOR is Required;

3. lssuing a binding commitment to extend credit or for the extension of immediately available
Credit whether or not for the extension of immediately available credit whether or not drawn
upon and whether or not a charge back is provided for in the event of difficulties in collection;

4. Providing the security for payment of all sums due or owing, or to become due or owing, by
DEBTOR,

5. Constituting the source of the assets, via the sentient existence, exercise of faculties, and labor
of Secured Party, that provides the valuable consideration sufficient to support any contract
which DEBTOR may execute or to which DEBTOR may be regarded as bound by any person
whatsoever. DEBTOR hereby confirms voluntary entry of DEBTOR into the commercial
registry and transfers and assigns to Secured Paity a security interest in the Collateral
described herein-below.

 

 

 

HOLD HARMLESS AND INDEMNITY CLAUSE

DEBTOR: Secured Party-Creditor Mailing Address:
CHARLINE KlRKLAND-BRANDON TM©® Hadiya El-Bey

C/O 1500 PENNSYLVANIA AVENUE, N.W. ln Care of: [504] Ronaldman Road
WASHINGTON, D.C. 20220 Cleveland, Mississippi State Republic near [38732]

DEBTOR, without the benefit of discussion or division, does hereby agree, covenant and under
take to indemnify, defend, and hold Secured Party harmless from and against any and all claims
losses liabilities costs interests, and expenses hereinafter referred to as “Claims” or “Claim”
which Claims include without restriction, all legal costs, interests penalties and fines suffered or
incurred by Secured Party, in accordance with Secured Party’s personal guarantee with respect to
any loan or indebtedness of DEBTOR including any amount DEBTOR might be deemed to owe to
any creditor for any reason whatsoever.

Secure Party shall promptly advise DEBTOR of any Claim and provide DEBTOR with full details
of said Claim, including copy(s) of any document, correspondence, suit, or actions received by or

served upon Secured Party, Secured Party shall fully cooperate with DEBTOR in any discussions
negotiations, or other proceeding relating to any Claim,

OBLlGATlON SECURED
The Security interest granted herein secures any and all indebtedness and liability whatsoever of
DEBTOR to Secured Party, rather direct or indirect, absolute or contingent due or to become due,
now existing now existing now existing.

COLLATERAL

The collateral to which this Security Agreement pertains includes but is not necessarily limited to,
all herein below described personal and real Property of DEBTOR.

Before any of the below itemized Property can be disbursed, exchanged sold tendered, forfeited, l ,'
gifted, transferred, surrendered, conveyed, destroyed, disposed of, or otherwise removed from

DEBTOR’s possession, Dishonor Settlement Agreement Bill of exchanges held by Secured Party
must be satisfied in fully and acknowledgement of same completed.

ATTACHMENT “A” - PROPERTY LlST

All of the Property listed in this Property List is protected by all terms conditions and
agreements contained in all the documents recorded herein,

l. All proceeds from Secured Party’s labor from every source; from products
accounts fixtures crops mine heads wellheads and transmitting utilities etc.;

2. All rents, wages eamings remuneration, and income from every source;

3. All land in which DEBTOR has an interest, including the soil itself; all minerals

atop or beneath the soil surface; all air rights; all waters on or in the soil or land surface
such as a lake or pond, within the land boundaries

4. All real Property and all documents involving all real Property in which
DEBTOR has anginterest, including all buildings structures fixtures and appurtenances
situated on or affixed thereto, as noted in #3 above;

5. All cottages, cabins houses mansions and buildings of whatever type and
wherever located;

 

CaSe: 4:17-Cl’-00131-D|\/|B-.]l\/|V DOC #Z 52 Filed: O2/13/18 142@~]°1;8,_5:;§?_39§§1;3 §§ 165

 

6. All bank accounts foreign and domestic, bank “safety” deposit boxes and the
contents therein; personal security codes passwords, and the like associated therewith;
credit card accounts mutual fund accounts certificates of deposit accounts checking
accounts savings accounts retirement plan accounts stocks bonds, securities and
benefits from trusts;

7. All inventory from any source;

8. All machinery, either farm or industrial; all mechanical tools construction tools
tools of trade;

9. All boats yachts and watercraft; and all equipment, accoutrements baggage,
and cargo affixed or pertaining thereto or stowed therein, inter alia: all motors engines
ancillary equipment, accessories parts tools instruments electronic equipment,
navigation aids service equipment, lubricants fuels and fuel additives;

lO. All aircraft, gliders, balloons and all equipment, accoutrements, baggage, and
cargo affixed or pertaining thereto or stowed therein, inter alia: all motors engines
ancillary equipment, accessories parts, tools instruments electronic equipment,
navigation aids service equipment, lubricants fuels and fuel additives;

l l. All motor homes trailers mobile homes recreational vehicles houses cargo,
and travel trailers; and all equipment, accoutrements, baggage, and cargo affixed or
pertaining thereto or stowed therein, inter alia: all ancillary equipment, accessories parts
service equipment, lubricants fuels and fuel additives;

12. All animals and all farm livestock; and all things required for the care, feeding,
use, transportation, and husbandry thereof;
13. All pets, including cats, dogs birds fish, or whatever other of the animal

kingdom has been gifted or otherwise acquired: whether kept indoors or outdoors; with
all fixtures vehicles and housings required for their protection, feeding, care,
transportation, shelter, and whatever other needs may arise;

14. All vehicles autos trucks, four-wheel vehicles trailers wagons, motorcycles
bicycles tricycles, wheeled conveyances of any kind, motorized or otherwise, in which
DEBTOR has an interest;

15. All computers computer-related equipment and accessories flash drives
electronically stored files or data, telephones electronic equipment, office equipment and
machines

16. All visual reproduction systems aural reproduction systems motion pictures
films video tapes audio tapes sound tracks compact discs DVDs, ipods, digital
audio/video players phonograph records and players film, slides and projectors
photography and video and aural production equipment, cameras projectors tape
recorders cassette players etc.;

17. All manuscripts, books booklets pamphlets treatises treatments monographs
stories written material, libraries plays screenplays, lyrics songs music;

18. All books and financial records of DEBTOR;

19. All trademarks registered marks copyrights patents proprietary data and
technology, inventions intellectual Property, royalties good will;
20. All public or private scholastic degrees titles credentials medals, trophies

honors awards recognitions meritorious citations certificates from apprenticeship
training and/or continuing education programs etc., from whatever source, for whatever
trade, occupation, work, or endeavor;

21. All military (Army, Navy, Air Force, Marine, National Guard, etc.) discharge
papers and the like;
22. All records diaries journals photographs negatives transparencies, images

video footage, film footage, drawings sound records audio tapes video tapes computer
production or storage of all kinds whatsoever;

23. All fingerprints footprints palm prints thumbprints, RNA materials DNA
materials genes blood fractions biopsies surgically removed tissue, bodily parts
organs hair, teeth, nails semen, urine, other bodily fluids or matter, voice-print, retinal
images and the descriptions thereof', and all other corporal identification factors and said
factors’ physical counterparts in any form; and all records record numbers and

 

CaSe: 4:17-Cl’-00131-Dl\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 1353le 8511§?3"@§1=132?3: 166

 

information pertaining thereto;
24. All biometric data, records information, and processes not elsewhere described;
the use thereof and the use of the information contained therein or pertaining thereto;

25. All rights to obtain, use, request, refuse, or authorize the administration of any
food, beverage, nourishment, or water, or any substance to be infused or injected into or
affecting the body by any means whatsoever;

26. All rights to obtain, use, request, refuse, or authorize the administration of any
drug, manipulation, material, process procedure, ray, or wave which alters or might alter
the present or future state of the body, mind, spirit, free will, faculties and self by any
means method, or process whatsoever;

27. All keys locks, lock combinations encryption codes or keys safes, secured
places and security devices security programs software, user names passwords,
machinery, or devices related thereto;

28. All rights to access and use utilities upon payment of the same unit costs as the
comparable units of usage offered to most-favored customers inter alia: cable, electricity,
garbage, gas intemet, satellite, sewage, telephone, water, and all other methods of
communication, energy transmission, and food or water distribution;

29. All rights to barter, buy, contract, sell, or trade ideas products services or
work;
30. All rights to barter, buy, contract, sell, or trade any kind of asset, tool, item of

value, time, Property whatsoever without any requirement to apply for or obtain any
government license, permit, ceitificate, or permission of any kind whatsoever;

31. All rights to create, invent, adopt, utilize, or promulgate any system or means of
currency, private money, medium of exchange, coinage, barter, economic exchange,
bookkeeping, record-keeping, and the like;

32. All rights to use any free, rented, leased, fixed, or mobile domicile, as though
same were a permanent domicile; and to be free from requirement to apply for or obtain
any government license or permission, permit and otherwise; and to be free from entry,
intrusion, or surveillance, by any means regardless of duration of lease period;

33. All rights to manage, maneuver, direct, guide, or travel in any form of
automobile or motorized conveyance whatsoever without any requirement to apply for or
obtain any government license, permit, certificate, registration, or permission of any kind
whatsoever;

34. All rights to marry and procreate children, and to rear, educate, train, guide, and
spiritually enlighten any such children, without any requirement to apply for or obtain
any government license, permit, certificate, any vaccinations or permission of any kind
whatsoever;

35. All rights to buy, sell, trade, grow, raise, gather, hunt, trap, angle, and store food,
fiber, and raw materials for shelter, clothing, and survival;

36. All rights to protect myself and my family from any animals that threaten
my/our safety or well-being, or that cause a nuisance to me/us, by using deadly force
against any such animals

37. All rights to exercise dominion over the earth and the resources of the earth
including, but not limited to, using mineral and natural resources timber, water, and
harvesting animals for food;

38. All rights interest, and exclusive title in CERTlFlCATE OF BlRTH FILE #
gwn-l7277l6-l-l, .lanuary[ 5'/ fq%sued by STATE OF MISSlSSlPPI
DEPARTMENT OF HEALTH AND OFFICE OF VITAL STATISTICS SECTION,
instilling the pledge represented by the same pignus, hypotheca, hereditaments, res the
energy and all products derived therefrom including, but not limited to all caps name
CHARLINE KlRKLAND-BRAN DON, or any other derivative thereof;

39. All rights as outlined in the "Constitution for the united States of America" and
the Honorable "Bill of Rights";
40. All rights to exercise freedom of religion, worship, use of sacraments, spiritual

practice, and expression without any abridgement of free speech, or the right to publish,

 

CaSe: 4:17-Cl’-00131-Dl\/|B-.]l\/|V DOC #Z 52 Filed: O2/13/18 1 _ f

or the right to peaceably assemble, or the right to petition government for redress of
grievances or the right to petition any military force of the United States for physical
protection from threats to the safety and integrity of person or Property by either “public”
or “private” sources

41. All rights to purchase arms and ammunition, keep and bear arms for defense of
self, family, and parties entreating physical protection of person or Property;

42. All rights to keep and bear arms for hunting, self-protection, protection of
family, friends and Property, and target shooting of any kind;

43. All rights to create, preserve, and maintain inviolable, spiritual sanctuary and
receive into same any and all parties requesting safety and shelter;

44. All rights to create, carry, and use private documents of travel of any kind

whatsoever, inter alia: those signifying diplomatic status and immunity as a free,
independent Sovereign;

45. All rights to make video and/or audio recordings reports and documents of all
interactions between me or mine, and any government or quasi-govemment officials of
any kind whatsoever including the right to bring all necessary video/audio recording
equipment and necessary assistants and witnesses into government buildings as
necessary;

46. All rights to obtain or be presented with a certified copy of the Oath of Of`fice,
bond number, and bonding company’s name, address and contact information of`/for any
government official with whom l interact;

47. All claims of ownership or certificates of title to the corporeal and incorporeal
hereditaments, hereditary succession, and all innate aspects of being, i.e., body, mind,
spirit, free will, faculties and self;

48. All rights to privacy and security in person and Property, inter alia: all rights to
safety and security of a|| household or sanctuary dwellers or guests and all papers and
effects belonging to DEBTOR or any household or sanctuary dwellers or guests from
govemmental, quasi-govemmental, de facto governmental, or private intrusion, detainer,
entry, seizure, search, surveillance, trespass assault, summons or warrant, except with
proof of superior claim duly filed in the Commercial Registry by any such intruding party
in the private capacity of such intruding party, notwithstanding whatever purported
authority, warrant, order, law, or color of law may be promulgated as the authority for
any such intrusion, detainer, entry, seizure, search, surveillance, trespass assault,
summons, or warrant;

49. All names used and all Corporations Sole executed and filed, or to be executed
and filed, under said names

50. All intellectual Property, inter alia: all speaking and writing',

51. All thoughts beliefs world views emotions psychology, etc.;

52. All autographs and seals

53. All autographs on all applications for and all value associated with all licenses
foreign and domestic;

54. A|l present and future retirement incomes commissions compensation, and the

fruits of my labor, and rights to such incomes commissions compensation, and the fruits
of my labor issuing from all accounts and trusts

55. All present and future medical and healthcare rights and rights owned through
survivorship, from all accounts
56. All applications filings correspondence, information, images identifying

marks image licenses travel documents materials permits registrations and records
and records numbers held by any entity, for any purpose, however acquired, as well as
the analyses and uses thereof, and any use of any information and images contained
therein, regardless of creator, method, location, process or storage form, inter alia: all
processed algorithms analyzing, classifying, comparing, compressing, displaying,
identifying, processing, storing, or transmitting said applications filings correspondence,
information, images identifying marks image licenses travel documents materials
permits registrations records and records numbers and the like;

57. All autographs on all applications for and all value associated with all library

 

 

  

" ¢.- *‘~} ."_. .
f_¥,;'__i i_il;__, ~

cards;

58. All credit, charge, and debit cards mortgages notes applications card numbers
and associated records and information;

59. All credit of DEBTOR and/or Secured Party-Creditor;

60. All autographs on and all value associated with all trach citations/tickets
61. All autographs on and all value associated with all parking citations/tickets
62. All value from all court cases and all judgments past, present, and future, in any

court whatsoever; and all bonds orders warrants and other matters attached thereto or
derived therefrom;

63. All precious metals bullion, coins, jeweli'y, precious jewels semi-precious
stones mounts and any storage boxes receptacles and depositories within which said
items are stored‘,

64. All tax correspondence, filings notices coding, record numbers all benefit from
social security account # XXX-XX-XXXX; and any information contained therein, wherever
and however located, and no matter by whom said information was obtained, compiled,
codified, recorded, stored, analyzed, processed, communicated, or utilized;

65. All bank accounts foreign and domestic, all brokerage accounts stocks bonds
certificates of deposit, drafts futures insurance policies investment, securities all
retirement plan accounts lndividual Retirement Accounts money market accounts
mutual funds notes options puts calls pension plans savings accounts stocks
warrants securities benefits from trusts 401Ks and the like;

66. All accounts deposits escrow accounts lotteries overpayments prepayments
prizes rebates refunds returns Treasury Direct Accounts claimed and unclaimed funds
and all records and records numbers correspondence, and information pertaining thereto
or derived therefrom;

67. All stockpiles, collections buildups, amassment, and accumulations however
small, of Federal Reserve Notes (FRNS), gold certificates silver certificates and all other
types and kinds of cash, coins currency, and money delivered into possession of Secured
Party;

68. All drugs herbs medicine, medical supplies cultivated plants growing plants
inventory, ancillary equipment, supplies propagating plants and seeds and all related
storage facilities and supplies

69. All fitness and/or sports equipment intended to increase vitality, fitness and
health; and whole food complexes vitamin, mineral, and other supplements to the diet for
the same health and fitness purposes and all juicers, grinders, dehydrators, and storage
and delivery devices or equipment;

70. All products of and for agriculture; and all equipment, inventories supplies
contracts and accoutrements involved in the planting, tilling, harvesting, processing,
preservation, and storage of all products of agriculture;

71. All plants and shrubs trees fruits, vegetables farm and garden produce, indoors
and out, watering devices fertilizers and fertilizing equipment, pots collections of plants
e.g., bonsai, dry or live assortments of flowers and plants or anything botanical;

72. All farm, lawn, and irrigation equipment, accessories attachments hand tools
implements service equipment, parts supplies and storage sheds and contents

73. All fuel, fuel tanks containers and involved or related delivery systems

74. All metal-working, woodworking, and other such machinery; and all ancillary

equipment, accessories consumables, power tools hand tools inventories storage
cabinets tool boxes work benches shops and facilities

75. All camping, fishing, hunting, and sporting equipment; and all special clothing,
materials supplies and baggage related thereto;
76. All storage units safes, rifles guns bows crossbows, other weapons and

related accessories and the ammunition, reloading equipment and supplies projectiles,
and integral components thereof;

77. All radios televisions communication equipment, receivers transceivers,
transmitters antennas towers etc.; and all ancillary equipment, supplies computers
software programs wiring, and related accoutrements and devices

 

CaSe: 4:17-Cl’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 1_"8“_;1£11°3'515’&@6@::#: 169

ll

i" "f‘.T;‘=-"Zi:!l§‘- ll!l:l~`;-!-"S-‘l §"~`.l‘l

~..?.ri) ~_- .

78. All power-generating machines or devices and all storage, conditioning,
control, distribution, wiring, and ancillary equipment pertaining to or attached thereto;
79. All devices engines fixtures fans plans needed for the production or storage of
electrical energy;

80. All computers and computer systems and the information contained therein; as
well as all ancillary equipment, printers and data compression or encryption devices
processes and processors

81. All office and engineering equipment, fumiture, ancillary equipment, drawings
tools electronic and paper files and items related thereto;

82. All water wells and well-drilling equipment; and all ancillary equipment,
chemicals tools and supplies

83. All shipping, storing, and cargo containers and all chassis truck trailers vans
and the contents thereof; whether on-site, in transit, or in storage anywhere;

84. All building materials and prefabricated buildings and all components or

materials pertaining thereto, before or during manufacture, transportation, storage,
building, erection, or vacancy while awaiting occupancy thereof;

85. All communications and data; and the methods devices and forms of
information storage and retrieval, and the products of any such stored information;

86. All artwork and supplies paintings etchings photographic art, lithographs, and
serigraphs, etc.; and all frames and mounts pertaining to or affixed thereto;

87. All food; and all devices tools equipment, vehicles machines and related
accoutrements involved in food preservation, preparation, growth, transport, and storage;
88. All construction machinery; and all ancillary equipment, fuels fuel additives
supplies materials and service equipment pertaining thereto;

89. All medical, dental, optical, prescription, and insurance records records
numbers and information contained in any such records or pertaining thereto;

90. The Last Will and Testament from any source;

91. All inheritances gotten or to be gotten',

92. All wedding bands and rings watches andjewelry;

93. All household goods and appliances linen, wardrobe, toiletries, fumiture,

kitchen utensils cutlery, tableware, cooking utensils pottery, collectibles, collections
antiques, etc.;

94. All musical instruments whether new or old, including brass woodwinds
percussion, strings etc.;

95. All children’s toys, books clothing, playthings and possessions of any type or
amount;

96. All businesses corporations companies trusts partnerships limited
partnerships organizations proprietorships and the like, now owned or hereafter
acquired; and all books and records thereof and therefrom; all income, commissions
compensation, and the fruits of my labor therefrom; and all accessories accounts
equipment, information, inventory, money, spare parts, and computer software pertaining
thereto;

97. All ownership, equity, Property, and rights to Property now owned or held or
hereafter acquired in all businesses corporations companies partnerships limited
partnerships organizations proprietorships, and the like; and all books and records
pertaining thereto', all income therefrom; and all accessories accounts equipment,
information, inventory, money, spare parts, and computer software pertaining thereto;
98. All packages parcels envelopes or labels of any kind whatsoever which are
addressed to, or intended to be addressed to, Natural Person’s STRAWMAN / DEBTOR
and/or Secured Party-Creditor, whether received or not received;

99. All telephone numbers

100. All autographs on all applications for and all value associated with all
certificates of birth documents of the Natural Person’s STRAWMAN and/or Secured
Party, and all said documents themselves

101. All autographs on all applications for and all value associated with all
certificates of birth documents of all children and grandchildren of the Natural Person’s

 

 

STRAWMAN and/or Secured Party, and all said documents themselves

102. All autographs on all applications for social security numbers and all value
associated with all accounts SS No. XXX-XX-XXXX;
103. All autographs on all applications for social security numbers for all children

and grandchildren of the Natural Person’s STRAWMAN and/or Secured Party-Creditor,
and all value associated with all the accounts of those children/grandchildren;

104. All value associated with the private contract trust account number associated
with the Natural Person’s STRAWMAN and/or Secured Party-Creditor:

 

105. All value associated with the private contract trust account numbers of all
children and grandchildren of the Natural Person’s STRAWMAN and/or Secured Party-
Creditor;

106. All Bgzraphs\;g on all apap§}ications for and all value associated with Driver
License #: - THE STATE OF MISSISSIPPI;

107. All autographs on all applications for and all value associated with County
Sheriff"s Office Concealed Weapon Permit #:

108. All autographs on all applications for and all value associated with all passports
associated with the Natural Person’s STRAWMAN and/or Secured Party-Creditor and
his/her children and grandchildren;

 

109. All documents as recorded in the public record by association for the Natural
Person’s STRAWMAN and/or Secured Party-Creditor as indicated herein;

l 10. All autographs on all applications for and all value associated with all marriage
licenses

l 1 l. All private marriage contracts

1 12. All autographs on all applications for and all value associated with all
professional licenses

113 All autographs on all applications for and all value associated with all notary

licenses and all notary stamps embossers and seals used m performing the function of a
notary;
l 14. All private addresses by association by the Secured Party as indicated herein;

l 15. All autographs on all applications for and all value associated with all public
addresses
116. All private, registered, bond/account numbers and all bonds and notes tendered

to any and all entities including the Department of the Treasury, banks creditors
corporations etc;

l 17. The following United States Postal Service Registered Mail Numbers:

list the numbers in columns and use the Tab Key for spacing. This is a neater look for all
the numbers (but optional), if you do 30 or 40. You need a minimum of5 numbers but
the final count of Registered Mail Numbers is up to you. lf you ever use up all the
numbers you enter on your Property List, then you would need to attach more via a
UCC3 Amendment someday.

 

l 18. The following Bond/Account number series:
5 - Q Q l inclusive;
l 19. The following Bond/Account number series:

42 5 09 50 /A//lz ’Le?[wé}s@
120.l 2The following Bond/Acco t number series
5 Lv“ OQ 3;1 (');21 E_F- l?_- 85 inclusive;
121.l 2Any and all Property not specifically listed, named, or specified by make,
model, serial number, etc., is expressly herewith included as collateral of the spiritual
being Secured Party.

This Security Agreement devotes on Secured Party’s heirs and assigners, who are equally
as authorized, upon taking title to this Security Agreement, as Secured Party to hold and
enforce said Security Agreement via non-negotiable contract, devise, or any lawful

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 20 Of 85 Page|D #Z 171

 

commercial remedy.
DEFAU LT

This following shall constitute the events of default hereunder:
1. Failure by DEBTOR to pay any debt secured hereby when due;
2. Failure by DEBTOR to perform any obligation secured hereby when required to be

performed or;
3. Any breach of any warrant by DEBTOR contained in any Security Agreement.

A UTOGRAPHS

Secured Party accepts all autographs in accord with UCC 3-419

XM%§ULMMJ)£WW ’/3'//?

Social Security Number: XXX-XX-XXXX

X j%@l/.uc§)\LML/LL 511/54% //31/1<3

Secured é/Irty/Propria Persona, Sui Juris ARR

 

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 21 Of 85 Page|D #Z 172

RELEASE OF L|EN ON REAL PROPERTY

Whereas CHARL|NE KlRKLAND-BRANDON T"'©®, of near Washitaw TerraLSO4l Ronaldman Road,
Cleveland, Mississh>pi state Republic [3873211/TDC by a bond
(Name) (Place of Residence)

For the performance of U.S. Government Contract Number XXX-XX-XXXX, became a surety for the complete and successful
performance of said contract, which bond includes a lien upon certain real Property further described hereafter, and Whereas
said surety established the said lien upon the following Property

All Assetsl All Accounts, Contract Rightsl Documents, Chattel Paper, General |ntangiblesl lnventory, Letters of Credit, Lines
of Credit, Equipment and Fixturesl whether presently owned or acquired in the future; All Accessions, Additions,
Replacements, and Substitutes; All Records of ANY kind relating to ANY of the foregoing; All Proceeds (including, lnsurance,
Bonds, Stocks, General |ntangibles and Accounts Proceeds), together with All the other real and personal Property, including;
but NOT limited to: ANY Property, NOT specifically listed, named or listed by make, model, serial numberl titled and non-titled
interests in assets, possessions Property, resources and licenses, etc... ln the Pulaski County District Court, Arkansas
District Judge of Pulaski County Case Number: PCS-17-7628; Warrant No.: PC-17-3702 - Date Printed: October 16, 2017

And recorded this pledge on lNDlCTMENT CR|M|NAL CASE NO. 4:17CR131
(Name of Land Records)
ln the UNlTED STATES DlSTRlCT COURT FOR THE NORTHERN DlSTRlCT OF M|SSlSS|PP|l 911 Jackson Avenue East,

z
oxford Ms 38655,

 

(Loca|ity) (State)
and

Whereas, l, Hadiya lmani El Bey, being a duly Authorized representative of the United States Government as a warranted
contracting Officer, have determined that the lien is no longer required to ensure further performance of The said Government
contract or satisfaction of claims arising therefrom,

and

Whereas the surety remains liable to the United States Government for continued Performance of the said Government
contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Goverm-

[Date] Q,g[]__ th, 2018

l, W\ a notary public \ 1 (
Mississippi State, Coun , oerti that rsonally appeared before me,
(W;r:s my h official seal, this day of
,o'
o ll

- by releases the Aforementioned lien

   

R. Thumb

  
   

` W

Notary Public SignaEre
My Commission expires \b! 3 l 309"'\

 

 

AUTHOR|ZED FOR LOCAL REPRODUCT|ON OPT|ONAL FORM 90 (REV, 1-90)

Prescribed by GSA-FAR (48CFR) 53. 228(

 

 

CaSe: 4:17-Cl’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 22 Of 85 Page|D #Z 173

RELEASE OF PERSONAL PROPERTY FROM ESCROW

Whereas CHARLINE KlRKLAND-BRANDON “"©®, of near Washitaw Terrzg§04l Ronaldman Road, C|eve|anthississippi
state Republic |38732|) fTDC, by a bond

(Name) (Place of Residence)
For the performance of U.S. Government Contract Number XXX-XX-XXXX, became a surety for the complete and successful
performance of said contract, and Whereas said surety has placed certain personal Property in escrow

in Account Number 4:17CR131 on deposit

at UNlTED STATES DlSTRlCT COURT FOR THE NORTHERN DlSTRlCT OF MlSS|SSlPP|,
(Name of Financial lnstitution)

Located at 911 Jackson Avenue East, Oxford, MS 38655, and
(Address of Financial lnstitution

Whereas, l, Hadiya lmani El Bey, being a duly authorized representative(s) of the United States Government as a warranted
contracting officer, have determined that retention in escrow of the following Property is no longer required to ensure further
performance of the said Government contract or satisfaction of claims arising therefrom,

All Assets, All Accounts, Contract Rights, Documents, Chattel Paper, General lntangib|es, |nventory, Letters of Credit, Lines of Credit,
Equipment and Fixtures, whether presently owned or acquired in the future; All Accessions, Additions, Replacements, and Substitutes; All
Records of ANY kind relating to ANY of the foregoing; All Proceeds (inc|uding, lnsurance, Bonds, Stocks, General |ntangibles and Accounts
Proceeds), together with All the other real and personal Property, including; but NOT limited to: ANY Property, NOT specifically listed,
named or listed by make, model, serial number, titled and non-titled interests in assets, possessions Property, resources and licenses,
etc... ln the Pulaski County District Court, Arkansas District Judge of Pulaski County Case Number: PCS-17-7628', Warrant No.: PC-17-
3702 - Date Printed: October16, 2017; *SEE ATTACHMENT* OPT|ONAL FORM 90: RELEASE OF L|EN ON REAL PROPERTY,
STANDARD FORM 28: AFFlDAVlT OF lNDlVlDUAL SURETY

and
Whereas the surety remains liable to the United States Government for the continued performance of the said Government
contract and satisfaction of claims pertaining thereto.

Now, therefore, this agreement witnesseth that the Government hereby releases from escrow the Property listed above, and
directs the custodian of the aforementioned escrow account to deliver the listed Property to the surety. lf the listed Property
comprises the whole of the Property placed in escrow in the aforementioned escrow account, the Government further directs
the custodian to close the account and to return all Property therein to the surety, along with any interest accruing which
remains after the deduction of any fees lawfully owed to

(DTC) DEPOS|TORY TRUST COMPANY,
(Name of Financial lnstitution)

roare 3 __11\,2013 rsignature] HQ¢§Lu_do_)Jl/\LOJ\». a z

l, W ;___2 >M‘a notary public
Mississippi state, Bolivar County, certify that `BQWMMM_.LQ_/ké&€)ersona|ly appeared before me,
yin;my ha d official seat this day of l 31 9'°@
w~. \““N~»§A/

Notary Public Signature

My Commission expires iv z § 2901

  

 

OPT|ONAL FORM 91 (1-90)
Prescribed by GSA-FAR (48 CFR) 53.228(0)

 

 

 

CaSe: 4:17-Cl’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 23 Of 85 Page|D #Z 174

r~__ _ .~,~,.' ~. z
await ¢1.11‘-'- F:."~.~z

 

TRUTH AFFIDAVIT
IN THE NATURE OF SUPPLEMENTAL
RULES FOR ADMINSTRATIVE AND MARITIME CLAIMS RULES C (6)

Document: HWl-04152018-CUM
Grant of Exclusive power of attorney to conduct all
tax, business and legal affairs of Principal Person

DEBTOR: Secured Party-Creditor Mailing Address:
CHARLINE KlRKLAND-BRANDON T""©® Hadiya El-B€y

C/O 1500 PENNSYLVANIA AVENUE, N.W. ln Care of: [504] Ronaldman Road
WASHINGTON, D.C. 20220 Cleveland, Mississippi State Republic near [38732]

GRANTING POWER OF ATTORNEY, IN FACT

CHARLINE KlRKLAND-BRANDON. or any derivative thereof, C/O 504 RONAl_JDl\/lAN RD.,
CLEVELAND` MlSS. 38732 is the Copy Right/Trade Name./Trade l\/lark belonging to l, Me, My, Myself,
addressee Hadiya llnani El Bey. Non-Resident / Non~Domestic / Non-Assumpsit / TDC. ln Care of: near
[504] Ronaldman Road_ Cleveland, Mississippi state Republic [38732], a Living Soul. a flesh and blood
Man. l-lereinafter referred to as Executor of the CHARLINE KIRKLAN D-BRAN D(`.)N. Estatet Secured
Party-Creditor, Benel`tciary, Authorized Representative` l-lOLDER-lN-DLJE-COLlRSE with Power of
Attorney in Fact. To take exclusive charge ol`. manage and conduct all of my tax, DBA (Doing Business
As) and legal affairs and for such purpose to act for My Copy Right/Trade Name/Trade Mark, without
limitation on the powers necessary to carry out this exclusive purpose of attorney in fact as authorized:

(A) Obtain information or documents from any government or its agencies and negotiate, compromise` or
settle any matter with such government or agency (inc|uding tax matters). Prepare applications provide
information, and perform any other act reasonably requested by any government or its agencies in
connection with governmental benefits (including military and social security benefits).

(B) To take possession of. hold. and manage l\/ly Copy Right`s,iTrade Name’s/Trade Mark’s real estate and
all other Prope)ty; to receive money or Property paid or delivered from any source for My Copy
Right/Trade Name/Trade Mark: open. maintain or close bank accounts (inc|uding, but not limited to,
checking accounts savings accounts and ce1tif`1cates ofdeposit)t brokerage accounts and other similar
accounts with financial institutions Have access to any safe deposit box owned, including its contents

(C) Conduct any business with any banking or financial institution with respect to any of principal’s
accounts including, but not limited to, deposit funds in, make withdrawals 'from. or sign checks or drafts
against any account standing in my name individually orjointly in any bank or other depository, to cash
coupons obtaining bank statements passbooks, drafts money orders warrants bonds or certificates of
deposits to endorse checks perform any act necessary to deposit, negotiate, sell or transfer any notes.
security, or draft of the United States ofAmerica, including U.S. Treasury Securities. vouchers payable to
the principal by any person, iirm, corporation or political entity Or other documents in l\/ly Copy
Right/Trade Name/Trade Mark; to have access to. and place items in or remove them from, any safety
deposit box standing in My Cop_v Right/"l`rade Name/'l`rade l\/lark. individually orjointly. and otherwise to
conduct bank transactions or business for me in my name. Hadiya lmani E| Bey;

(D) Take any and all legal steps necessary to collect any amount or debt owed. or to settle any claim,
whether made against or asserted on behalf of principal against any other person or entity. To pay for l\/ly
Copy Right/Trade Name/Tradc l\/lark, any just debts and expenses including reasonable expenses incurred
by my attorney in fact Hadiya lmani El Bey. in exercising this exclusive power ofatl'orney;

 

 

CaSe: 4:17-Cr-00131-Dl\/|B-Jl\/|V DOC #Z 52 Filed: O2/13/18 2131-amf 851|?3?@16£)?#: 175

   

11=1:1.1:.';'.1 1111

(E) 'i`o retain any investments invest_ and to invest in stocks bonds or other securities or in real estate or
other Property for My Copy Right/"l`rade Name/Trade Mark; Exercise all stock rights as proxy, including
all rights with respect to stocks bonds debentures or other investments

(F) To give general and special proxies or exercise rights of conversion or rights with respect to shares or
securities to deposit shares or securities with, or transfer them to protective committees or similar bodies

to join in any reorganization and pay assessments or subscriptions called for in connection with shares or
securities

(G) To sell, exchange, buy, leasc. give options reinvest atty assets of Property owned, which may include
income producing or non-income producing assets and Property: make contracts concerning real estate or
other Property for such considerations and on such terms as my attorney in fact, Hadiya lmani El Bey,
may consider prudent;

(H) Sell, convey. lease. mortgage, managel insure, improve, repair. or perform any other act with respect to
any of principal"s Property currently owned or acquired later` including but not limited to. real estate and
real estate rights (including the right to remove tenants and to recover possession). "l`his includes the right
to sell or encumber any homestead currently owned or may own in the future. '1"o improve or develop real
estate, to construct, alter. or repair building structures and appurtenances or real estate; to settle boundary
lines easements and other rights with respect to real estate; to plant, cultivate, harvest, and sell or
otherwise dispose of crops and timber, and do all things necessary or appropriate to good husbandry;

(l) To provide for the use~ maintenance repair, security, or storage of my tangible Propeny; disclaim any
interest that might otherwise be transferred or distributed to principal from any other person, estate. trust, or
other entity, as may be appropriate

(.l) To purchase and maintain such polices of insurance against liability, fire. casualty, or other risks as my
attorney in fact1 Hadiya lmani El Bey may consider prudent;

The Living Soul(s), Hadiya lmani El Bey, the Creditor, the Secured Party, the Authorized Representative,
and the Attorney ln Fact, named herein on the Form UCC-1 and Commercial Security Agreement filed the
commercial registry, is hereby authorized by law to act for and in control of My COPY RIGHT / TRADE
MARK NAME-CORPORATION, ., the DEBTOR or any derivative thereof. In addition, threough the
exclusive power of attomey, to conduct for all business and legal affairs of of My COPY RIGHT / TRADE
MARK NAME-CORPORATION, . The term “exclusive” shall be construed to mean that while these
powers of attorney are in force, only the attorney in-fact may obligate the Copy Right / Trade Name /Trade
Mark in these matters and the Copy Right / Trade Name / Trade Mark can not obligate with regard to
same. This grant of Exclusive Power is lrrevocable during the lifetime of the Title Owner(s) Living Soul,
Hadiya lmani El Bey.

Execut'ed and sealed by the voluntary act of my own hand, this`_z:d[__ day onMMN{lQlS.
'l`his instrument was prepared by Hadiya lmani El Bey
Acceptance:
CHARL|NE KlRKLANl)-BRANDON®©T", Grantor
M_v Copy Right/Trade Name/'l`rade Mark

Executed without the UNlTED STATES, l, Me, lVly, Myself`, Hadiya lmani El Bey declare under penalty
o'f perjury and under the laws of MISSlSSlPPl that the foregoing is true and correct.

 

CaSe: 4:17-Ct’-OOJ_31-Dl\/lB-.]l\/lV DOC #Z 52 Filed: O2/13/18 25 Of 85 PagelD #Z 176

 

January 23, 2018

Hadi a lmani El Bey _ .

Non- estdent / Non-Domesttc / Non-Assumpstt / TDC:
In Care of: ( 5_04_] Ronaldman Road

Cleveland, tss_1ss1p 1 sta_te Republic [38732] TDC)

a temporary matlmg ocatton

Michael P. Mills dba DISTRICT JUDGE MICHAEL P. MILLS
Fed. Bldg. Room 369 THE U.S. DlSTRlCT COURT OF MISSISSIPPI. 911 Jackson Ave. East
Oxford, MS 38655

Re; CHARLINE KIRKLAND~BRANDON©TM, ACCoUNT No. 425045616

Appointment of Fiduciarv

I, Hadiya lmani El Bey “Third Party Interest Intervener,” having terminated the previous
fiduciary to the corporate entity (ens legis), a documented vessel under United States registry,
otherwise described as CHARLINE KIRKLAND-BRANDON©TM, or any alphabetical or
numerical variation thereof, nunc pro tunc, said entity having as it’s trustee the Secretary of
Transportation of the United States pursuant to and in accordance With [Title 46 App. U.S.C. §
1247] and there being no living sentient being responsible to accept service of process or other
documents, and cannot appear in a court of the United States or act as a duly appointed transfer
agent, and cannot achieve parity With real people. Therefore I, Hadiya lmani El Bey, “Third
Party Interest Intervener,” hereby nominate and do appoint Michael P. Mills dba DlSTRlCT
JUDGE MICHAEL P. MILLS, as being qualified to fulfill the position of “Fiduciary Creditor”
and Fiduciary Debtor” for the corporate entity described above in all-capital-letter-
assemblages, the same to be effective immediately as of the date set forth below, and shall
continue until further notice or reappointment, substitution or cancellation, within the venue as
ordained and established by We the People, through their original Organic Constitution(s).

Whereas, said fiduciary creditor’s responsibilities are to exercise scrupulous good faith and
candor towards, and for the benefit and on behalf of Hadiya lmani El Bey, “Third Party
Interest Intervener,” the exclusive and limited purpose of accepting and receiving all liabilities,
accepting and receiving all service of process and other documents, instruments, bonds or other
important papers, to appear and discharge, settle and close all matters material to above referred
in all-capital-letter-assemblages, the same shall be by order of Hadiya lmani El Bey, “Third
Party Interest Intervener” or other delegated appointee of Hadiya lmani El Bey, “Third
Party Interest Intervener,” including assignments for or on behalf of the principal,
CHARLINE KIRKLAND-BRANDON©TM, XXX-XX-XXXX including any alphabetical or
numerical variation thereof as described above, and to do all other acts requisite to faithfully
execute said appointment, fully, faithfully, specially under this appointment

 

 

CaSe: 4:17-Ct’-OOJ_31-Dl\/lB-.]l\/lV DOC #Z 52 Filed: O2/13/18 26 Of 85 PagelD #Z 177

 

.-,.- ~-t.-\ -.~.- ~; a , 7 ~_v_ -'._~
§_1.:'.:"¥.§.~;.="£!_?15:- lt :i_`l~.'»i~:-~l Ht‘l

Fiduciary Creditor, Michael P. Mills dba DISTRICT JUDGE MICHAEL P.
MILLS, is hereby authorized to use the private exemption of Hadiya lmani El Bey,i.e.
CHARLINE KIRKLAND-BRANDON©TM, XXX-XX-XXXX for the adjustment and set-off of all
matters, with regards to the Intemal Revenue Service account numbers XXX-XX-XXXX, which have
previously been Accepted For Value, and Returned for Settlement, Closure and discharge.
Michael P. Mills dba DISTRICT JUDGE MICHAEL P. MILLS is to issue the appropriate IRS
1099 forms and to be in compliance with all revenue requirements in this matter timely. I,
Hadiya lmani El Bey, “Third Party Interest Intervener” asseverate that the facts enumerated
herein are set forth in good faith with clean hands and that the same are true, correct, complete
and not misleading, so certified without the United States.

DUTIES OF THE FIDUCIARY

The Principal hereby directs the Fiduciary to perform the following duties within ten (10) days of
the postmark of this Contract:

(l) Pursuant to the Form 91, the Fiduciary is hereby directed to use the personal property
released from escrow exclusively for the settlement, setoff, and/or discharge of any and all debts,
obligations, or liabilities associated with the Account.

(2) The Fiduciary is hereby directed to settle, setoff, and/or discharge any and all debts,
obligations, or liabilities associated with the Account.

(3) The Fiduciary is hereby directed to negotiate, endorse, and/or ledger the Instruments for the
settlement, setoff, and/or discharge of any and all debts, obligations, or liabilities associated with
the Account for the benefit of the Beneficiary.

(4) The Fiduciary is hereby directed to ledger the Information Return against the Account for the
Financial Institution.

(5) The Fiduciary is hereby directed to issue a Statement of Account showing a Zero ($0.00)
dollars balance for the Account to the Principal.

(6) The Fiduciary is hereby directed to release any and all funds and/or assets remaining after the
setoff, settlement and closure of the Account to the Principal.

ACCEPTANCE AND REFUSAL

This Contract shall be deemed accepted by the Fiduciary if a refusal to the appointment,
authorities, and duties is not received by the Principal at the address given above within ten (10)
days of the postmark of this Contract. Any refusal of this Contract must be accompanied by a
sworn affidavit, signed under penalty of perjury, and stating that the Fiduciary does NOT have
the capacity, authority, obligation, and duty to:

(1) Setoff, settle and close the Account.

(2) Accept an appointment as a fiduciary.

(3) Negotiate, endorse, or ledger the Instruments against the Account for the benefit of the
Beneficiary.

(4) Perform the duties as the custodian pursuant to the Form 91.

(5) Ledger the Information Return against the Account held by the Financial lnstitution for the
benefit of the Beneficiary.

(6) Issue a Statement of Account showing a Zero ($0.00) dollars balance for the Account to the
Principal. If the Fiduciary needs additional time to perform the duties set forth in this Contract,

 

 

 

Case: 4:17-cr-00131-DMB-Jtvtv Doc #: 52 Filed: 02/13/18 zgpg`t_a.§;r;@@_;¢ép 135 173
111-=-

§'i`?‘.-'"ft'£<"§iflif;» tilt-3731 "\1 tl;ii

 

 

the Fiduciary may request said additional time by written request to the Principal within ten (lO)
days from the postmark of this Contract and said request must provide good cause. Any requests
for additional time shall not exceed thirty (30) days from the postmark of this Contract. The
Principal reserves the right to deny any requests for additional time.

LIABILITY OF THE FIDUCIARY

The Fiduciary’s failure to perform the duties set forth in this Contract, within the time allotted to
perform said duties, will comprise the Fiduciary’s agreement to the following:

(1) The Fiduciary waives all rights, defenses, and immunities

(2) The Fiduciary accepts personally liability up to ten (10) times the face value of the
Instruments.

(3) The Fiduciary accepts the filing of the IRS Form 3949a, Inforrnation Referral, with the
Intemal Revenue Service for the Fiduciary’s violation of income tax law.

(4) The Fiduciary accepts the filing of any documents and public records reporting the lien right
of the Principal in relation to the Fiduciary’s breach of this Contract.

(5) The Fiduciary accepts that the Fiduciary’s public hazard bond and/or limited liability
insurance policy shall be surety for any liens or levies executed by the Principal for the
Fiduciary’s breach of this Contract.

(6) The Fiduciary accepts that the Fiduciary’s real property, personal property, fixtures, and
accounts shall be surety for any liens or levies executed by the Principal for the Fiduciary’s
breach of this Contract.

I, Hadiya lmani El Bey, “Third Party Interest Intervener” asseverate that the facts enumerated
herein are set forth in good faith with clean hands and that the same are true, correct, complete
and not misleading, so certified Without the United States.

Hadiya ImnFL`l Bey, Third Party Interest Int
Authorized Agent For: CHARLINE KIRKLAND-BRANDON©TM, (enslegis)

//3///§

Date

 

 

 

l, Me, My, M_vsell`. Hadiya lmani El Bey natned exclusive attomey in fact. do hereby accept the fiduciary
interest ofthe herein~named COPY RlGHT TRADE NAME / TRADE MARK and will execute the
herein-granted po\\'ers-ot`»attot'ne_\' with due diligence

Hadiya lmani El Bey, Tiile Owner

(Authorized Representative)

(Attorney ln Fact)

NOTlCE OF PERJUY JURAT

Using a notary on this document does not constitute any adhesion, nor does it alter my status in any manner. The purpose for notary on
this document is verification and identification only and not for entrance into any foreignjurisdiction.

Having witnessed the signing and sealing of the foregoing Verified DECLARATION and AFFIDAVIT
OF GRANTlNG POWER OF ATTORNEY in Fact, by Hadiya lmani E| Bey, l place my hand and seal
hereon as an authentic act as a Notary Public of the State of Mississippi.

FURTHER AFFlANT SAlTH NOT.

S scribed and affirmed, without prejudice, and with all rights reserved, before me this 3 l day of
, 2018, the undersigned, a Notary Public in and for Mississippi state personally
ap

red the above-signed, known to me to be the one whose name is signed on this instrument, and has
acknowledged to me thw? execute the same.
Autograph of Notary W
on (&_)`o\'\N®\)
Notary Address __Q.l\ § ~ `p,LW\fY@/'Y\ m
Qtw&m.rt\ts 311 aaa

My Commission Expires: lo [BI} goal

  
 
  

Autograph (Printed Name):

 

 

 

CaSe: 4:17-Ct’-OOJ_31-Dl\/lB-.]l\/lV DOC #Z 52 Filed: O2/13/18 29 Of 85 PagelD #Z 180

E;:u:\t: _1“ F‘-s=_te 35

 

t`-'.: .=t 1".1
=..‘;.) 1_¥.1_.- .'_». t-_'

=~-'~=' 1 'r r~~v -,1- .-.~..r
..'1!1§_ ll:!_i ._5 _:;l' H¢.§

When Recorded Mail to:

Hadiya lmani El Bey

Non-Resident / Non-Domestic / Non-Assumpsit / TDC:
ln Care of: [504] Ronaldman Road

Cleveland, Mississippi state Republic [38732]

a temporary mailing location

 

Verified Declaration in the Nature by an Affidavit for Truth in Commerce and Contract by Waiver
for Tort Presented by me, Hadiya ltnani El Bey. living sou|. one for We the People under ()t‘iginal

Cotnmon
Law jurisdiction by the Mississippi state Republic and united States of America Contracts, the
Constitutions'.
Mississippi state Republic and one by the )
several united States ) ss. DECLARAT|ON BY AFF|DAVIT
Mississippi ) in Suppott of the
in America ) BOND TO DlSCHARGE DEBT

Notice for the agent is notice for the principal applies under this notice.
Notice for the county clerk for the Bolivar County, Mississippi and
record court for original jurisdiction, is notice for all.

For: Whotn it may concern: ln the Mattcr for CHARLINE KlRKLAND-BRANDON TM©®, (including
any and all derivatives thereof). hereinafter Hadiya lmani El Bey."

l, Hadiya lmani El Bey. hereinafter "Secured Party”, the undersigned for one We the People, natural born
living souls. the Posterity. born upon the land in the one for several counties within the one for the several
States united for America, the undersigned Posterity, Creditors. Claimants and Secured Party, hereinafter
“l, Secured Party", do hereby solemnly declare, say and state:

l. I, me, myself, the Agent, am competent l`or stating the matters set forth herewith.

2. l, me, myself, the Agent. have personal knowledge concerning the facts stated herein.

3. All the facts stated herein are true, correct. complete. and certain, not misleading admissible as
evidence, and if stating ll the Secured Party shall so state.

Plain Statement of F acts

A matter must be expressed for being resolved ln commerce, truth is sovereign.
Truth is expressed in the form for an Affidavit.

An At`t`tdavit not rebutted stands as Truth in commerce. An Aftidavit not rebutted
after thirty (3()) days, becomes the_iudgment in commerce. A Truth Affidavit.
under commercial law. can only be satisfied: by 'l"ruth Aff`tdavit rebuttal, by
payment, by agreement, by resolution, or by Cotntnon Law Rules by a jury.

ll Hadiya lmani El Bey, the Secured Party, am expressing truth by this Verified Declaration in the Nature
for an Af`f`tdavit of Truth in Conttnerce and Contract by Waiver for Tort Presented by me, Hadiya lmani El
Bey, living sottl, the Secured Party, one for/under We the People under Original Common Law Jurisdiction
for the MlSSlSSlPPl and united States ot`America Contracts. the Constitutions.

 

l Use of state and federal statutes within this document is only to notice the reader that which is applicable to them and
is not intended, nor shall it be construed, to mean that the Secured Party confers, submits to, or has entered into any
jurisdiction alluded to thereby.

 

CaSe: 4:17-Cr-00131-Dl\/lB-.]l\/1V DOC #Z 52 Filed: O2/13/18 30 0185 PagelD #Z 181

 

¢.£L.' ..:i.' ¢'.-..‘ ~.‘

WHEREAS, the public record is the highest evidence form, l. Mer My. lvlyself, the Secured Party, arn
hereby timely creating public record by Declaration with this Verified Declaration in the Nature for a Truth
Affidavit in Cotnmerce and Contract fora Tort Waiver Presented by Me` Hadiya lmani El Bey, living soul,
the Secured Partyt otte for/under We the Peoplc under Original Comnton Law .lurisdiction for the
MISSISSIPPI states Republic and united States o'l` America Contracts. the Constitutions (Articles of
Association [l774]. Declaration of lttdependettce {_1776], Articlcs of Confederation [1781] and Constitution
for the united States of America [1789] and 'l`reaty[ ies]. such a, tlte '1"reaty of Peace and Friendship between
the united State and Moroeco [1786], are the Supretne La\v oftlte Land to witt

Article 6 - Debts, Supremacy, Oaths

This Constitution` and the Laws of the United States which shall be ntade in Pursuance thereof; and all
Treaties made. or which shall be made, under the Authority of the United States, shall be the supreme Law
of the Land; and the Judges in every State shall be bound thereby, any Thing in the Constitution or Laws of
any State to tlte Cotttrary notwithstanding

1. F_acj: l, the Secured Party. have not seen or been presented with any admissible evidence which
demonstrates that', primarily. after 1938, the supreme law ofthe land in the U.S. is anything other
than “Public Policy” concerning commercial transactions tnade under the "Negotiable lnstrutnent
Law" as a result ot` the U.S. Bankruptcy as declared by President Roosevelt on March 9, 1933 and
codified at 12 U.S.C.A. 95a and by Executive ()rders, and in accord with H.|R 192 of`.|une 5, 1933,
and believe that none exists;

E_a_c_t: l, the Secured Party, have not seen or been presented with any admissible evidence which

demonstrates that, primarily. the Negotiable Instruments Law is anything other than a branch of the

"lnternational lsaw Mercltant." which is now known as the "Un_iform Commercial Code," (UCC)

that was 'drafted' and tnade uniform and "adt)pted in whole or substantially by all states." Black's

1..,aw Dictionary, Sixth Edition - page 1531. "l`hus the several states were and are bound ittto
commercial agreements to tlte federal United States under the Uniform Commercial Code, and
believe that none exists;

Egc_t: 1, the Secured Party, have ttot seen or been presented with atty admissible evidence which

demonstrates that. primarily, tlte Secretary ofthe Treasury in Puerto Rico is anything other than the

Trustee ofthe U.S. Bankrupt'cy as declared by President Roosevelt on March 9, 1933 and codified

at 12 U.S.C.A. 95a and by Executive Orders_ and believe that none exists;

4. Ea_c_t: l, the Secured Party. have not seen or been presented with any admissible evidence which
demonstrates that. primarily, the people inhabiting the several states ofthe united States of America
are anything other than the Creditors of the U.S. Bankruptcy as declared by President Roosevelt on
March 9` 1933 and codified at 12 U.S,C.A. 95a and by Executive Orders, and in accord with H.lR
192 of`.lune 5. 1933, and believe that none exists;

5. EL§ 1, the Secured Patt_v. have not seen or been presented with any admissible evidence which
demonstrates that, primarily, “discharges of` debts”, “dollar for dollar" by the Creditors via tlte
'l"rustee of the U.S. bankruptcy are anything other than lawful “tenders of payntent" pursuant to the
"‘Public Policy” established when lawful money was removed front circulation as a result the U.S.
Bankruptcy as declared by President Roosevelt on March 9. 1933 and codified at 12 U.S.C.A. 95a
and by Executive Orders. and in accord with H.lR 192 of.lune 5, 1933, and believe that none exists;

6. _E_t£t: 12 the Secured Patty. have not seen or been presented with atty admissible evidence which
demonstrates that, primarily. a refusal of a tender of payment by way of a “discharge" of a debt is
anything other than a “discharge" of the debt pursuant to UCC 3-6()3 as enacted in associated state
statutes, and believe that none exists;

7. fmi lz the Secured Party. have not seen or been presented with any admissible evidence which
demonstrates that a "Bond to Discltarge Debt" is anything other than a negotiable instrument as
defined in section 3 ofthe UCC, and believe that ttotte exists;

8. _l_i`_ait: lz the Secured Patty. have not seen or been presented with any admissible evidence which
demonstrates that, primarily, a refusal of a tender of` payment of a debt by way of` a “Bond to
Discharge Debt" is anything other than a “discharge"’ ofthe debt pursuant to UCC 3-603 as enacted
in associated state statutes, and believe that norte exists;

lJ

DJ

 

 

9. E_a_c_t: l, the Secured Party, have not seen or been presented with any admissible evidence which
demonstrates that, primarily, a `“Bond to Discharge Debt" is anything other than a “discharge" of
the National Debt and beneficial to tlte national economy, and believe that norte exists;

10. _l_i`__a_c_t_: l, the Secured Party, have not seen or been presented with any admissible evidence which
demonstrates that, primarily` a "Bond to Discharge Debt" is anything other than a good faith
attempt to discharge the debt and to settle and close the accotrnt, and believe that none exists;

11. fg§t: l, the Secured Party, have ttot seen or been presented with atty admissible evidence which
demonstrates that. primarily, tlte use of Execrrtive Order 11825 as a Letter of Credit is anything
other than adequate assurance of the consideration exchanged and tlte unlimited line of credit
provided to tlte Atnerican people when the U.S. took the gold and Property of the Atnerican people
in 1933 as collateral as a result of the U.S. Bankruptcy as declared by President Roosevelt on
March 9, 1933 and codified at 12 U.S.C.A. 95a and by Executive ()rders, and believe that none
exists;

12. §_ac_t: 1 the Secured Party_ have ttot seen or been presented with any admissible evidence which
demonstrates that, primarilyr the “Bond to Discharge Debt” is anything other than the ntain remedy
provided by EL in lsaialr 52.3 to enable Natural People to be released from bondage and to serve
their “Higlter Selves" as 1;`L’s special "Holy Nation” in correlation to the allegorical story the
“Chosen People from Upper Egypt" called lS-RA-EL-ites, syrnbolizing the "Higher-Self`," when
they were freed from Egypt. syrnbolizing the "lower-self".

l, the Secured Fartv, am not an expert in the Law; however. l do know right from wrong. lftltere is any
living soul that is being unjustly damaged by any statements herein, if he/she will inform Me by facts, l will
sincerely make every effort to amend My ways.

l, the Sectrred Party2 hereby and herein reserve tlte right for amending and making amendments to this
document as necessary in order that the truth may be ascertained and its proceedingjustly determined

lf any living soul has information that will controvert and overcome this Declaration, since this is a
commercial matter, please advise Me lN WRlTlNG by DECLARATION/AFFIDAVIT FORM
within ten (10) days from recording hereof, providing Me with your counter Declaration/Affidavit,
proving with particularity by stating all requisite actual evidentiary fact and all requisite actual law,
and not merely the ultimate facts and law conclusions, that this Affidavit by Declaration is
substantially and materially false sufficiently for changing materially Me or My Hadiya lmani El
Bey’s national status and factual declaration.

Your silence stands as consent, and tacit approval, for the factual declarations here being established as fact
as a law matter and this affidavit by Declaration will stand as final judgment in this matter.

The Undersigned, l, the Secured Party, holder in due course for original, do herewith declare, state and
say that 1, Secured Party, issue this with sincere intent in truth, that 1, the undersigned Secured Party, am
competent by stating the matters set forth herein, that the contents are true, correct, complete, and certain,
admissible as evidence, reasonable, not misleading, and by My best knowledge, by Me, the undersigned

By me, this3_[_ day of 018 A.D., Hadiya lmani El Bey, Beneficiary, Executor Office
of the Estate, Secured Pa -Creditor
By , autograph
;{Jaat¢ga) ol»w)/a/ ZL£)Ql h
Hadiya Imanr El Bey

Non-Resident / Non-Domestic /Non-Assumpsit / TDC:
ln Care of: [504] Ronaldman Road

Cleveland, Mississippi state Republic [38732]

a temporary mailing location

 

N O'l` lC E
Using a notary on this document does not constitute any adlresion, nor does it alter my status in any
manner. The purpose for notary is verification and identification only and not for entrance into any
foreign jurisdiction.

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-J|\/|V DOC #Z 52 Filed: 02/13/18 352qu SBTPQQJ§LD»# 183

 
 

Mississippi state Republic )
) ss. JURAT
Bolivar County )

On thai day ow, 2018, Hadiya lmani El Bey, personally appeared before me and proved to me on
the basis of satisfac ory evidence to be the person whose name is subscribed hereto and acknowledged to me that
he/she executed the same under asseveration, and acce§ts the facts thereof Subscribed and affirmed before me

this day. witness my hand and seat this § l day or tw~ , 2018. Q

Stamp ®W

Notary Autograph

 

v

 

 

CaS€2 4217--Ci’ 00131- D|\/|B- .]|\/|V DOC #2 52 Fi|€d2 02/13/18 313 O_i°l 85._ ,.QQQJ,LQ §;_ 184
_W' , t',,~; _ _. t

u‘.~ . -"_- .. ~...

 
 

iNsTRucTioNs t `

i:l:__i': l_l,_)‘_l is 11=;:§_:: ;'1_ |_,_ix‘l

1. lndividual sureties on bonds executed in connection with Government contracts must complete and submit
this form with the bond. (See 48 CFR 28.203, 53.228(e).) The surety must have the completed form notarized.

2. No corporation, partnership, or other unincorporated association or firm, as such, is acceptable as an
individual surety. Likewise, members of a partnership are not acceptable as sureties on bonds that a
partnership or an association, or any co-partner or member thereof, is the principal obligor. However,
stockholders of corporate principals are acceptable provided (a) their qualifications are independent of their
stockholdings or financial interest therein, and (b) that the fact is expressed in the affidavit of justification. An
individual surety will not include any financial interest in assets connected with the principal on the bond that
this affidavit supports.

3. United States citizenship is a requirement for individual sureties for contracts and bonds when the contract is
awarded in the United States. However, when the Contracting Officer is located in an outlying area or a foreign
country, the individual surety is only required to be a permanent resident of the area or country in which the
contracting officer is located.

4. All signatures of the affidavit submitted must be originals. Affidavits bearing reproduced signatures are not
acceptable. An authorized person must sign the bond. Any person signing in a representative capacity (e.g.,
an attorney-in-fact) must furnish evidence of authority if that representative is not a member of a firm,
partnership, orjoint venture, or an officer of the corporation involved.

STANDARD FORM 28 (REV_e/zooa) BACK

 

Case: 4:17-cr-00131-Dl\/|B-.]l\/|V Doc #: 52 Filed: 02/13/18 34 ofLS§_ l:>age elD
klein 25 ii esi-2 431

 

 

 

F(§'W"f big Notice Concerning Fiduciary Relationship OMB N°‘ 1m13
Ms:::" ancemai neveme code sections eoes ann 6003)

Part l ldentification

deparsonforimomyousead`mg(ashumonmawreml Idandyi\gn\lrinr Wa:oeidacuityrio.
cHARLNE KlRKLA|D-BRANDON“'QO 425-044“6 '; ';

 

 

 

Add'mdpersmbrud'nnyoumncthg(mmbor,street.andmnorsuhem.)
Cl°1500PENNSYLVANIAAVENUE, N.W.
Ci!yu'towr\stme.uilePcode{\la|nreig\addmss.seehsductior&)
WAS-IINGTON,D.C.NZZO

Fi`mcis'y’snane

¢HEFJUDGESHAR|ONA¥CQCK

Add'eseolhmctary(mm'ibd.met.androomu'mitono.)
WAWUMBW“EU.$.WCOUMNQRTHERNMOFIB&SMW.Comm¢wlSt.MB

CRycl'wwr\,§ite.anlePeode Telephonerimbu(optimd)
Mln,ls$m ( )

A"*h°'“v

1 mmioncyfor wainwreiaiimship. ciieci<appiii~,abiebox
a(1)l:]Willandcodicilsorcom‘torderappointing&dudary . . . . . . . . . (2) Dateofdealh ___________________________
b(1)l:]Courtorderappointingfiduciary . . . . . . . . . . . . . . tZDate(seeinstmctions) ..................
c [lvalidtrustinscrunentandarnendmems

 

 

Nature of Ljabi|ity and Tax Notices

 

2 Typeof\ax(estate,gift,generation-sk`pping transfer,income,excise,etc.) b ..........................................................
3 Federaltaxform nunber(706,1040,1041.1120, etc.) b ________________________________________________________________________________
4 Yoads)orpedod($)(rfemaletax,dateof®am) > /
5 tfthefiduciarylistedir\Partlisthepersontowhomnotioesandotherwrittencomrmr\`cationsshouldbesentforal|items
describedonlines2,3,and4,checkhere. . . . . . .> []_

6 Ifthefiduciayistedean|sthepersontowhomnotioesandotherwnttenoonmrmcmonsehouldbesantforsome(butnota||)
oftheitemsdeseribedonlinesi.€% er\d4, checkhere> [:landlisttheappliwblereraltaxfonnnunberand\heyear(s)or

Peri°d(€) app“@able .................................... ,/ .............................................................. _ ........................

 

Revocation or Termination of Notice
Section A-Total Revocation or Termination
7 Checkthisboxifyouuerevokjngortemiina!ingal| priornobcesoonoemingfiducia'y relationshipsonfiewimdie|ntemal
RevemeServioaforthesametaxmatters andyearsorperiodsoovered bythisnotioeconoeming fiduciaryrehtionship . b ll
Reasonforterminalionofliduciaryrelationship_ Check appticab|e bax:
a l:l Courtorderrevok'rigfiduciayauthority

b :l Certitiweafdissolmionorterminationofabusinessentity
c ]:l Other.Describe b

 

SectionB_PartialRevocation
Ba Checkthisboxifyouaerevokingeadiermdoescmcemingiduciaryrelabmshipsmhlewm\me|ntedeevenueServicefor
thesanemmattersandyearsorperiodscoveredbythisnoticeconceminghduciayrelatiorship . . . . . . . . b ij
b Specifytowhomgramed, date.andaddress, including Zchode.
b ..............................................................................................................................................

 

~ Section G_Substitute Fiduciary

9 Checkthrsboxifanew&duciaryorliducimeshavebeenorwil|besubstrtutedfortherevokingor!erminatmgfrducnaryand
specdydtename(s) and addrees(esi `ncluding ZlP oode(s) ofthenewtiduciarv{ies). . . . . . . > m
> ..............................................................................................................................................

 

For Paperwork Reductlon Act and Prlvacy Act Nouoe. see back paqe. cni. Nn. isavsi i=mn 56 inav. moon

 

 

Form 56 li-'iw. now Pag» 2
Court and Administrative Proceedings

 

 

 

 

Numdcan("dhummaomnpraceedhg,idemfymwpeofpromedhgmnmadagamyl Datepmeeod'ngiri\iatad

THEU.S. DIS'£R!CTCOURTNORTHERNDBTR|CTOFHSSISSPP|

Addessdoout Dooketrl.imberofproceedi'ig

301 W.Commbme Sl.#'\Z 4:17CR131
Cityutown.stxta.delP code Date Tme :i=i. Pude
Aberdeen, MS 39730| gm

 

 

 

 

Signature

 

Please
Sign
Here

 

lmmmlmednamukytoamnemsmbmmnwmgmudaymahmdwmmm"nfmmmayu

CHE JUDGE
, Hduduy's sig'umxo Titie. if applicabde Date

 

Form 56 ¢nev. 1-2004>

 

CaSe2 4217-Cl’-OOJ_31-Dl\/|B-.]l\/|V DOC #2 52 Filed2 02/13/18 36 Of 85 Page|D #2 187

 

 

 

¢i-'.'
. h‘_
ll'll °_:. -:
li_:¢"l_;,`_ ’-'_~ll-Fi€r i-=i_,l.'° ,¢ `_i#"g "llll
m 56 . . . . .
am M mm Notice Concerning Fiduciary Relationship OMB N°. 1545m13
m Trumry
mim:u:'savim antemalRevenueCodesectionsWGandm
Part l ldentilicaiion

hurieofparsorifnr\imunyoua'eacting(§shamanmetaxrmun) mm Deceder¢'!coddalcliqne.
CHAM IUKLN'D-BRNM“'® MG i 5

 

 

 

murpu'smbrmmyouueacthg(mrba.strmmdmunorsuitam.)
C)Q1MOPBI¥SYLVAMAAVENUE,N.W.
Citycrtnwn.s!ata.lidzlpcode(lfaforeigiaddmss.mimicdons.)
WASM¥°N,D.C.M

quchry’snaria

DISI'RIGT.NDGEDEBRAM.BHCM

Addessoftidudary(mnber,stmet.andmornarsi.mne)
FMMMW,T}EU.S.D|S¥RIBTC°URFD|SWCTOFIII$$.$MJacksanvem.ieEast

Citycrli:iwn_stlta.lidZPcode Telq'.ihoner\.iriiber(optimall
OM,ISM l l

worn

1 Auinoniy ramey ramp creek applicabie box

 

alf)l:lWilandcodici|sorco\morduappoim`ligfidudary . . . . . . . . . lZDaleofdeafh ...........................
b(1)ClCourtorderappointingfiduciary ............... (ZDate(seeinsnucdons) __________________
c [lvdidtrustinsmirrientandariendments

d m oiher.i)ewibe >AW°'"”“°'*°'F’°“°‘°W ____________________________________________________________________________________

 

Nature of LiabiEty and Tax Notices

 

2 Typeoffax(estate, gift, generation~akipping transfer. income, excise, etc.) b ..........................................................
3 Fe<bralfaxfmnml¥¥ber(?w,imo,1041,1120,etc.) b ________________________________________________________________________________
4 Yea(s)orperiod(s) (if estate tai, dateofdea‘lh) b .......................................................................................
5 lfthefiduciaryiatedinPartlistheperaontowhomncticeeanddlherwrittencommnicationeahouldbesentfora|litems
describedonlines2,,3mddcheckhere. .. ....>l:]

 

6 lflhe&duciaryistedinPartlisthepersontowhomnotiwsmdodierwnttenoommurucationsshouldbesentforsome(bmnotal|)
oftheitemsdescn`bedonlinesZ, 3, and4, checkhere> [:]andlisttheapplicableFederdtatfonnnmberandtheyea(s)or

Pe¢iOd(Sl aPl>|i@lbl¢’ ................................ . ......................................................................................

 

Part lV Re\rocati'on or Terminatio' n of Notice
Section A-~Total Revocation or Termination
7 Gieckthilboiiifyouarerevok'ngortemiina\ingaliprbrnoticesconoerringfidioia'yrelabonshipsmfiewilhd'iekiternal
RevemeServiceforthesametaxmattersmdyessuperiodscoveredbydisnoticeconoaningfidwiaryrelatimship . b l:l
Re§on for termination of fiduciary relationslip. Check applicable box:
a 13 Courtorderrevokirigfiducia'yauthority
b E ceniricaieordissomimorcmnmionorabusmeasemiiy
c ]:l Other.Describe b

 

SectionB-Partia|Revocation
8a Checkttiiaboxifyouarerevoldngearliernotioeecumernkig&duciaryreladonshpeonilemmthelntemalnevenue$ervicefm
mesammxmmtmsamyemsupeiodswvemdbymismhcemnceninghdmimyrdatbrswp . . . . . . 5 l:]
b Specifytoiivhomgramed, date andad&ess includingZ|Pcode
5 ..............................................................................................................................................

 

Section G-Substitute Fiduciary

9 Checkthisboxifanewtiduciaryorfiduciarieshavebeenorwi'llbesubstitutedfortherevokingorterrriinatingtiducia'yand
specifythenarrie(s)mdaddrewee)includingzlpcode(slofthenewfiduciary(iee). . . . . . . . . l:]
b ..............................................................................................................................................

 

For Papo¢worii nonunion Act and Privacy Act Nouce, see back page. cat Nn. issvsi ram 56 innv. 1-2oo4i

 

CaSe2 4217-Cl’-OOJ_31-Dl\/|B-.]l\/|V DOC #2 52 Filed2 O2/13/18 37 Of 85 Page|D #2 188

 

Form 56 (Rav. 7-2004)
Coun and Administrative Proceedings

 

 

 

 

Nmmdcmn("mmmacmnmdiig.idutiwmetypodpmmedhgs'dnanedw Datepmcoediigiritiated
¥}EU.SHSTR|CTCO\|KING¢¥"{ERND|STR|CTOFH|SSISSFP|

mdcuurt Doc|rstr\miberdprocaedhg
911chk$0nhm East 4:17CR131
Ciyortawn,stlle.uilePcode Date Tme :i~i mdothipmcu¢iigs
Oxlad,ISBSSfi§ ram

 

 

 

 

Signature

 

 

lwd~mdlmmmewmanywmmambmmcmmig§ducwyremibmbem"dwmu
Pfease
Sign
Hm niemch
, l-'ickic`wy’ssigiamra Titio.ifapplic¢bfe Dm

 

 

Form 56 mav. 7-2004)

 

CaSe2 4217-Cl’-OOJ_31-Dl\/|B-.]l\/|V DOC #2 52 Filed2 O2/13/18 38 Of 85 Page|D #2 189

 

 

 

m Mszg) Notice Concerning Fiduciary Relationship mg m 1545£013
me;::" iimermi Rwoim code sections sees and serial

identincaiion

Nlneofparsoriforvdmyouinacdng(asshawnorithetaxrehxn) |drintl!yiigrlllhr Dw\dll’saocdnciliqnn.
census romano-ammann 425-ome 5 5

 

 

 

Addessofplsmbrnmyoumacthg£rumer.sdeet.mdmunorsuitem.)
CID1SNPBMS'YLVAMAAVEM.|E, N.W.
Cityatowrtstlte,aridZPcoda(¥aforaigiadd'm,eeaiismictiom.)
WASWTQN,D.C.ZGM

Fl¢ictuy’s nunc
DlSTRlCT JUDGE MICHAEL P. MlLLSl

morsmeiary(r\m.mandroomoreunom_i
WBMMW,TFEU.S.UMC°URTMOFHMS"JMAWEN
ciyoriown.sim,enezi=eode Teiopnorienurriborlooeorieii
WII$M l l

Authority
1 Airiiioriiyforriduoieryreiauoriehip.cheokappioabiebon

 

a(1)l:l Wllandcodicilsorcou'torda'appointingfrduciary . . . , . . . . . (2)Dateofdemh ___________________________
bir)[lcouriorderappoiniingfidiioiery...............iannelseeireirmiioris) ..................
c l:lVdidtrustinstrunentandariendments

d mother oeeeribe >AW°'"‘“‘°"*°'FW°'¥ ....................................................................................

 

Pa rt lll Nature of liability and Tax Notices

 

2 Typeoftax(estate, gift, gerieration-d<'pping transfer, income, exciee, etc.) b ..........................................................
3 Federaltaxform l\umber(706,1040,1041,1120,etc.l b ................................................................................
4 Year(s)orperiod(s)(if estate tax, deteofdeath) b _______________________________________________________________________________________
5 dehmniaqistedinPartlistfiepers¢xitowhornnoticesandotherwrittencornmurn'cationsshouldbesentforallitems
deseribedorilinesz,,,aarid-icheokhere. ....»|:l

6 lfthefiducaryistedmpartlisthepersontowhomnolioesandotherwnttencommunicationsshoutdbesa'itforsome(bi.itnotall)
oftheiterrisdescribedonlina& 3, and4 checkhare> [:landlistlheapplimbleFe®raltaiifonnnunbermdtheyear(s)or

periodlsl applicable ...........................................................................................................................

 

Part lV Revocation or Tem'iination of Notice
Section A_Total Revocation or Ten'nination
7 Checkthisboxifyouarerevokingortemiinatjngallprbrnodcesconoemingfiduciaryralationshipsmfiewithdiekiterml
ReveriueSewiceforthesanetaxmattersandyeasorperiodscoveredbythisnoticeconcernirigfidix;iaryrelationship . b [:l
Reasonfutemiiiationoftidudaryrelatioriship.Checkapplicabbbox:
a l:] Courtorderrevokingfiducizyautfiority
b l:l ceriineeieeidiseoiiiiionorierrriinanonorabieirieeeeriiiiy
c 1:] Other.Desaibe b
Section B-Pam'al Revocation
8a Chwknisboxnywuewvokkigealbrmdmcmmanhgiduciwyrdabonshpem&hwmne|ntema|RevenueSewicefor
diesanetaxmmtersandyearsorperiodscoveredbythisnoticeconcemi`ngf'iduciayre|atioriship . . . . . . . . * m
b Specifytowhomgarited,date,andaddress,includingZPcodet
> ..............................................................................................................................................

Section C-Substitute Fiduciary

9 Checkthisboxifanewfiduciaryorfiducianeehavebeenormlbesubstmnedfordierevoinngortermnahngfiduciaryand
specifythenarna(s)aridaddress(es). including ZlP oode(s), ofthenew fiduciary(ies). . . . . . l:l
b ..............................................................................................................................................

 

 

For paperwork Reduction Act and Prlvacy Act Notice, see back paqe. cat No. 16375! Form 56 (Riiv. 7-2004)

 

CaSe2 4217-Cl’-OOJ_31-Dl\/|B-.]l\/|V DOC #2 52 Filed2 02/13/18 39 Of 85 Pa

Ei'_`iiji l-:f

Form 55 mem 7-2®4§
com and diministh Proeoedinge

 

-';=i-= l m
.;.'_‘ 3 -Z`~

gelD #: 190
H‘?E :

4._i

 

mdmwmmamm.mwmmmummmedw
MESUSMTCMTNOMD|SMTOFMSS|SSPH

 

wandan
StiJaclnoni\mnEast

 

Docht rl.n'b¢ arm
4:17CR131

 

¢Ky»orwun.mlndzl#ondl bus

musm

 

This

 

;:'~rv~

 

hode

 

-sem-»

 

Piease
Sigri
Hm

mw

lw$dlmwmmmmmmmwmwwhw'

 

 

, ENd-Wm m,irappm

 

Form 56 mn z.zoo-ri

 

CaSe2 4217--CI’ 00131- D|\/|B- .]|\/|V DOC #2 52 Filed2 02/13/18 4Q Olc 85 Page|D #2191

:';§u :.;¥-;

 

m 56 l l l l l

mw M 2000 Notlce Concernmg Fiduciary Relatlonshlp OMB N°_ tamm
Dq:.\m¢¢ d\hnTmu.l'y

mms¢ni» (lntema| Hovenuecoda sactions6036am!6903)

ldentification

Ntnedpasm|nlwfmymloading(mslmmthetaxrehm) mm W\meiuqli\ym.
MMKLMD-BRANDON"¢Q Mi€ 5 3
molpdsmforwhunywamacthg(mm,s¥roet,mdmunors\mam.)

Cl°imFBNSYLVMllAAVENlE,N.W.

CilyartuermdePoode(lfabrdg\addrw.saeisdumiom)

WASI'IMGTBN,D.¢.M

Fld.x:`ly'snlne

mc.m,dhwlwmc.mu.&m,mmdmsw
mdm(mm,stm¢.mdmomorwnm.§

MMSNMAW.
CRyar\mn,mdePoode Telaphonom.lnber(optimal)

masses ( ,

mm

1 mnmyformaaryrelmmip.checkappicauebm
ah)|:lwi|mdoo¢icilsoroomorderappointinghdudary . . . . . . . . . (Z)Dateofdeath ...........................
bm\:\counorderappoimngfidwary . ............. mome(seeinsuwums) ..................
c []Vdidmlstinstrunmtandm)endments

 

 

 

 

 

 

Nature of Liability and Tax Notioes

2 Typeoftax(eaiate, gift, generation-sk`pping transfer, 'mcome, excise, etc.) b ..........................................................
3 Fedefa|laxfol'm number (706,1040,1041,1120, etc.) b ________________________________________________________________________________
4 Vear(s)orpeliod{s)(lie€tatem,dateddeaw) b .......................................................................................
5 Iftheiduciaryistedinpanlismepemontowhommticesandomerwrinmcormm\icationsshoddbesemforal|itams

 

CaSe2 4217-C-I’ 00131- D|\/|B- .]|\/|V DOC #2 52 Filed2 O2/13/18 41&,Q_]c 85_2P.3QQ|_ §§ 192

d'§‘;'

 

dwerbedonines2,,,3md4checkhere... ....>

[]

|fthefiduciaryistedin Pan|isthepersontowhommbcesandomarwriuen commicationsshouidbesmtforsome(butmtal)
oftheitemsdeacri)edon|unsg 3, and4, checkhere> [:]and|istdwapp|iweFederadtaxfmnnmnbermdmeyea(s)or

peri°d(s)app§<=able .......... . ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,, _ ....................

 

Revocation or Termination of Notice

 

Section A_Tota| Revocation or Termination

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7 Checkihllboxifyouarerevo|d\gutennhadngdpdornodcesconoadng&duoiayreladmsmpsm&ewimd)eknemd
RevemeServiceforthesametaxmanemandyeasorperiodsooveredby\tisnotioeoonceming§duoiaryrehtionship , b E
Reasmfortenni\aliondtidudaryrelatiomhip.Checkappicablebox:

a E Co\.utorderrevok`ngfiduciaryauthority

b E cervicmafdissommorreminationofabusmemny

c E Other.Desuibe b

SectionB-PartialRevocation

8a Checkth'sboxifywamrevokingemliermtioesmemi\giduciaryre|am\swpsm&|ewithmeIntema|RevenueServicefor
memtaxmmtuswdyemupaiodsowemdbymisndbewmmnghdudayrda&onslip . . . . . . . . > E

b Speoifytowhom granted, date,andaddress, including ZlP oode.

> ..............................................................................................................................................
Section C-Substitute F)duciary

9 Checkthisboxifanewtidwiayorfidmiaieshavebeenorud||besubslitmedformerevokingortem\inating§duciaryand
spedfymenmb(s)andaddrewes)whchdingDPcode(s)dihanmidudaw(ws)_ _ . _ . _ . _ > [:l

Foqu>o¢workRomction ActandFrivac'yActNd\ica,saeback paqe. CaLNo.16375I Form 56 (F\ev.7-2004z

Fomss(ne~J-zom} Page2

Court and Administrative Proceedings

Nmndcundfdwrmmacmngmeeding.iduiuywtypeo¢gweodhgmmnedaguwy) Datoproosedhgir\`tiatsd

Emlklgeam

woodson Dodmtrnmberofpmoeedhg

SMJsMsmAva. 4:17CR131

Cityorwwn.stlta,l\lePooda Date Thno am Plnoddwr;mooed'\gs

OX¥GN.ISISBG.'|§ on

signature

|cortilyum!mmammiyweuwwthbmbmmmenwg&dudmyrdnbmhbmbehalo¢wtam,

P|ease

Sign

Hel,e U.S.ATTOR!EV

Mzcia¢y'ssig\me Tme.iiappidd>te Date

 

 

Form 56 (Re~.1-2004)

 

 

 

base 4.1/-cr-uu151-L)lle?lel'v'“DUt'7#2'52 l-lleu. units/18 42 Or 85 l-'agelL) FF. 135
A |DAV|T OF lNDlVlDUAL SURETY OMB Number: 9000-0001

(See instructions on reverse)

 

 

Public reporting burden for this collection of information is estimated to average 0.4 hours per response, including the time for r§viewing_ir\strgcughs, searching existing data sources,
gathering and maintaining the data needed, and completing and reviewing the collection of information. Send comments regar ‘E§th'is hultléi ds€t€de éijny other aspect of this
collection of information, including suggestions for reducing this burden, to the Regulatory Secretariat (VPR), Office of Acquisitiml=iqlicy,}§§A, Washingto;_t` DC 20405.

.*‘\ '1\‘ "if;'x
STATE OF MlSSlSSlPP\

 

 

SS. XXX-XX-XXXX

COuNTY

JF Bnl |\IAD
l, the undersigned, being duly sworn, depose and say that l am: (1) the surety to the attached bond(s); (2) a citizen of the United States; and of full age and
legally competent. l also depose and say that, concerning any stocks or bonds included in the assets listed below, that there are no restrictions on the resale of
these securities pursuant to the registration provisions of Section 5 of the Securities Act of 1933. l recognize that statements contained herein concern a matter
within the jurisdiction of an agency of the United States and the making of a false, fictitious or fraudulent statement may render the maker subject to prosecution
under Title 18, United States Code Sections 1001 and 494. This affidavit is made to induce the United States of America to accept me as surety on the
attached-bends

 

 

 

 

1. NAME (First, Midd/e, Last) (Type or Pn'nt) 2. HOME ADDRESS (Number, Street, City, State, ZlP Code)
CHARL|NE K. BRANDONTM©® D.T.C. 55 WATER ST. NYC, NY 10041
3. TYPE AND DURAT|ON OF OCCUPATlON 4, NAME AND ADDRESS OF EMPLOYER (lf SeIf-employed, so State)
LlFE TlME SURETY D.T.C. 55 WATER ST. NYC, NY10041
5. NAME AND ADDRESS OF lNDNlDUAL SURETY BROKER USED 6. TELEPHONE NUMBER
(Number, Street, Cr'ty, State, ZlP Code) HOME N/A
D. T.C. DEPOSITORY TRUST CORPORA TIONl 55 WA TER ST. _
NYC, NY. 10041
BUS|NESS - N/A

 

 

7. THE FoLLoWlNG ls A TRuE REPRESENTATloN OF THE ASSETS l HAVE PLEDGED To THE uNlTED STATES lN SuPPoRT OF THE ATTACHED BOND;
(a) Real estate (lnclude a legal description, street address and other identifying description; the market value; attach supporting certitied documents including recorded
lien; evidence of title and the current tax assessment of the property. For market value approach, also provide a current appraisal.)

All Assets, All Accounts, Contract Rights, Documents, Chattel Paper, General lntangibles, lnventory, Letters of Credit, Lines

of Creditl Equipment and Fixtures, whether presently owned or acquired in the future; All Accessions, Additions.

Replacementsl and Substitutes; All Records of ANY kind relating to ANY of the foregoing; All Proceeds Bonds and Stocks.

(b) Assets other than real estate (descn'be the assets, the details of the escrow account and attach certified evidence thereot).
General |ntangibles and Accounts Proceeds together with All the other real and personal property, including; but NOT limited
to: ANY propertyl NOT specifically listed, named or listed by make, model, serial number, titled and non-titled interests in assets,
possessions, property, resources and licenses, etc... lNDlCTMENT CR|M|NAL CASE NO. 4:17CR131

 

a. ioENTvaALL MoRTGAGEs, LlENs, JuocEMENTs, oR ANY oTHER ENcuMBRANcEs leoLleG suBJEcT ASSETS lNcLuolNG REAL ESTATE TAxEs DuE AND
PAYABLE. BlRTH CERTlFlCATE NUMBER: gwn-1727716-1-1; the SOClAL SECURITY NUMBER(S)2 XXX-XX-XXXX and l.M.F.
BOND NUMBER: E98397041; lNDlCTMENT CR|M|NAL CASE NO. 4:17CR131

9. |DENT|FYALL BONDS, |NCLUD|NG BID GUARANTEES, FOR WHlCH THE SUBJECT ASSETS HAVE BEEN PLEDGED WITH|N 3 YEARS PR|OR TO THE DATE OF
EXECUT|ON OF TH|S AFF|DAV|T.

DOCUMENTAT|ON OF THE LEDGED ASSET MUST BE ATTACHED.
11. BoND AND coNTRAcT To wl-llcl-l THls AFFloAvlT RELATES

_ ` (whereApproprrate) 4:17CR131 °\', *~.`
.1 4 wss'~*s(%

 

10. S|GNATURE

 
 
 
    
 
 

 

 

 

 

 

 

 

 

 

. /3' 2
l EFoRE ME As FoLLows: ‘9 §§
a. DATE OATH ADM|N|STERED b- E (Orotherjurisd/`ction) * Fuel£ * *
MoNTH DAY YEAR . w / n 106881
3 l l 3 CNY&\~, mla
c. NAME AND TlTLE OF OFFlClAL ADM|N|STER|NG OATH d. S|GNATURE e. MY CO lSS N ama
(T.V r 'nt) § EXP|RES
‘ z,w S_c}'\\l;q\i ~~~v~r\ g di\fM-J lo/B AR°G°
AuTHoRleD FoR LocAL REPRoDuchoN t STANDARD FORM 28 (REV_ 6,2003)

Previous edition is not usable Prescribed by GSA-FAR (48 CFR) 53.228(e)

 

CaSe2 4217-Cl’-00131-D|\/|B-.]|\/|V DOC #2 52 Filed2 O2/13/18 43 Of 85 Page|D #2 194

eruary 23, 2018

Hadi a Ir_nani El Bey _ _

Non- esident / Non-Domestic / Non-Assurnpsit / TDC:
In Care of: ( 5_04_] Ronaldman Road_

Cleveland, lss_isslp 1 sta_te Republic [38732] TDC)

a temporary mailing ocatlon

 

Sharion Aycock dba CHIEF JUDGE SHARION AYCOCK

Thomas G. Abernethy Fed. Bldg. THE U.S. DlSTRlCT COURT NORTHERN DlSTRlCT OF
MISS. 301 W. Commerce St. #13

Aberdeen, MS 39730

Re: CHARLINE KIRKLAND-BRANDON©TM, ACCOUNT No. 425045616

Appointment of Fiduciary

I, Hadiya lmani El Bey “Third Party Interest Intervener,” having terminated the previous
fiduciary to the corporate entity (ens legis), a documented vessel under United States registry,
otherwise described as CHARLINE KIRKLAND-BRANDON©TM, or any alphabetical or
numerical variation thereof, nunc pro tunc, said entity having as it’s trustee the Secretary of
Transportation of the United States pursuant to and in accordance with [Title 46 App. U.S.C. §
1247] and there being no living sentient being responsible to accept service of process or other
documents, and cannot appear in a court of the United States or act as a duly appointed transfer
agent, and cannot achieve parity with real people. Therefore I, Hadiya lmani El Bey, “Third
Party Interest Intervener,” hereby nominate and do appoint Sharion Aycock dba CHIEF JUDGE
SHARION AYCOCK as being qualified to fulfill the position of “Fiduciary Creditor” and
Fiduciary Debtor” for the corporate entity described above in all-capital-letter-assemblages, the
same to be effective immediately as of the date set forth below, and shall continue until further
notice or reappointment, substitution or cancellation, within the venue as ordained and
established by We the People, through their original Organic Constitution(s).

Whereas, said fiduciary creditor’s responsibilities are to exercise scrupulous good faith and
candor towards, and for the benefit and on behalf of Hadiya lmani El Bey, “Third Party
Interest Intervener,” the exclusive and limited purpose of accepting and receiving all liabilities,
accepting and receiving all service of process and other documents, instruments, bonds or other
important papers, to appear and discharge, settle and close all matters material to above referred
in all-capital-letter-assemblages, the same shall be by order of Hadiya Imani El Bey, “Third
Party Interest Intervener” or other delegated appointee of Hadiya Imani El Bey, “Third
Party Interest Intervener,” including assignments for or on behalf of the principal,
CHARLINE KIRKLAND-BRANDON©TM, XXX-XX-XXXX including any alphabetical or
numerical variation thereof as described above, and to do all other acts requisite to faithfully
execute said appointment, fully, faithfully, specially under this appointment

 

CaSe2 4217-Cl’-00131-D|\/|B-.]|\/|V DOC #2 52 Filed2 O2/13/18 44 Of 85 PaQe|D #_2 195

~ .~-- ~ =- . l:-
E"Cuiil<; ri_ll?:? r-:~'ii*: ~_ri.i

l

  

1: 1:3;~.: :», s1

Fiduciary Creditor, Sharion Aycock dba CHIEF JUDGE SHARION AYCOCK OF
THE U.S. DISTRICT COURT NORTHERN DISTRICT OF MISSISSIPPI, is hereby
authorized to use the private exemption of Hadiya lmani El Bey, i.e. CHARLINE
KIRKLAND-BRANDON©TM, XXX-XX-XXXX for the adjustment and set-off of all matters, with
regards to the Internal Revenue Service account numbers XXX-XX-XXXX, which have previously
been Accepted For Value, and Returned for Settlement, Closure and discharge. The attached
presentment is accepted for value, with all related endorsements front and back, in accordance
with Uniform Commercial Code 3-419 and House Joint Resolution 192 of June 5, 1933; pre-
paid; exempt from levy. Sharion Aycock dba CHIEF JUDGE SHARION AYCOCK is to issue
the appropriate IRS 1099 forms and to be in compliance with all revenue requirements in this
matter timely. l, Hadiya lmani El Bey, “Third Party Interest Intervener” asseverate that the facts
enumerated herein are set forth in good faith with clean hands and that the same are true, correct,
complete and not misleading, so certified without the United States.

DUTIES OF THE FIDUCIARY

The Principal hereby directs the Fiduciary to perform the following duties within ten (10) days of
the postmark of this Contract:

(l) Pursuant to the Form 91 , the Fiduciary is hereby directed to use the personal property
released from escrow exclusively for the settlement, setoff, and/or discharge of any and all debts,
obligations, or liabilities associated with the Account.

(2) The Fiduciary is hereby directed to settle, setoff, and/or discharge any and all debts,
obligations, or liabilities associated with the Account.

(3) The Fiduciary is hereby directed to negotiate, endorse, and/or ledger the Instruments for the
settlement, setoff, and/or discharge of any and all debts, obligations, or liabilities associated with
the Account for the benefit of the Beneficiary.

(4) The Fiduciary is hereby directed to ledger the Information Return against the Account for the
Financial Institution.

(5) The Fiduciary is hereby directed to issue a Statement of Account showing a Zero ($0.00)
dollars balance for the Account to the Principal.

(6) The Fiduciary is hereby directed to release any and all funds and/or assets remaining after the
setoff, settlement and closure of the Account to the Principal.

ACCEPTANCE AND REFUSAL

This Contract shall be deemed accepted by the Fiduciary if a refusal to the appointment,
authorities, and duties is not received by the Principal at the address given above within ten (10)
days of the postmark of this Contract. Any refusal of this Contract must be accompanied by a
sworn affidavit, signed under penalty of perjury, and stating that the Fiduciary does NOT have
the capacity, authority, obligation, and duty to:

(1) Setoff, settle and close the Account.

(2) Accept an appointment as a fiduciary.

(3) Negotiate, endorse, or ledger the Instruments against the Account for the benefit of the
Beneficiary.

(4) Perform the duties as the custodian pursuant to the Form 91.

(5) Ledger the Information Return against the Account held by the Financial Institution for the
benefit of the Beneficiary.

 

CaSe2 4217-Cl’-00131-D|\/|B-.]|\/|V DOC #2 52 Filed2 O2/13/18 4§@.{;85;€§@§1§ #52§196

t
.
t
‘t

   

(6) Issue a Statement of Account showing a Zero ($0.00) dollars balance for the Account to the
Principal. If the Fiduciary needs additional time to perform the duties set forth in this Contract,
the Fiduciary may request said additional time by written request to the Principal within ten (10)
days from the postmark of this Contract and said request must provide good cause. Any requests
for additional time shall not exceed thirty (3 0) days from the postmark of this Contract. The
Principal reserves the right to deny any requests for additional time.

LIABILITY OF THE FIDUCIARY

The Fiduciary’s failure to perform the duties set forth in this Contract, within the time allotted to
perform said duties, will comprise the Fiduciary’s agreement to the following:

(1) The Fiduciary waives all rights, defenses, and immunities

(2) The Fiduciary accepts personally liability up to ten (10) times the face value of the
Instruments.

(3) The Fiduciary accepts the filing of the IRS Form 3949a, Information Referral, with the
Intemal Revenue Service for the Fiduciary’s violation of income tax law,

(4) The Fiduciary accepts the filing of any documents and public records reporting the lien right
of the Principal in relation to the Fiduciary’s breach of this Contract.

(5) The Fiduciary accepts that the Fiduciary’s public hazard bond and/or limited liability
insurance policy shall be surety for any liens or levies executed by the Principal for the
Fiduciary’s breach of this Contract.

(6) The Fiduciary accepts that the Fiduciary’s real property, personal property, fixtures, and
accounts shall be surety for any liens or levies executed by the Principal for the Fiduciary’s
breach of this Contract.

I, Hadiya lmani El Bey, “Third Party Interest Intervener” asseverate that the facts enumerated
herein are set forth in good faith with clean hands and that the same are true, correct, complete
and not misleading, so certified without the United States.

Hadiya lmani §l Bey, Third Party Interest Inte;|ener,

Authorized Agent For: CHARLINE KIRKLAND-BRANDON©TM, (ens legis)

//3///§

l Date

 

 

 

CaSe2 4217-Cl’-00131-D|\/|B-.]|\/|V DOC #2 52 Filed2 O2/13/18 46 0185 Page|D #2 197

 

NOTARY ATTACHED

Using a notary for this document does not constitute any adhesionL nor does it alter Mv
status in any manner. The purpose for notary is verification ant_i identification only.

 

 

 

 

ACKNOWLEDGMENT
The state of }
The county of SS`
On 1131 1 § before me QD ¥J 65th 010
bATE NOTARY PUBLIC

Personally appeared, Hl,@luia] L,_£lt,t_£/¢u) il /g.@gL`

li~lame of signer who executed doclij ent
known to me (or proved to me on the basis of satisfactory evidence) to be the signer
whose name is subscribed to the within instrument and duly sworn and subscribed
acknowledged to me that he executed the same and that by his signature on the instrument
executed the instrument,

WITNESS my hand and official s al.
j Commission Expires: 10 01 51 3'03_11
W`QM

Notary Public

 

 

 

CaSe2 4217-Cl’-00131-D|\/|B-.]|\/|V DOC #2 52 Filed2 O2/13/18 47 0185 Page|D #2 198

 

January 23, 2018

Hadi a Ir_nani El Bey _ 0

Non- esident / Non-Domestic / Non-Assumpsit / TDC:
In Care of: ( 5_04_] Ronaldman Road

Cleveland, iss_issip 1 state Republic [38732] TDC)

a temporary mailing ocation

Debra M. Brown dba DlSTRlCT JUDGE DEBRA M. BROWN
Fed. Bldg. Room 369 THE U.S. DISTRICT COURT OF MISSISSIPPI, 911 Jackson Ave. East
Oxford, MS 38655

Re: CHARLINE KIRKLAND-BRANDON©TM, ACCOUNT NO. 425045616

Appointment of Fiduciary

I, Hadiya lmani El Bey “Third Party Interest Intervener,” having terminated the previous
fiduciary to the corporate entity (ens legis), a documented vessel under United States registry,
otherwise described as CHARLINE KIRKLAND-BRANDON©TM, or any alphabetical or
numerical variation thereof, nunc pro tunc, said entity having as it’s trustee the Secretary of
Transportation of the United States pursuant to and in accordance with [Title 46 App. U.S.C. §
1247] and there being no living sentient being responsible to accept service of process or other
documents, and cannot appear in a court of the United States or act as a duly appointed transfer
agent, and cannot achieve parity with real people. Therefore I, Hadiya lmani El Bey, “Third
Party Interest Intervener,” hereby nominate and do appoint Debra M. Brown dba DISTRICT
JUDGE DEBRA M. BROWN as being qualified to fulfill the position of “Fiduciary Creditor”
and Fiduciary Debtor” for the corporate entity described above in all-capital-letter-
assemblages,' the same to be effective immediately as of the date set forth below, and shall
continue until further notice or reappointment, substitution or cancellation, within the venue as
ordained and established by We the People, through their original Organic Constitution(s).

Whereas, said fiduciary creditor’s responsibilities are to exercise scrupulous good faith and
candor towards, and for the benefit and on behalf of Hadiya lmani El Bey, “Third Party
Interest Intervener,” the exclusive and limited purpose of accepting and receiving all liabilities,
accepting and receiving all service of process and other documents, instruments, bonds or other
important papers, to appear and discharge, settle and close all matters material to above referred
in all-capital-letter-assemblages, the same shall be by order of Hadiya lmani El Bey, “Third
Party Interest Intervener” or other delegated appointee of Hadiya lmani El Bey, “Third
Party Interest Intervener,” including assignments for or on behalf of the principal,
CHARLINE KIRKLAND-BRANDON©TM, XXX-XX-XXXX including any alphabetical or
numerical variation thereof as described above, and to do all other acts requisite to faithfully
execute said appointment, fully, faithfully, specially under this appointment

 

gelD #: 199

1=1.'= . . »..
ii .; F."¥.':'.!-‘ .£'-‘.-

 

 

':1°1.'5,:;1~'1_ fill

Fiduciary Creditor, Debra M. Brown dba DISTRICT JUDGE DEBRA M.
BROWN, is hereby authorized to use the private exemption of Hadiya lmani El Bey, i.e.
CHARLINE KIRKLAND-BRANDON©TM, XXX-XX-XXXX for the adjustment and set-off of all
matters, with regards to the Internal Revenue Service account numbers XXX-XX-XXXX, which have
previously been Accepted For Value, and Returned for Settlement, Closure and discharge, Debra
M. Brown dba DlSTRlCT JUDGE DEBRA M. BROWN is to issue the appropriate IRS 1099
forms and to be in compliance with all revenue requirements in this matter timely. I, Hadiya
lmani El Bey, “Third Party Interest Intervener” asseverate that the facts enumerated herein are
set forth in good faith with clean hands and that the same are true, correct, complete and not
misleading, so certified without the United States,

DUTIES OF THE FIDUCIARY

The Principal hereby directs the Fiduciary to perform the following duties within ten (10) days of
the postmark of this Contract:

(1) Pursuant to the Form 91 , the Fiduciary is hereby directed to use the personal property
released from escrow exclusively for the settlement, setoff, and/or discharge of any and all debts,
obligations, or liabilities associated with the Account.

(2) The Fiduciary is hereby directed to settle, setoff, and/or discharge any and all debts,
obligations, or liabilities associated with the Account.

(3) The Fiduciary is hereby directed to negotiate, endorse, and/or ledger the Instruments for the
settlement, setoff, and/or discharge of any and all debts, obligations, or liabilities associated with
the Account for the benefit of the Beneficiary.

(4) The Fiduciary is hereby directed to ledger the Information Return against the Account for the
Financial Institution.

(5) The Fiduciary is hereby directed to issue a Statement of Account showing a Zero ($0.00)
dollars balance for the Account to the Principal.

(6) The Fiduciary is hereby directed to release any and all funds and/or assets remaining after the
setoff, settlement and closure of the Account to the Principal.

ACCEPTANCE AND REFUSAL

This Contract shall be deemed accepted by the Fiduciary if a refusal to the appointment,
authorities, and duties is not received by the Principal at the address given above within ten (10)
days of the postmark of this Contract. Any refusal of this Contract must be accompanied by a
sworn affidavit, signed under penalty of peijury, and stating that the Fiduciary does NOT have
the capacity, authority, obligation, and duty to:

(1) Setoff`, settle and close the Account.

(2) Accept an appointment as a fiduciary.

(3) Negotiate, endorse, or ledger the Instruments against the Account for the benefit of the
Beneficiary.

(4) Perform the duties as the custodian pursuant to the Form 91.

(5) Ledger the Information Return against the Account held by the Financial lnstitution for the
benefit of the Beneficiary.

(6) Issue a Statement of Account showing a Zero ($0.00) dollars balance for the Account to the
Principal. If the Fiduciary needs additional time to perform the duties set forth in this Contract,

 

CaSe2 4217-Cl’-00131-D|\/|B-.]|\/|V DOC #2 52 Filed2 O2/13/18 49,918_5-9_3@@1|§) §§ 2OO

1

 

 

=‘-'~ ~= ' °r ~r.' '-1».¢
'.=":_’i_?ib 11 i@~;-€ -_'»~l i~:i~i

the Fiduciary may request said additional time by written request to the Principal within ten (10)
days from the postmark of this Contract and said request must provide good cause. Any requests
for additional time shall not exceed thirty (30) days from the postmark of this Contract. The
Principal reserves the right to deny any requests for additional time,

LIABILITY OF THE FIDUCIARY

The Fiduciary’s failure to perform the duties set forth in this Contract, within the time allotted to
perform said duties, will comprise the Fiduciary’s agreement to the following:

(1) The Fiduciary waives all rights, defenses, and immunities

(2) The Fiduciary accepts personally liability up to ten (10) times the face value of the
Instruments.

(3) The Fiduciary accepts the filing of the IRS Form 3949a, Information Referral, with the
Internal Revenue Service for the Fiduciary’s violation of income tax law,

(4) The Fiduciary accepts the filing of any documents and public records reporting the lien right
of the Principal in relation to the Fiduciary’s breach of this Contract.

(5) The Fiduciary accepts that the Fiduciary’s public hazard bond and/or limited liability
insurance policy shall be surety for any liens or levies executed by the Principal for the
Fiduciary’s breach of this Contract.

(6) The Fiduciary accepts that the Fiduciary’s real property, personal property, fixtures, and
accounts shall be surety for any liens or levies executed by the Principal for the Fiduciary’s
breach of this Contract.

I, Hadiya lmani EI Bey, “Third Party Interest Intervener” asseverate that the facts enumerated
herein are set forth in good faith with clean hands and that the same are true, correct, complete

and not misleading, so certified without the United States.
l

Hadiya lmani l Bey, Third Party Interest ervener,
Authorized Agent For: CHARLINE KIRKLAND-BRANDON©TM, (ens legis)

/_/3/1/$3

Righr Thumb Prim bare

    

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 5O Of 85 Page|D #Z 201

 

NOTARY ATTACHED

 

Using a notary for this document does not constitute an adhesion nor does it alter M
status in any manner. The purpose for notary is verification and identification onl .

 

 

 

 

 

ACKNU WLEDGMENT
The state of } SS
The county of` `
011 13 \ i l § before me 320 n %m\l
DATE NOTARY PUBLIC

Personally appeared, g`lla.ill ) aj §§ MQM,(/ 3 L fed

e of signer who executed doc{unent
known to me (or proved to me on Nthe basis of satisfactory evidence) to be the signer
whose name is subscribed to the within instrument and duly sworn and subscribed
acknowledged to me that he executed the same and that by his signature on the instrument
executed the instrument

WITNESS my hand and official seal. _,.-°'€ mss,é"g;~.,_`
My Commission Expires: |0 l ,§ zQ.CDJi 31 0 A/ °-..

/>§?WQ\\S\WW §"f"

Notary Public

    
 

'°'--€€e'xe&§">’é`/

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 51 Of 85 Page|D #Z 202

 

January 23, 2018

Hadi a lr_nani El Bey _ _

Non- esldent / Non-Domestlc / Non-Assumpslt / TDC:
ln Care of: 1(\L[S_O¢l_] Ronaldman Road_

Cleveland, iss_issippi sta_te Republic [38732] TDC)

a temporary maihng ocation

Kevin Lackey dba KEVIN LACKEY, THE DIRECTOR OF THE MISSISSIPPI
ADMINSTRATIVE OFFICE OF COURTS

P.O. BOX 117

Jackson, MS 39205

Re: CHARLINE KIRKLAND-BRANDON©TM, ACCOUNT NO. 425045616

Appointment of Fiduciary

I, Hadiya lmani El Bey “Third Party Interest Intervener,” having terminated the previous
fiduciary to the corporate entity (enslegis), a documented vessel under United States registry,
otherwise described as CHARLINE KIRKLAND-BRANDON©TM, or any alphabetical or
numerical variation thereof, nunc pro tunc, said entity having as it’s trustee the Secretary of
Transportation of the United States pursuant to and in accordance with [Title 46 App. U.S.C. §
1247] and there being no living sentient being responsible to accept service of process or other
documents, and cannot appear in a court of the United States or act as a duly appointed transfer
agent, and cannot achieve parity with real people. Therefore I, Hadiya lmani El Bey, “Third
Party Interest Intervener,” hereby nominate and do appoint Kevin Lackey dba KEVIN
LACKEY, THE DIRECTOR OF THE MISSISSIPPI ADMINSTRATIVE OFFICE OF
COURTS as being qualified to fillfill the position of “Fiduciary Creditor” and Fiduciary
Debtor” for the corporate entity described above in all-capital-letter-assemblages, the same to be
effective immediately as of the date set forth below, and shall continue until further notice or
reappointment, substitution or cancellation, within the venue as ordained and established by We
the People, through their original Organic Constitution(s).

Whereas, said fiduciary creditor’s responsibilities are to exercise scrupulous good faith and
candor towards, and for the benefit and on behalf of Hadiya lmani El Bey, “Third Party
Interest Intervener,” the exclusive and limited purpose of accepting and receiving all liabilities,
accepting and receiving all service of process and other documents, instruments, bonds or other
important papers, to appear and discharge, settle and close all matters material to above referred
in all-capital-letter-assemblages, the same shall be by order of Hadiya Imani El Bey, “Third
Party Interest Intervener” or other delegated appointee of Hadiya lmani El Bey, “Third
Party Interest Intervener,” including assignments for or on behalf of the principal,
CHARLINE KIRKLAND-BRANDON©TM, XXX-XX-XXXX including any alphabetical or
numerical variation thereof as described above, and to do all other acts requisite to faithfully
execute said appointment, fully, faithfillly, specially under this appointment

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 52 Of 85 Page|D #Z 203

 

Fiduciary Creditor, Kevin Lackey dba KEVIN LACKEY, THE DIRECTOR OF
THE MISSISSIPPI ADMINSTRATIVE OFFICE OF COURTS, is hereby authorized to use
the private exemption of Hadiya lmani El Bey,i.e. CHARLINE KIRKLAND-
BRANDON©TM, XXX-XX-XXXX for the adjustment and set-off of all matters, with regards to the
Internal Revenue Service account numbers XXX-XX-XXXX, which have previously been Accepted
For Value, and Returned for Settlement, Closure and discharge, Kevin Lackey dba KEVIN
LACKEY, THE DIRECTOR OF THE MISSISSIPPI ADMINSTRATIVE OFFICE OF
COURTS is to issue the appropriate IRS 1099 forms and to be in compliance with all revenue
requirements in this matter timely. I, Hadiya lmani El Bey, “Third Party Interest Intervener”
asseverate that the facts enumerated herein are set forth in good faith with clean hands and that
the same are true, correct, complete and not misleading, so certified without the United States.

DUTIES OF THE FIDUCIARY

The Principal hereby directs the Fiduciary to perform the following duties within ten (10) days of
the postmark of this Contract:

(1) Pursuant to the Form 91, the Fiduciary is hereby directed to use the personal property
released from escrow exclusively for the settlement, setoff, and/or discharge of any and all debts,
obligations, or liabilities associated with the Account.

(2) The Fiduciary is hereby directed to settle, setoff, and/or discharge any and all debts,
obligations, or liabilities associated with the Account.

(3) The Fiduciary is hereby directed to negotiate, endorse, and/or ledger the Instruments for the
settlement, setoff, and/or discharge of any and all debts, obligations, or liabilities associated with
the Account for the benefit of the Beneficiary.

(4) The Fiduciary is hereby directed to ledger the Information Return against the Account for the
Financial Institution.

(5) The Fiduciary is hereby directed to issue a Statement of Account showing a Zero ($0.00)
dollars balance for the Account to the Principal.

(6) The Fiduciary is hereby directed to release any and all funds and/or assets remaining after the
setoff, settlement and closure of the Account to the Principal.

ACCEPTANCE AND REFUSAL

This Contract shall be deemed accepted by the Fiduciary if a refusal to the appointment,
authorities, and duties is not received by the Principal at the address given above within ten (10)
days of the postmark of this Contract. Any refusal of this Contract must be accompanied by a
sworn affidavit, signed under penalty of perjury, and stating that the Fiduciary does NOT have
the capacity, authority, obligation, and duty to:

(1) Setoff, settle and close the Account.

(2) Accept an appointment as a fiduciary.

(3) Negotiate, endorse, or ledger the Instruments against the Account for the benefit of the
Beneficiary.

(4) Perform the duties as the custodian pursuant to the Form 91.

 

Case: 4:17-cr-00131-DMB-Jl\/l\/ Doc #: 52 Filed: 02/13/18 Sa§'j@r¥a§iili>‘§é`étr¢) §’?204
aie-

§
____ - ..-.~ .- § ~ ~..- -'-+.'
11.-~¢ '>.-'1;1;;§ rlil,,l.`_‘§!._w~.‘ H:'l

x .~
~..4_.‘ ’_-z...‘ 4.‘_

(5) Ledger the Information Return against the Account held by the Financial lnstitution for the
benefit of the Beneficiary.

(6) Issue a Statement of Account showing a Zero ($0.00) dollars balance for the Account to the
Principal. If the Fiduciary needs additional time to perform the duties set forth in this Contract,
the Fiduciary may request said additional time by written request to the Principal within ten (10)
days from the postmark of this Contract and said request must provide good cause. Any requests
for additional time shall not exceed thirty (3 0) days from the postmark of this Contract. The
Principal reserves the right to deny any requests for additional time,

LIABILITY OF THE FIDUCIARY

The Fiduciary’s failure to perform the duties set forth in this Contract, within the time allotted to
perform said duties, will comprise the Fiduciary’s agreement to the following:

(1) The Fiduciary waives all rights, defenses, and immunities

(2) The Fiduciary accepts personally liability up to ten (10) times the face value of the
Instruments.

(3) The Fiduciary accepts the filing of the IRS Form 3949a, Information Referral, with the
Internal Revenue Service for the Fiduciary’s violation of income tax law,

(4) The Fiduciary accepts the filing of any documents and public records reporting the lien right
of the Principal in relation to the Fiduciary’s breach of this Contract.

(5) The Fiduciary accepts that the Fiduciary’s public hazard bond and/or limited liability
insurance policy shall be surety for any liens or levies executed by the Principal for the
Fiduciary’s breach of this Contract.

(6) The Fiduciary accepts that the Fiduciary’s real property, personal property, fixtures, and
accounts shall be surety for any liens or levies executed by the Principal for the Fiduciary’s
breach of this Contract.

I, Hadiya Imani El Bey, “Third Party Interest Intervener” asseverate that the facts enumerated
herein are set forth in good faith with clean hands and that the same are true, correct, complete
and not misleading, so certified without the United States,

d! " 52 mary 2a agri/

Hadiya Imani E Bey, Third Party Interest Intervene{,
Authorized Agent For: CHARLINE KIRKLAND-BRANDON©TM, (enslegis)

 

1/3)[/?

Date l

 

 

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 54 Of 85 Page|D #Z 205

 

fa:)"§;¢_).-lll." 11=§.¥:::"+.‘ "\l.‘l

NOTARY ATTACHED

Using a notary for this document does not constitute any adhesion. nor does Mlter My
status in any manner. The purpose for notary is verification and identificaiion onlv.

 

 

 

 

ACKNOWLEDGMENT
The state of }SS
The county of Qm/m/ '
/O/ 3 i f 15 before me (Dho Gdi\).)$d\)
l DATE NoTARY PUBLIC

§

Personally appeared,

ame of signer who executed do ent
known to me (or proved to me on the basis of satisfactory evidence) to be the signer
whose name is subscribed to the within instrument and duly sworn and subscribed
acknowledged to me that he executed the same and that by his signature on the instrument
executed the instrument

WITNESS my hand and official eal.
My Commission Expires: \Ol ;:g Q-O:)J
QW

Notary Public

 

 

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 55 Of 85 Page|D #Z 206

 

January 23, 2018

Hadi a lmani El Bey _ _

Non- esldent / Non-Domestlc / Non-Assumpslt / TDC:
In Care of: &5_04_] I_{on_aldman Road_

Cleveland, 1ss_1ss1p 1 state Republic [38732] TDC)

a temporary mailmg ocation

William C. Lamar dba WILLIAM C. LAMAR, U.S. ATTORNEY OF THE NORTHERN
DISTRICT OF MISSISSIPPI

Ethridge Building 900 Jefferson Avenue

Oxford, MS 39730

Re: CHARLINE KIRKLAND-BRANDON©TM, ACCOUNT No. 425045616

Apnointment of Fiduciarv

I, Hadiya lmani El Bey “Third Party Interest Intervener,” having terminated the previous
fiduciary to the corporate entity (enslegis), a documented vessel under United States registry,
otherwise described as CHARLINE KIRKLAND-BRANDON©TM, or any alphabetical or
numerical variation thereof, nunc pro tunc, said entity having as it’s trustee the Secretary of
Transportation of the United States pursuant to and in accordance with [Title 46 App. U.S.C. §
1247] and there being no living sentient being responsible to accept service of process or other
documents, and cannot appear in a court of the United States or act as a duly appointed transfer
agent, and cannot achieve parity with real people. Therefore I, Hadiya lmani El Bey, “Third
Party Interest Intervener,” hereby nominate and do appoint William C. Lamar dba WILLIAM C.
LAMAR, U.S. ATTORNEY OF THE NORTHERN DlSTRlCT OF MISSISSIPPI as being
qualified to fulfill the position of “Fiduciary Creditor” and Fiduciary Debtor” for the
corporate entity described above in all-capital-letter-assemblages, the same to be effective
immediately as of the date set forth below, and shall continue until further notice or
reappointment, substitution or cancellation, within the venue as ordained and established by We
the People, through their original Organic Constitution(s).

Whereas, said fiduciary creditor’s responsibilities are to exercise scrupulous good faith and
candor towards, and for the benefit and on behalf of Hadiya lmani El Bey, “Third Party
Interest Intervener,” the exclusive and limited purpose of accepting and receiving all liabilities,
accepting and receiving all service of process and other documents, instruments, bonds or other
important papers, to appear and discharge, settle and close all matters material to above referred
in all-capital~letter-assemblages, the same shall be by order of Hadiya lmani El Bey, “Third
Party Interest Intervener” or other delegated appointee of Hadiya lmani El Bey, “Third
Party Interest Intervener,” including assignments for or on behalf of the principal,
CHARLINE KIRKLAND-BRANDON©TM, XXX-XX-XXXX including any alphabetical or
numerical variation thereof as described above, and to do all other acts requisite to faithfully
execute said appointment, fully, faithfully, specially under this appointment.

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 56 Of 85 Page|D #Z 207

 

Fiduciary Creditor, William C. Lamar dba WILLIAM C. LAMAR, U.S.
ATTORNEY OF THE NORTHERN DISTRICT OF MISSISSIPPI, is hereby authorized to
use the private exemption of Hadiya lmani El Bey,i.e. CHARLINE KIRKLAND-
BRANDON©TM, XXX-XX-XXXX for the adjustment and set-off of all matters, with regards to the
Intemal Revenue Service account numbers XXX-XX-XXXX, which have previously been Accepted
For Value, and Returned for Settlement, Closure and discharge. William C. Lamar dba
WILLIAM C. LAMAR, U.S. ATTORNEY OF THE NORTHERN DlSTRlCT OF MISSISSIPPI
is to issue the appropriate IRS 1099 forms and to be in compliance with all revenue requirements
in this matter timely. I, Hadiya lmani El Bey, “Third Party Interest Intervener” asseverate that
the facts enumerated herein are set forth in good faith with clean hands and that the same are
true, correct, complete and not misleading, so certified without the United States,

DUTIES OF THE FIDUCIARY

The Principal hereby directs the Fiduciary to perform the following duties within ten (10) days of
the postmark of this Contract:

(1) Pursuant to the Form 91, the Fiduciary is hereby directed to use the personal property
released from escrow exclusively for the settlement, setoff, and/or discharge of any and all debts,
obligations, or liabilities associated with the Account.

(2) The Fiduciary is hereby directed to settle, setoff, and/or discharge any and all debts,
obligations, or liabilities associated With the Account.

(3) The Fiduciary is hereby directed to negotiate, endorse, and/or ledger the Instruments for the
settlement, setoff, and/or discharge of any and all debts, obligations, or liabilities associated with
the Account for the benefit of the Beneficiary.

(4) The Fiduciary is hereby directed to ledger the Information Return against the Account for the
Financial Institution.

(5) The Fiduciary is hereby directed to issue a Statement of Account showing a Zero ($0.00)
dollars balance for the Account to the Principal.

(6) The Fiduciary is hereby directed to release any and all funds and/or assets remaining after the
setoff, settlement and closure of the Account to the Principal.

ACCEPTANCE AND REFUSAL

This Contract shall be deemed accepted by the Fiduciary if a refusal to the appointment,
authorities, and duties is not received by the Principal at the address given above within ten (10)
days of the postmark of this Contract. Any refusal of this Contract must be accompanied by a
sworn affidavit, signed under penalty of pte ury, and stating that the Fiduciary does NOT have
the capacity, authority, obligation, and duty to:

(1) Setoff, settle and close the Account.

(2) Accept an appointment as a fiduciary.

(3) Negotiate, endorse, or ledger the Instruments against the Account for the benefit of the
Beneficiary.

(4) Perform the duties as the custodian pursuant to the Form 91.

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 57;’_(!)]°§851,|§3§1$§,1_‘|;) §§ 208

  

(5) Ledger the Information Return against the Account held by the Financial Institution for the
benefit of the Beneficiary.

(6) Issue a Statement of Account showing a Zero ($0.00) dollars balance for the Account to the
Principal. If the Fiduciary needs additional time to perform the duties set forth in this Contract,
the Fiduciary may request said additional time by written request to the Principal within ten (10)
days from the postmark of this Contract and said request must provide good cause. Any requests
for additional time shall not exceed thirty (3 0) days from the postmark of this Contract. The
Principal reserves the right to deny any requests for additional time,

LIABILITY OF THE FIDUCIARY

The Fiduciary’s failure to perform the duties set forth in this Contract, within the time allotted to
perform said duties, will comprise the Fiduciary’s agreement to the following:

(1) The Fiduciary waives all rights, defenses, and immunities

(2) The Fiduciary accepts personally liability up to ten (10) times the face value of the
Instruments

(3) The Fiduciary accepts the filing of the IRS Form 3949a, Information Referral, with the
Internal Revenue Service for the Fiduciary’s violation of income tax law.

(4) The Fiduciary accepts the filing of any documents and public records reporting the lien right
of the Principal in relation to the Fiduciary’s breach of this Contract.

(5) The Fiduciary accepts that the Fiduciary’s public hazard bond and/or limited liability
insurance policy shall be surety for any liens or levies executed by the Principal for the
Fiduciary’s breach of this Contract.

(6) The Fiduciary accepts that the Fiduciary’s real property, personal property, fixtures, and
accounts shall be surety for any liens or levies executed by the Principal for the Fiduciary’s
breach of this Contract.

1, Hadiya Imam' El Bey, “Third Party Interest Intervener” asseverate that the facts enumerated
herein are set forth in good faith with clean hands and that the same are true, correct, complete
and not misleading, so certified without the United States

   

.¢

Hadiya Iman El Bey, Third Party Interest Iote ener,
Authorized Agent For: CHARLINE KIRKLAND-BRANDON©TM, (enslegis)

'/z\/rz?

' Dafe

 

 

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 58 Of 85 Page|D #Z 209

- _ ' 'r _.. . :`.`
l:§i}s_ii~:_ _.,-'_‘1_§1»:§ P-'.i':\'¥:' 'Z=‘i'

  

?=_'-;`. .`_.“._1: 115133234 1'-"1i’i

NOTARY ATTACHED

Using a notary for this document does not constitute anv adhesion, nor does it alter My
status in any manner. The purpose for notary is verification and identification only.

 

 

 

 

ACKNOWLEDGMENT
The state of }
The county of SS'
On I]B{i/g beforeme QN C)UW
‘ DA’rE NoTARY PUBLIC

Personally appeared, H . wl ` 3

Name of signer who executed d cument
known to me (or proved to me on the basis of satisfactory evidence) to be the signer
whose name is subscribed to the within instrument and duly sworn and subscribed

acknowledged to me that he executed the same and that by his signature on the instrument
executed the instrument,

WITNESS my hand and official s al.
y Commission Expires: |D 23 lS-QQ»] __..»QF mss‘....,_
.¢~".`6`_&6";,3.6.~ / .°»..
W MJ __-” :{' / ~,

Notary Public sEAL 5 *{

    

001 WAR CO\£§`

‘\o¢»»»~b

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 59 Of 85 Page|D #Z 210

Mail to: Hadiya lmani El Bey of Washitaw Terra
Temporary Mailing location: ([504] Ronalde Road
Cleveland, Mississippi state Republic [38732] TDC)
Non-Resident /Non-Domestic / Non-Assumpsit

 

SILVER BOND
Bolivar County

l
l

Mississippi Republic ] Asseveration
l

united States of America ]

Hadiya lmani El Bey, Authorized Representative for CHARLINE KIRKLAND-
BRANDONTM©®
only in capacity as beneficiary to the Original Jurisdiction

NOTICE OF SURETY ACT AND BOND

KNOW ALL MEN, BY THESE PRESENTS, I, Hadiya lmani El Bey,
Beneficiary, and Executrix Office of the CHARLINE KIRKLAND-BRANDONTM©® ESTATE, a free
wombman and the aboriginal indigenous inhabitant upon the free soil of this Washitaw Territory
(Mississippi Republic), state that I am not a corporation, however, I am the trustmaker for the HADIYA
IMANI EL BEY LIVING TRUST. I am a living soul, of legal age, competent to testify, have personal
firsthand knowledge of the truths and facts herein being true, correct, and certain, not misleading,

I, Hadiya Imani El Bey, of my own free will and accord, in the presence of UR RA (ALLAH, ALAH,
ELAH, ELOH), as the presences of UR RA (ALLAH, ALAH, ELAH, ELOH) in me. All in capacity as
beneficiary to the Original Jurisdiction eartth and heavenly, in good conscience, do willingly undertake to
act as surety to pledge and provide private bond, in the amount of twenty-two dollars in silver coinage,
minted by the American Treasury (at the legal and lawful 24 to l ratio prescribed by law) united States of
America, Lawful coin dollars of the united states of America, personally held in My ownership and
possession,

This bond is to the credit of the private party listed hereon, Hadiya Imani El Bey, in capacity as beneficiary
to the Original Jurisdiction, by his appellation, as full faith and credit guarantee to any Lawful Bill in
Redemption, duly presented under Seal in Lawful specie money of account of the united States of America,
Original Jurisdiction, to wit, and pursuant and in parity to the cost-expense ratio of senate bill 70 on file in
this state.

The Bill of Redemption is a tender as set off for any alleged contract, agreement, consent, assent
purportedly held, as an obligation or duty against Hadiya lmani El Bey so as to cause an imputed disability,
or presumption against the capacity, Rights and powers of Hadiya Imani El Bey. The specific intent of the
bond, under seal, is to establish, by My witness, the good credit in Lawful money specie of Hadiya lmani
El Bey.

I, Hadiya lmani El Bey do make this surety, pledge, bond, under My seal, as full faith and credit guarantee,
to any Lawful Bill, duly presented, to Me, under Seal, under penalties of perjury in Lawful money of
account of the united States of America, in the matter of correct public judicial/corporate actions in the
forum of Original Rules, Original jurisdiction, for the benefit and credit of the peculiar private party listed
above.

 

Case: 4:17-cr-00131-DMB-Jl\/l\/ Doc #: 52 Filed: 02/13/18 eq_pir:_a§,§?§ag;e_ p §§ 211
111 :

*-~ r'\-s '-"~'11~\ *‘) . /~ ‘
‘=_’.;‘x' ‘x_ir_.»" 1£1_11=:l li:i_!~_'=§-_.’\'-1 H»`l

 

The intent of the bond, under Seal, is to establish, by My witness, the good credit, in the sum certain
amount of at least twenty one dollars in silver coinage, which carries no debt obligation worldwide, minted
by the American Treasury, united states of America, Lawful specie dollars of the united states of America,
available to bond the actions of the private party listed above, and further, in reservation of Rights under
common law and customs of the united states of America, available to bond the actions of the private party
listed above, and further, in reservation of Rights under common law and customs of the united states of
America, Original Jurisdiction, Original Rules, has, before this assembly of Men, a bond in tender of
twenty one silver dollars, Coinage Act of A.D. 1792, Bond of Identity and Character as proof positive,
competent evidence, Hadiya lmani El Bey cannot be bankrupt, the causa debendi, no cessio bonorum, or a
forma pauperis dolus trust CHARLINE KIRKLAND-BRANDONTM©®.

The life of this bond covers a period of two (2) years from the date entered below unless the plaintiff enters
a true bill of particulars and all related causes of action and your advice of counsel (who do you work for?)
and information with testimony documentation under the penalties of perjury into evidence in the case of
the peculiar private party listed above, in which case the life of this bond will be extended for a period of
two (2) years after such documentation is presented under the penalties of perjury in the case of the peculiar
private party listed above, whereby, by the signature Jurat and Seal of Hadiya lmani El Bey, in capacity as
beneficiary of the Original Jurisdiction, surety, guarantor, herein confirms attests,, and affirms this bond.

Failure to comply pursuant to the Truth in Lending Act will negate your remedies Third party to serve on
this case will make you liable for civil and criminal prosecution.

NOTlCE TO PRINCIPALS IS NOTlCE TO AGENTS
NOTlCE TO AGENTS IS NOTlCE TO PRINCIPALS

Teste Meipso

Done this the 3 f day of theQ§A/_; month, anno Domini, in the year two thousand

fourteen.

L.S. X \‘Ll~rlQ_§/,(NQ,LQV\LDV~» §/

Hadiya ImaH/El Bey (signed in red above)

 
 
  
 

Red])

 
 

of the Original

 

Witness
adiya lmani El Bey (signed in red ` )
Mcoumy l
] ss:
' state ]

Hadiya lmani El Bey, known by me or made known to me by proper identification, Affirmed and

subscri ' e l day of 'z,! ,2018,THEREF0RE;
X Notary °IV\ ,...,¢~“"°»o,u~., j
‘ kw .~'"<¢,ojr“\$slss/A;"'
s .-/
remand <M§ ,,I_,,a\ *.,
w

  

¢u¢..~. 'ol AR

' '¢u¢uuo"'

 

  

§
1
l _
i
l

  

 

 

VT%CMF v home munoz
so l a POE:

    
 

ama ta£v. am
`E

 

STATE OF |LL|NU|S "QUNW 0¢ DUF
v AGI

FEQFLI OF THE 81' 0

T

AMOUNT CLNMED

FM CAF.D FM 3.

 
 

 

  
 

Ymar\mbvlw'\ ' umw must i
b

 

 

bymanlfoermo¢tm
cru=:v\ca.wim¢'nm
.- ,k\\m.caudy¢l'|ql“¢\-
-‘ mnwugs)da»:cbebn¢m¢ued
.Il~weecw\orbermde,m|swnm
reimme .

 
 
    
  
 
 
 
 
   

 
  

n P'ooem\g mo am summons you wm mart a mun
cusuan~.-L-: sand mwm cay co be any wollman dor-my through

Office of the Clerk of the Circuit Court
DuPage County, Il|inois

,.

 

 
 
 

- - 1
FxA cano scm/lees m -vs- rnu-

    

 

 

 

 

 

 

H*'*~

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 62 Of 85 Page|D #Z 213

 

 

 

CaSe: 4:17-CI’-00131-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 63 Of 85 Page|D #' 214

1
i:,,,_w 2f1-§§ pie :::§:

 

 

 

 

 

RE|NSURANCE AGREEMENT FOR A BOND STATUTE FERFORHANCE BOND g gm gm mms
(See lnsiructldns an reverse) Expirllion Dah: 1131!2019

mmdbml-l¢-hnul-lnhiylv“alhdm'dwm)mm hommdmnl»rhl-mhdmlm& Wa
mduiviltakl€°nil\~brllihliltmdimi. mmiadl.lidl-vi\rhq\lafom. marilyme imm. london-d
Maig\cl:‘;mdh¢-pamd|iuidmdimmb: Guuds¢vi_mmmymoi;'m(mv\ca) tm MN.
imchmeme th DATEDRECTWR|’HNGCWPANYB(ECUTEB YHB
Hadiya lmani E| Bey DEM
Temporary Mailing Location: ([504] Ronaldman Road ` 91"15/2013
Cleveland, Mississippi state Republic [38732] TDC) 'B~ sT*TE°F '"°°R"°Rm°"

Non-Resident l Non-Domestvc / Non-Assumpsct M`SS`SS§FPUBC ¥23_56_00374

 

 

 

 

 

 

 

 

 

zaeuisumuecmvmv' zamo\moi=msnemsmmcem
CHARL|NE KlRKLAND-BRANDON/ RE 346 086 831 US 5500.000
DEPOS¥TORY TRUST COMPANY 2a one nsinsuni~e coi»mv morris msAsREEiia¢T
55 wATER sTREc-;r, isr FLooR 21a 1/£:;2£%1 7 m
NEW ¥ORK C|T¥’ NEW ¥ORK 10041 MISSISS|PPl/BC 123-56-00374
3. DESCR|PT|ON OF CONTRACT 4. DESCRlPT|ON OF BOND

umwmoFcon/icr ap€msi»ioi=aoun

5398,000 3500.000
aa. compact ama 3c. mmr Nuua£n 4a mrE oi= noun 4c. scm moines
111031`2017 4:17CR13‘\ 01/16/2018 CKB-DO*\
an. nescm=rio~ or courch io_ macmi-
OMB Control Number: 9000-0045 Hadiya lmani El Bey

Temporary Mailing Location: ([504] Ronaldman Road
cleveland1 Mississipm state Repumsc [337321 TDC)
Non~Resident / Non-Domestic / Non-Assumpsit

 

 

as. oommcms"_ micY'L ie','s'rArE 0F' " lmoRPoRA_'_rm wm miami
US DlST, COURT OF NORTHERN DlST. OF MISS|SS|PP| MlSSISS|PPI

 

 

AGREEh€NT
ii TheDiraanhg` Cam namadamkbwndualelybmeumadstamadhmnmmmp¢brmeavonddeauhedmmimms
admia)daau'hadislhaprl'\cip:knly deuwmmmmmmm_mwmndhwnmmumpd

humadmmoppnaiannnuiiednm'mwing€qnpany(mhmdmuh'hmmsmk mida').ortormiavarmiourllauti'mme
(b)Forasunmunmly r_dupon.pddbylheDirach CompanytnlhaRahm Cormuvymdiadnmdacbashsmthapaniaamvis
Agiaamadaov¢namandag.i'b¢w munro-ramadquan g
TERMSANDOOND|T|ONS;
a‘|'haMu'dhiai_ndmh mcmann guarantee widathy\h aqribdsvtaaagahn munduihapaitormmoaand\omaaidamd\he
() naumrm orlrlyl.\.irn|aaadimma'AnmitotmiaRainsurar::a'lama! howhgand mpaidbyd\eDiiachiiiiigComplqlomaUn`nad
.Siahsundarlhaputummdond

(b)itmaDiadWrithunpmytdlsvpymydefanmdunnpodmnamawdaq udmorinaxoasaotlha‘hmmo¢hisRa\rmnma.'\ha
Rains\lin nonperformance

 

g mmmandagreeawpayiomunhad$ubalhaobtgae bond.\ha 'AlmiimotmisRa`limnca." lmaD`nct
V\Mlhgcompany to btt\eunaadsuhalr{dltaltoralumlanmanh'i\nmm ottthaiw.nnoa'ha Rdmur§” ycov¢nlmand
agaaamplybthauniiad lhlhltamlm\outofmadatmlLoraon\idimamd durno|h no|pddmmaunibdsntasbyha

c)' ai::nd marie unadStalas um.a\i`lagai.:i:.=iaRdnsu` '¢.::npantorlha' "Amouilot man or.i\caaamaamouymot

owen agree n rnayl:mp v
madatallatorlasalhanma'ArrioumottNaRdnainnde. formemlmioumotlh:?atli
\MTNESS
mDi\i:tMilthunpa aridmaReliamngCompm,mpoemd' ,hava mbaaignadandmprasaadwlhheiiaspociiva
oupuuaud¢byma%uudngpawmlqnmnh’imum_xidmmdu~amg; moonthaduyandmuabwawman
oppoalamal'mapadwanarma
*lumtz,lb-Fuldihgimrm.buu'iand¢¢omdzl?€ad¢ md
AUTI»DR¢ZEDFU!LO(`ALRER®UCT|ON $TANDARDFORIZ?S(REV.|HM$}

P"*M¢¢l*"i""* madbycw-mecmrsamm

 

 

 

 

CaSe: 4:17-Cr-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 645_‘_]_

 

 

5. DIRECT WR|T|NG COMPANY

 

 

 

 

 

 

 

 

"sAr' i)sicmruns Q)Arresr; smiuae
Coiporem
semmmnmempm raymmonn£rrm Sea,
e. §Emsunms coWANY ;
aim stamm ¢2)Am=.s'r: simmons
Corporare g
ami)MuEmnmEnyp-m (2)NA\EAN01'm.E ('r'ypm Sw j
1
l
leTRuchoNs

This term is to be used in cases where lt la desired to cover the excess of a Direct ertlng Company‘a
underwriting limitation by reinsurance instead of coinsurance on Bonds Statute performance bonds
running to the United Statee. See FAR (48 CFR) 28.202-1 and 53.228(h).

Execute and tile this form aa follower

Origina| and copies (ae specified by the bond-approving otfloer), signed and eealed, shall accompany the
bond or be filed within the time period shown in tlie bid or proposal.

One copy, signed and eealed, shall accompany the Direct Writlng Company'e quarterly Schedule of Exceae
Rleka filed with the Department of the Treasury,

Other copies may be prepared for the use ot the Direct erting Company and Re|riauring Company. Each
Relnauring Company should uee a separate form.

 

impute Forui 213 nw mm aAcK

 

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 65 Of 85 Page|D #' 216

§‘9115:513=3'3§5:.-."

 

<-'“= 1 ~~#' ~= 41= " ¢‘r_. .*~=<
‘1._,‘3‘,;-‘¢531‘=:= 11591-:_-4 ah

RE|NSURANCE AGREEMENT FOR A BONDS STATUTE PA¥MENT BCND oelB control Number: 9000-0045
(See hamm on reveree) Exp|retion Dete: ?l3112018

 

 

*" MR, -`nic‘ ' ' ` mean 1' d“USC§W.-m\dedbyee:i:nzddnhpermhedu:ionmdim Vm
mwmmdbmmumuuhnhdyem(hedmmmmm)mudm. TheOmclhdnmlwi'-ulecimim
Vh_`n_ml\elde”nielhehndhmmllhde.mmhqlw Sel\‘lcliymleihghou*ne“iueiq
dmtib\lmumyee-rmo¢aiuind\o¢iiumdmer Geluisendeml'linmhgmy$euehdmiw(mwcs). 1mFSeen.N'W
WLDCM

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. DRECT WR1TNG mANY" 1A. DATE URECT WR|T|NG OC»FANV EXECUTES THIS
Hadiya smani Ea Bey mm
Temporary Mailing Location: [(504] Ronaldman Road 01/15’2013
cleveland Mississippi state Republic 1337321rmc) 'B- SWE OF mm
Non-Resident! Non-Domestic / Non-Assumpsit MlSS‘SS,PPHEC 123_56_00374
?_RENSURNGUMPANY' ZA.AMOUNTOFTHISRENS|JRANCE
CHARL|NE KlRKLAND-BRANDON / RE 346 086 831 US 3 500.000
DEPOS|TORY TRUST COMPANY 2B. DATE magma comm ExEcuTEs ms
55 wATER srREET, 131 FLooR x sm“EE"ETAEQF “'°3“"::‘7
WV KCITY WY RK1 1 ' "°°"‘°"“
NE oR 5 NE 0 004 MiSStSS|PPt/BC 123-56-00374
3. DESCRiF*T|ON OF CONTRACT 4. OESCRiFTlON OF BOND
lt NUMOF C(NTRACT M. PENAL SUM OF BOND
5398.000 5500,000
B.C°NTRAB'I'DATE LCONTRACTM!BER IB.DATECFBUID lc.BOMJMNER
11/0312017 4:17CR131 01!16/2018 CKB-001
11 DES:RFTION OF GCNTRACI' ID. PR'|NCPAL’
OMB CONTROL NO. 9000-0045 Hadiya lmani El Bey
CASE ACCOUNT NUMBER: 411 7CR131 Temporary Mailing Lowtion: l(504} Ronaldman Road
UNiTED STATES D\STR|CT COURT OF THE NORTHERN C\evetand, Mississippi state Republic [38732]/TDC)
DlSTR|CT OF MISS|SS|PP| Non-Resident l Non~Domesn`c / Non-Assumpsit
JE.CWFRAC?WGABEMZV AF_STATEOFNWWORAT|ON(IICMRW
U,S. DlST. COURT OF THE NORTH. DlST. OF M|SS|SS|PPI MlSSlSS|PPt
AGREEMENT;
lm(a)Thell|i¢eet\|\k`eirq Compenynlne:movetebomdaee\ntymme bwd* “" 4move timat)meJ “" “\elhe
.|ard\e:otecdmddldperm hborendmetelblond\e deeui)edehavemdl|e|arlheaonstmclon alermon.or ,o¢
Thepeymentbmd|eformemed Wwamw.¢\dhlmvshedlom
mm nh:emdwerlll.,aonde\u'»o\vnumem Ba\deslmme. chimel Con_\pmymeepaiedblhehm'lngmm
Campanynlnedumoven col.l\h¢h~eeme'ed lheemo\mtebmeopp\“lhenamedlhe|!e'm (le|enedtoes‘
dl!'leReheura\oe') whrwneteverm:nv:\nten\hene\e 'o¢Amo\l\t Nmm'mbmw l\ttngCo¢mmy |tm\ebpeyund¢orbyvewed
§ D me Midt lh
md b)For a\.mecrnnemldiyu§r.eged:|'):\hpe:mb:m hectwnt|§m¢gnwyw Reineuhgcompeny edunu|edgesiterembt. epertbeto
`[ERMS AND COND|'|'IONS:
Thpupoeedmh momeri gsaren»e hdetfl'ify|heperemev»hoh fl.lnief\ed mpphed|ahnr n*rhlinlhe
pmeecueond thoughme the'(.)m mmmnhnedvmove(threhdtefm¢ermdne:'inbmmd awnm lh‘e'\erm'nmendmen'
l\cl.»diqpeleonehenng rewmevd!\ mmmoomremdmn u\mpledwlhhmvmohee
ymed°l:vemee:.|:'eyme:tbg:)‘?l&b:dmh hondtnlheextentd:lem'emlo\mdm o:";‘rgmymle.:dd\:;dtra)m
mmeme'tehu'enmdmetendmen' 'ahttgeeeunderttis%eirmrenoe Agreemempl:"leeemeeunemeelmei'reepectivemmee wele.vvlihnheml'l
THEREFORE
1. The Reheumg Company covenant end egees -
(e)`lopeyhe 'Amocmdttvl"“_ 'v\he° adm 'hd\eevelnofmbieuvwiirq€ompld|y'lwmmpeymme
end'mehrh|men enydde\lturderlhepeymentbu\dequdmct|nemeudhe 'Ammmctlh'\eReineurenae;'

(b)‘!opey(nhemlmnmlhe'laborer¢mdmeleneh\en.' u(Z)nummndpeldmlhemvyd\eDima Meingcanmny;hmethe
W¢Rhgcm¢u\y¢dhvpeyl\emmdm¢elhh\en'anyddlmtundermepeymenlbondhnttnnhe'~nocmdtnemmme.'
°e¢n¢ 1, 2.40-1imdndbgin¢n¢.huheumeuudzlrcods. fm

mimFmLxALREFRUJUCTK»| 8Tmomzl4 .4]201 )

PlIv'll\-Miluld* WW®A-FAR(ABCFR)§B.ZHD

 

 

 

CaSe2 4217-Cr-00131-D|\/|B-J|\/|V DOC #2 52 Filed2 O2/13/18 66 Of 85 Page|D #2 217

.-.-\ ,~ .
,. “1¢: r_r.‘..`,g‘-:‘ .:;'T

 

 

2.Tl'¢Rainsur`nngrrplryand\heDireaWrihgCammycovmwnmdagndm.hmusedodllmmpaymembmdlwme'mwldhh
Reineuranoe.'orrnue.lhepersonegivene°ngrtctec\bn'we‘rlghtlowe'on|'\epaymsmhondhy40U.S.C.31Bmeydrhg wlagdnsllhe
Comparyhmeurhdmnw'hcwndhdwidhmmdnmnoadduabedmmhvbepedwmedl\de)recutedlcrtre'An'roumofdis
Relneuranoe'or.ifl\ean\o\l'ltdlhedala.ltlslcrleead\arnhe'Amormtdd'\lsRelne\nnce.'brwh¢everheManor.l'rldmedelatlmybe. The
Relneuhg&)mpmyl\mercavenemsendegre¢noconmlyvvihalmquklnemsmceeurymg\ewd\omnllledidion,mdmcmeluvdewmindon
dmmersrbhgumumhmuumwunhmdmelhhehwmdwedimdmmun illemethde
rights, powere. mmwiagesgvmhmhpuagmhbmmmnhmdlhnvuapdemmuhwdenmwimwmm powers mw`rvlegea
whichlheyrdghthavemdermestamlesclmemiledste\ee lrySmc.ormeolherllersofe~lher endsho\.llnmbeconesuedeslmitations.

3.Tr¢mimurhgcanpmyendmenveclwrlingconwyhth¢ewemmandagreetwameRahsuringOompenyoeaignateel\epmceeaegent
thbyllnDiecth'l\hgOofll!arvyl'lhedismdln\mld\meoormeabmbeperbrmedl\dexecutad.asanagentmaoceptmrvioedwaceeahany
nitlrrsmnedmliskehsummeAgreemem.l\dthatttnpmoessagentsheiieend,byregderadnd.talhekeinsur'v\gcormenylisw'mcbe|pieosd
hraheseetnvnabove.empydhpmceea.

4.TheRainwmgCunp.rymdmeDoedWrithonwyhlmuomena'nmdagmemamd Reinswar\oeAgreernenllsmniegralpanddre
peymeribond.

\MTNESS'.
TheDiederdngCompenymdheReir\aunngCorrperly,reapadively.havemueedthleAgeemembbedgnedendimpreeeed\v\‘ththei

meubyd\cerspmeeelngthepovlermsimmlshmmm,mdnbeduiymeabdmbydhcenempovmedmueto.monmyaoddalainlhm
1A\eritanappoahl'\ekreepedivanemee.

 

 

 

 

 

 

 

 

 

5. DlRECT WR|T|NG CMANY
m n g semmes m Am=.sr: semmes
Oameme
SiltiiNMEANDTITLE(Tw-di mmmorm£mpm seal
6. RE|NSUR|NG COIPA||Y
ut m emma (2) Am=.sr; srarmm£
Corporete
ee.mwu£momr£am mmme seal
lNSTRUCTlONS

This form ls to be uaad ln cases where lt le desired to cover the excess of a Direct ertlng Company'e
underwriting limitation by reinsurance instead of co-lnaurance on Bonds Statute payment bonds running
to the Unlted Statee. See FAR (48 CFR) 28.202-1 end 53.228(|).

Execute end file this form as followa:

Or|glnel and coplee (ea specified hythe bond»epprovlng omcer), signed end eaaled, shell accompany
the bond or be filed withln the time period shown in bid or proposel.

One copy, signed end eealed, shell accompany the Direct Writing Cempeny's quarterly Schedule of
Exceee Rlaks lll|ed vvlth the Department of Treasury.

other mpiee may be prepared for the use of the Direct ertlng Compeny end Relnsurlng Company.
Each Relnsurlng Compeny should use a separate form.

 

STANDARD FORM 274 (REV. 02013) BACK

 

 

 

 

 

 

REleURANCE AGREEMENT IN FAVOR 0F THE UNlTED STATES one comer rim soon-ims
(See instructions on reverse) Expiretlon Dete: ?B1r2019

 

mmmedhl"v_qneennnh¢ee~hyev*{lhdmndm(“)mdmm¢ TheOledmlrb¢hIluhm\-m

 

 

 

 

Wessin_thlhvrldez£rmelaeblemhm Whh$a.ul\dnnvnr'deqlelnn_. Sudne/mr*iquh_ir_.imlmemons
lnre\\ru'qeihrltr.nenynhn__, df- ‘Serv`eae‘ , , 4 Eivb'm(\|lvlco).1ml=8leme.
mw
l.MECTViR|TmCOIFANY‘ th DATE DIECTWR|TNGOOMFANYEXECUTES THE
, _ ABREB£NT
Hadiya lmani Ei Bay cms/2013
Temporary Mailing Location: ([504] Rona|dman Road m sm.EomeTm

cieve\and,u‘ ‘ ' weren br 38?32 mc
'55'5$'°°'5 °p“ '°[ 1 Mississippi/ec 1235€»00314

 

 

 

 

 

 

 

 

 

2. markus co\e>mv‘ 2a AnouNToFTi-nsn£vvsmmce m
cHARuNE KlRKLAND-BRANDQN 1 RE 346 036 331 us 55°°»°°°
DEPosrroRY TRusT comva 21°$;2';£1';5““'“° °°""*“Y BEme
55 wATER sTREET. 131 FLooR m mm oF wmmm
3 DEscRri>'r'roN oF ao~o
MIEBGRI""ONC¥BO$D(TM. pnpoalee:.)(l`eeaocltednihaorm $.PENALSU|OFBMO
mmamurt.el'..irdadenm nme(Gnremrrlerlepenr.yhvon.) 3500?000
oMB coNTRoL NuMBER; 9000~0045 ac.weorso~o m.wmwwa
cAsE Accoum NuMBER; 4;11cR131 01/16/2018 CKBM1
unireo sTATEs oisTchT couRT oF THE NORTHERN 35 PRN=PAL‘
DlSTRlCT OF MlSSlSStPP| Hadiya lmani El bey

Temporary Mailing Locetion: ([504 Ronaldman Road
Cleveland, Mississippi state Republic [38732] TDC)
Non-Residentl Non~Domestic l Non‘Assumpsit

 

§.STATECFMORPCRAT|ON(|ICWW

 

 

Mississippi
AGREEMENT:
(a)TheDieuwnMgCnnpanyrmmedebmeisbamassmetymmuMedSmeedAmm mn\econddeentbedabove wherein
above¢amedis Yhehmdisgiveninrmeproiecoonofu\eumedsmeeandmebiectwnmg Cnnpaoyhaeappiiedtome
Reimu¢ingc rman toberelnswedandcomier-securedhlheamoumshown menemeofrhe
(rderredmasue'MJ olti'rls Reinsurenoe') criorwt\ateveramomtiesstrmme' mmumnolthisRe :E%Wmhg

Compmyisiieblelopay\mderorbyvirmeolmebnm
b)Forasrmrrmalyegreedrpon, paldbytheDirecththompan pan°¥totheReimuringCompmwadrackmwiedgaitsreoeimee

Agreernentcovemntandeg'eetod'ieierrnaandcondliions lhisegreement
TERMSANDCONDIT|ONS:
mpmposeandinmmaithisagreementlswg:;a;e'ntee_eand nnedStates inst under mmmebomwmeexiemolme
'AmountaimisRelnsm’ance' orlorany|esssum me'ArnomtolthisRehswance' that?ag:wlngand mpaidbymeDlrectWrilhg
Companytomeunmd$tates
THEREFORE:

1.limeDirectwritingCompenyfaiistopwanydeta\.rltundermehondequdmorhexoeeaollhe'mmtaimisRehsurance,'me
Relnewingcompanycovemntsandagreeeiopaytotheunltedstetea meobllgeeonmebond, the'Arnountolti'risRehsurance.' lime
Diedwrichgcm\panyhlswpaywmeurledstatesmyddamhraaum|eummme 'AmountaithisRei'rsuranoe' theReinsumg
Cunpanymvermnsa\dagreesbpeywmeumed$taieemmlamnmtofmedefmh. crsonerd'rthereolthatianotpaidtomeuniwd
Sta\eebytheDl\‘ectertingCompa\y

2.nyTheRelnaurthompa numercovenmtsandagreesmatincaseoloefauhonthehor\diorti'\e'Arnorimofti\lsRehs».rra\oe.'or
more meUnitedStatesmaysuetheReineuringcompanyfor-the‘AnmmofmlsRelnauranoe'n'lord'\eMiarmumdmederadtwhenthe
debrthst ‘Anwnlol\hlsReinsmanoe.'

WlTNESS

YheDirectWrilingCompanyandti'\eRehsurthompany respeaiveiy, havecausedthiaAgreementwbesignedmdinpmsede
n'reirfeapectivecorpomteseals byolllcers posseaslngpower msignuiswunmentandtobedtdyattestedwbyomcersempoweredmereto,
onlhedayenddaoeabove- -wrloenopposite\hekrespectivenames.

'~Mll‘.!.J£~Fmvirledeml.nnheuenleudelPCode.
Aim-romr-‘oe LocAr_REPRooucnoN STANDARD FCRlI 215 ¢R£v. io-ee)
Frev'nuee&m\ndle PreecrlbedbyGSA-FAR(£BCFR]S$ZZS(|)

 

CaSe2 4217-Cr-00131-D|\/|B-J|\/|V DOC #2 52 Filed2 02/13/18 68 Of 85 _Page|D #2 219

l` _ , ~i~
;:~'t"_u`ii" ~'ix!;- ;"»5_"3¢_' §:£.'"1

 

 

4. DiRECT WR!T!NG COIPA.NY

 

 

 

 

 

 

 

 

o.(r y sist (21 ATTEsT: sodium
Corporate
iam NAME ma mLE mmp 49.(21 NAME mo mts nw S“,
_l_.. _i
5. RH|SURING CO\IPANY
wit sicim'm£ (21 AnesT.~ sismrune
Co/porate
sam NAME mo 'n‘n.E mp¢q learn Nm'E Am`m am seal
lNSTRUCTlQNS

Thiaform law housed incaaeawharoitia deaimdtocovorthoexceaa ofa Directwriiingcompany'a underwriting
limitation by reinsurance instead ol co-inauranco on honda running to the United States except Millar Act Porionnanca
and Payment Bond¢. 800 FAR (48 CFR) 28.202-1 and 53.228(|) and 31 CFR 223.11(b)(1). ii ihia tom is used to mlnauro
a bid bond, the "Ponai SumoiBond' and "Amount ofthis Roinauranca' may boaxpromd aa percentage ofthe bid
provided ihe acmai amounts vrlli not axcoed tha companloa‘ respective underwriting lirnliailonc.

Enacuta and tila this form aa iollowa:

Origind and copies (aa apacillod by tha bond-approving oflicar), signed and aealad, shall accompany tha bond or ha
iiiodariihintl'iatimaporlodahowninthabidorpropocal.

one carbon copy, signed and aeaiad, shall accompany tha Direct eriing Company'a quarterly Schedule of Excoas
Rlaln filed wiih tha Dapartmont oi‘ Traaaury.

Other copies may bo praparad for the uao oi‘ the Direct Writing Company and Rolnauring Gompany. Each Rainaurlng
Company should usa a aaparata fonn.

 

STANDARD FDRI 215 (REV. 10-“) BACK

 

 

§ E?i£....n»,§¢rv$

 

 

 

       

 

3
d-
)i
4a -
7 d
.. ..
v.....
..~..H_ .

 

 

 
 

lsslssu>m forss'o’o,ooo 60

BIT.Z~¢

__
¢»¢ _`

     

ICT OF ,

 

 

 

 

 

 

 

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 70 Of 85 Page|D #Z 221 `%

RECE“!§§: (

`/ f 1_; Q,§\\'/
1/"3 113 20 -‘ 1.\"1'1'1\,-;1__\'1'1'1:1) s'rA't 125 ntsrt<lt;r t'<,)t`t<t ?3\
, t " RICTCOUP\" _ _
,;§§é§§°p§r$t§€§§';`.$§;»_t\sst¢.§\p¢ ron 'I‘Hti NOR'|HI€RN Dls'rltltT c )1-` .\.nsstssn)r>r wis

0 l

Sc:<,)rr F Nr;l_s <)\b¢~¢

CHARLIN 15 BRA_ `B)‘t§s§$%

\\'rPxDEr.i. BR.~\M_\P§§`@ .
_‘>t.\t.\-'F’l"l't: L<,)t-‘fo§`,;s<»°°.° ‘<»`°
.`¢ ,5,'~ v.

‘\ \.

 

6`

S` @
\<~* "@'t)t’_\"r ONE

 

v
:\’01 more than 10 years imprisonment - 18 L'.S.C. §§ 1347 & 1349
:\’01 more than 5250,000 1`me, or both ~ 18 U.S.C. § 3571 (1'))(3‘»
.\'ot more than 3 years supervised release ~ 18 l.`.S.C. § 3583 (_11)(21
5100 special assessment ~- 18 1,`.$.(,`. § 3013 (_a)(Z`)(:.~\`)

(,`Ol§.\`TS `l`WO THR(`)L?(,`H Tl~lIR'l`EE.»\`

.\'01 more than 10 years imprisonment - 18 lf.S.C. §§ 1347
\ 3
d _

Not more than 825().000 11ne. or both ~ 18 1_.',8.,(`. " 571 (b)(3)
.\I<‘)t more than 3 years supervised re\easc ~ 18 lI.S.C. § 3583 (h)(_l)

Sl()() special assessment ~ 18 11.$.(`. § 3013 (’;1)1\2:)(.'\)

 

CaSe: 4:17-CI’-OOJ_31-Dl\/|B-.]l\/|V DOC #Z 52 Filed: O2/13/18 71 Of 85 Page|D #Z 222

s

and ANl\'"E'l"l`E L(`)FTON, shall forl`eit to 111e United States ot`/\meriea, pursuant to Title 18 S)e@§/

ljnited States Code. Seetion 982(21)(7). 11_\(?;333§\1}’ real or personal that constitutes or i$§§e/
en es

   
   

\,\v~°°o‘::¢,° <\\ .
deri\ ed directly 01 inclileetl\ QQO%`".; Wo¥@£asdt£@ceahle tit the commission o1 tht\b t
w:§:\o 00 ;:\q:c§:b °'<°°_ " . ‘¥’[`
If am of the €/Q::é° o MW? Qt;&‘.~$§$;esult of an\ act or 01111;§(0£1`111:~

;°$ 150 .o& Mé@ t _S h ` _. §"\, M

defendants: vc;\°e‘;\i.\q($o:$\o& °;,`5 6`\‘;`0‘;;9:;_~`;® 639 f 639 q&\ '
. d a .~°g<.»°_. -
21. eann§§e\c;t`%`§g°\&£@;`w§ § ` ,
o has be§q¥ians§c??;dp§c:§o nd pam ,
\

e. has been eon‘tmin<l \\ r W;i)o 1ert_\ \\hieh cannot be tli\icletl \\ ithout di11ieult_\
;'\§?g$‘ 1 1

the United States o1` America shall be entitled to1"or1`eiture of substitute property pursuant to Yitle
21. L`nitecl States Code. Rection 8531p`1, as incorporated by Title 18. United States Cotle. Seetion

_(b')(l), and Title 28, United States Code. ection 2461(<:).

A TRUE BILL

.s‘./fs'i gillmre redacted
FOREPERSON

s 111111111»..,

,\CTI;\’G UNlTED ST_-X'l`l':`S 1=\`1"1`01{?\1`£\`

,_.
'.JJ

 

 

CaSe: 4:17-Cr-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 72 0185 Page|D #Z 223

and Control ot \Iedicare b) 111ea11s 111 talse and fraudulent pretenses rep1esentations. md &\8`

°:;1€16§;1)' ment t`or1tc,alt`»h care benelits. iten

promises in connection \\ith the del@\

  
    
 
  
    

v\r \?`°’°(\ v\\c"cp\>
6 \
ser\ices; that 1s DR SCOTTW S'Qc‘é° @ért§\;ed cpgme`h of the }mfentslr<t;,d 111 th te crtbelo\\'as
<<O\\ <<\°° '\° <,\ ¢§>`o° \,

tenninallv-ill and quaa§{§?,toi&§§§§ab@%‘p'hg§`iwwb§hd 111 faet_ e`tiie patien` iitf}e

WZ f . “~' »"~
terntinall\ ill 11 QO \r\ s`l*§\>&\)\? v S 611 ‘51j`lSON S

‘€~ ‘S.',Q€§'@?fl d 906 ob*\%§é°“‘§"?&

et

_` 9 ` °o_" \r a `°f f .. "', _ _ ..
cert111cat1on,oém¥;§\;&h*1.{§§\°i\w\cg _ ‘ 11 611 submitted fraudulent
°‘\Q'»\ \ .

Cl?llmS tO M€Ch°\@\;w WMS'QYS¢JN`WZ ' f ~a'sed 011 false certiiteations and
x \ ' . 1

\°` 95 @<° `\ °`\°§;`° \¢\ i

reietrals each patient constituti$xl@ s@p&',f`§
Q° ‘\'1’\°0`& .

. ‘ ` . ' 0
Untted States C.ode. Secuons 2*2§§\11

 

 

 

 

 

 

 

4'\\°° 69 .,__ 2 __ ii , l f
l 1 Hosplcr°q' §§‘°é`~ l ' -"‘m"““‘ i
eoUNT . ` 4 1° rom-m ; Ctoimt)oces Pamby.-\rodioore
' 1 PROV.[DER 1 1 1
1 ' » (_Approx.) (Approx. Total)
11 1 zion f 1 4 111 1 119/23/12-01/31/14 1 346_046 1
12 1 zion v ; D.J.f 1 09/05/13-03/03,~'14 323,683 `
13 3 zion _ _J__§“s _“N _1_11/,.717' 14 012"/15 if 7325,2£¢ '

 

 

 

.-\ll` 1n \ iolation of litle 18 l nited States Code Seetions"~ _ and 1147

F()RFEIT URE NOTlCE

The allegations contained in this Indictinent are hereby re-alleged and incorporated by
reference t`or the purpose of allegin;_l forfeitures pursuant to Title 18, United States (`ode, Section

982(a)(71 and 'l`itle 18, United States Code, Sections 982(a)(1).

L`pon conviction ot` the offenses in violation ot`Title 18. United States Code. Seetions
1347 and 1349 set 1`olth in this lndietlnent. the Defendants, DR. SC()'I`T Nl§LSON, C 1'~11'-\1{111"_\71§
BR.»\NDON, a.k.a. Hadiya lmani El Bey, \\"l~`a\?l)l§l,l,v BR./\.\TDON, a.k.a. Ontari lbrahim l;`l Bey,

12

 

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 73 Of 85 Page|D #Z 224

BRA:\`DON, a,k.ti. Hadiya lmani El Bc._\', and \\"`EA-\:DF.LL lBR.AL\'*l)()t\."__ a.k.a. Omari lhrahim l§l

Bc\', throth Ha\'en Ho.spiee_. Nortlt l~la\'en llospicc and Lion 5Hospice. kno\\‘inal\' subn1itt,5ed
- 2 h . c .
. . ,’

fraudulent claims to Mcdiearc and r ci\ nents horn \ledicatc based on false ceiti '
690

   

c'b.v (‘\\\,‘
\\O 09 .
and 1',eferrals each patient co%:t~\&;§\q §§;§p‘t?te gount 01 this lndictntent 111 violz
W\\° \9.¢\

18 united States Co %®e<m`§t §"§°§`:;
99

 

 

  
 

§
36
5\\§/

\?5(7\

 

  

 

 

 

 

 

   

 

   

 

 

 

 

 

 

 

 

 

 

 

 

s`~°°_"° do:° \5€_'€‘ ‘6<\\9`6` "`.V‘.` ~`.1
6 5 \°o 00 <\‘65` *5.\;°». tag " ‘ 4 inmth _
COUN'I` g§w \\"cz °bz'.; '.` es .` 5 l’aid,byMedicare
` \o°m v.‘v ¢ ,\ \°° 5965 00 5 5 5_ 215 0. ) 5 \ (.~\Qprt)x.'l`otal)
k \ \\ v Q\ ' _. " 15 "
2 1 <_° <»°° ?3;¢6 "° ‘ °° .<~‘.` Q¢t¢“`§ . 5- 8/12-02/05/13 5 323.712
1 o :\ L"` "` , :
3 5 665,113;\;5;1<\° Q\° :0“;' 3_'¢ ' . .50»~03,~14;'12-02,109:13 323,725
___.5._,____._._ 954 ., 5 _. . . 5 j ,
4 ‘ Ha\ en \z 5 041"01.;'1-1j05."25./15 845.558
l 5 " Havcn 5 5 5 j 07/24/12~01_/13/13 t 522_,887
6 ‘ 113\¢§<>\"`50~3"50\§ E.c. 5 11)1)1.»12-1)3.29.»1_3 323,32> 5
`{09"1[”" 6 l l l
7 ' North Ha\"en ?~° E.B. 091'12/12-03.?15. 13 l 823 785 l
8 1\'01111 Hu\-t»n 1 111). 5 12 27/12- 08/24,13 5 331,512 5
9 tion _\1_13. 1 03,»05./13-09,-'12_./13 5245926
10 4 Lion z 1_13_ ' 03,/08/13-09,/15/13 324_.963 5
All in violation ol`Title 18_. L711ited States Code, Sections 2 and 1347.
COUN'|`S ELE\TN THROUGH 'l`HIRTEEl\'
(Healthcare Fraud`)
l. The allegations contained in paragraphs l through 29 ofCount Onc ofthis
Indictrnent are re-alleged and incorporated herein,
l On or about thc dates listed in the chart belo\\‘_ in thc .\'orthcm District ol`

R¢lississipt)i_ defendants. I)R. S(.`O'l`"l` T\ll*fLS()N and .»'\;\l.\lET'l`E l,()lTTON. aided and abetted by
each other and othch known and unkno\m to the Grand Jur_\~; did knowingly and willfully

execute a schemcl and artit`tCe, al`l`ccting interstate eonnnerec, to del`raud a health care bencl'it

ll

 

CaSe: 4:17-Cr-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 74 Of 85 Page|D #Z 225 §

 

_j\'\t’/

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11. § Nontt 1-111\.1@11 5 513.1.1:_ 02/23/12-03/<)5,»'12 § 321,4<)5 \/
; i_\§@rutria\,-en § 'r.o_ , 12/;2,7/12-03/24,»"13 v 531,51._ §
__, 7 y 7 7 )~- 7 ~ W_~I
1 1_.1011 l \113 l 03 //05 13_0<)/12/13 s_ ¢°r’é '
; " . 7 6 1 . , _, '“,
1 111 1 5_ L101_1 §/<, ° »'*§§ t 'QB3/13-09/13/13 5 53__4 963 ,
1 1_ t zinn a_~\\",.~»" ~»\°<" v “._t;tt: f 11,"'091-'13-01./31,~’14 ‘§\] 59`762 l
wage 1 _ "\
m_ zim QO:\~ °oo¢’>,,<> ,. °?’.o°t. 1 091/0>/13-03/03/1,§¢ 51 323,638 _l
f`”" '] " °'» § ";:;:!~ '° OE ;;§$§ 1 - n w
th n_ »~ Q;;QI:\°T 5 °OOQ @: § “_`_| O7/ml4- / v ~1 823,212 §
' o 9 \
\»§;\»;i»\;;¢;¢~b.@;.
x -.\\ \ *
<+"~\l“§*‘h~ §‘l'§~‘*°‘li’* ‘
Q~ o\ <~‘° Q o a 6°
40 00 0@<°.\§ 00 ve \§O.
.`°° :\°. `°°.Q° `°` Q` g "
45 <~‘° .,<°° \°`8:§§,§°
` .
`° § <" 9 bQ~ <)
0"°
Q
l ll e alle< brandt _‘
1 ci;*;@!l:
lndietmem are re- -leal ego énd ir§:§?)orated nereii
¥°
l ()n or about the dates listed in the chart below. in the 1\'orthem District of

_\#lississippi, defendants, DR. SCO'l'l` ;\"ELSO.\Y. CHARl,.l.\'-'E BRA._\`DO.\`, a.k.a. Hadiya lmani
El Bey. and '\\'l;`l\DELI. BR;\.\§DO:\`, a.kia. Omari ibrahim El l§e}': aided and abetted b_\' each
other and others known and unl<no\\'n to the Grand _lury. did knowingly and willfully execute a
scheme and artifiee, affecting interstate eommerce. to defraud a health care benefit program. that
is. l\/ledieare, and to obtain money and property owned by and under the custody and Control of
.\'ledieare. by means ol` false and fraudulent pretenses, representations, and promises, in
connection with the delivery ot` and payment for health care benefits, items and sei'\"iees; that is,
DR. SC(`)'l`T ,\'l{l,SO.\' eertitied each ofthe patients listed in the chart below as tenninall_\_"-ill and
qualified l`or hospiee when in truth and in t`aet_. the patients were not tenninall_\'-ill and did not

qualify l`or hospiee eare. and as a result ot` DR. S(`t)Tl`.\'ELSON`S eertitieation, Cl IARLINE

l()

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 75 Of 85 Page|D #Z 226

 

 

LIO-\ 1111§.21)13-1)@¢, 2011 1 >":910 §§
' ' ` 551.639 ` `\ ;

 

 

/-IO»\ nec j1511361;2?1,\11)115 9\\
>>" °;c)°°°$ \,*\, , 1
.` ' ”" `4 \` “ ga ii -.`_ "‘ "'"‘*' '" " ' "T
S_»\.\`DAN.-\‘~\ Qd$ w _@F§:y~g: 3 "` 328,40& \ l
_%¢0 <.\go .¢\\ 3"6 ¢o l fm

 

\‘p\ z . `.`~__":`”~"ww" 1
\11LEs10\F /\<'/.,¢\:f‘. ` @m,eml 85 .
E<»‘;b,<~,!> 92&@?*¢“§’ 199 `“Mo§d` '
9 5\ i&°é$\ `6 . ‘ ‘ §
RI~;\ ELA @5€_»\\`:<~"¢ \* °;E§§ tg§p:-*M§,°° 1 s 537,481 »
§:Q¢ H`S` §§ Q\b ;°:;m<. ° ~`\0: _
) /

Q` \\9`(\° `$\°\ _;
Qoo°"~@°°o <'/`°Q\'°"°°°@ °""\5@.*1

 

 

 

 

  

6
\:`;,\ ".\ 50 °\0 Q\°`Q;`°,;: ,/ ` >
29. \S d€>&?lbedM% §§§.s§;a ~;h' : -';;14111\11 1 So_\' 1111>¢1 mined the
listed patients as terminall\' -ill an@°ho§plq»\°,- ewan tn truth and in Fact, the listed

 

13 \1» ' ' `
patients \\ ere not tenninall\ -ilheild \\§?°§5'1 ,t R?)spice appropriate CH ARLlNF BRA._\D()\I

\VE_\DEI l BRAL\*DON and A\\Y` l`TE L()l lO1\ thiouuh the liospice pro\ iders as listed then
submitted fraudulent claims for reimbursement to ,\'Iedicare on 01' about the dates listed 101
alleged hospice services based on DR. SCO'l"l` .`\`ELSO.\"S false certitications. l;`ac.h false
certification by DR. SC()'l`T Nl`:l`.SON and subsequent billing b_\' thc bospicc provider represents

;1 separate oven act in furtherance ol` the conspirac_\':

 

 

 

 

 

 

 

 

 

 

 

 

 

 

P§§?)S\};:)([Fi{ Patient Claim Dates § l’aid:;?b;ll:;icarc !
k (Approx.) 1 ,_ (Approx. Total)

*, 111 . Hav¢n 1\.1.,'\. 113/08/12-02/05/13 523,712

15. l Havcn E.1. ' 1)3/14/12_02/09/13 521__725 l

¢_ 1 _» Ha\~¢ii _;V 7 C.1._H 119/20!12-111201'12 1 512,222 v

11. Havcn 1?.1\/1_~ 04/01/14_05/25/15 ' 545,558 1
__H_¢,.j f 4_ 1131-en l L.s_ ' 117/24/12-01/13.»"13 j 522_887

1‘.… : _ nave-11 _ 1:.1#_ ' 10/01/12-1)31_29/13 1321sz §

g ' 1\'@11111111\~¢11 1-:.13. . 1)<)_:12/12_03/15/13 § 123.785 _i

 

9

 

I_

l

1

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 76 Of 85 Page|D #Z 227

ed

I_\_. lt \\'as part ofthe conspiracy that DR. SC(_)'l`T _\`lil_$(_)_\'. 111 addition to his %+\]

§§

monthl\ medic il di1ector` s fcc recci\ed numerous pa\ ments from hospice _1ro\1'ders tor _111tien

`
Q \ \Q'
Co-}`a_\'s and past due amounts o\\ ed ?`l§p&§'q!§. 9"\ "'p g
Y\¥~ ";:`°\\c'°cp \)° ` ky
the

    
  
        

    

36. lt \\as further %Q&%€\X£Hz@§;g§¢hat DR. S(` OTT .\El SO\ sen y.’/1'(2;5
.. . 09 \` °°`°° b"°` \' » `
rned1cal d1rector for n%rq@¢tga§b 0§03 Wrs, including but not lit (K:.»\ngelic
¢` § §§ ‘\ _
q,¢@°`,¢°°:°\> @°&‘°‘°`W -_ '*v_ .,' ‘
Hospic¢ .md 1131§§:1\¢®1 e°BgR;`t&§, §q\`,}vt>§y.gto ";e-_;@tl*;aui Care me- w@rd 01
° ?'_`Q°°<\\` o°‘§> `o°*_*%~s\,~. » 'S-, ' ’.:.. '
‘">;'\\6`,0*,1¢®0 §§ 6\~§'*_ '_ \"9 `
Deli\eranc.e H®S:¥E':;: WQ» , _ '. ~ ` » _ Carols Ilosp1ce &
o¢<P"`e°° °.,»<"°°“Q‘° ~' ' '
Palliati\e Ser\`l`qbs ot§l¥`$q§i;§\° §§j»p';<? ~ _§ ' '~:"'~ `<` ledlcal l LC; and Mid- l)elta
`°\\ `$e`(§\ Q_`°§\\`\\" d .` _};` _.,” ,, a
Q\ Q_. " ~' '

Hospice. lnc.

17. Dur1ng anth€i turQ§§"§tce ofthe conspirac\ and to affect the objects ol l`the
§
conspirac_v, at least one ot" the co~conspirators committed at least one ofthe following overt acts
on or about the dates listed,

28. l~`rorn on or about dates set t`onh 111 the chart belo\\‘. DR. SC()TT NELSO_\`
received payments i`rom Genesis Hospice. Ha\`cn Hospicc_ Nortl1 Hu\'en l'lospice, Lion Hospice.
Zion Hospice. .\'lileslone llospicc, Sandanna llospice` and Re\~clation Hospice 111 return for his
certification and referral ot`paticnts to those hospices who \\'ere not hospicc appropriate and not

actually tcnninall_\'-ill. As set forth 111 the chart l1el0\\', each payment to DR. SC()TT ,\'ELSON

was a separate overt act in furtherance ofthe conspiracy

 

 

 

____ _ __ j _ ___ l _ l

nost>rcn PRo\a_r)ER DATE ru_\'GE ; .uiou\r'r P..~\n) '1'0 a

____* ______,___2_____1_ __ _ __l_ DR- NELS_Q_N;_ _,_ __l
Gr;NEsrs l Au§. 201)5_11111@ 2013 1 5129,316

l

 

 

 

HAVEN t 1`@1»_ 2013-Sepr_ 2015 § s27,13<)

 

 

1111

Lion llospice. '/.10n llospice Milestone llospice_. §'1mdanna Hospicc and Re\- elation llospicc®\i

CaSe: 4:17-CI’-OOJ_31-Dl\/|B-.]l\/|V DOC #Z 52 Filed: O2/13/18 77 Of 85 Page|D #Z 228

o
\\ould submiti raudulcnt claims to .\'ledieare Q§11<1;`1_\;1Cd1ca1d and 101ce1\ e pa_\ ments from \@@are
10 0°:~°'* -
and ;\'1edica1d based on his false e;§§)<@t@s@nd’ retberralg tide
°O~Q 2096
21. lt \\as part ot QQQ@W: 31£*`14€1 l 4311 1\'3 BILL\NDCH\ cl Genesis
90 °";1,\"" 0 "’3"'° `°O\ ,`v
Hospice 111 order to a\ o®ég» _° M°" ;€;M%m 0\ \rpa) °°1@.5nt d v .1 cs to Medicare.
\

Subscquentl C 11

  

Q';:Q-° o°`e>"`;,o`§§ "
22. 11 was parr 01 the Wcaaizpir,gw\% 411 \ g>“ wine BR mi)o_\ and \1 FNDI 11

°`. %' " b
BRANDON through 11a\ en Hosp¢e.i \@w '~`°en Hospice and Lion Hospice then fraudulently

o‘ 05
submitted claims to Medicarc arid 1\1§1;111d 1111 hospice services that \\ erc not mcdicall
necessary and for services not actually provided for patients who had been Falsel_\' certified as
terminall_v-ill by DR. SCOT'|` NEI,.SOI\'.

23. lt was part of the conspiracy that Rocsha Sanders, who is not charged in this
lndictment, assisted CHARLINE BRANDON as the director of marketing for her hospice
Operation, managing hospice employees who collected names and identifying information and
solicited patients 1101 l»laven 1~{ospice, North Haven l'Iospice, Lion Hospice and North l.ion
Hospice that were not hospicc appropriate l~lospice employees under the direction 01` Roesha
Sandcrs, often transported thc patients directly to DR. SCOTT NELSON.

24. lt was part ofthe conspiracy that ANNErl"l`E 101'~`TON, through "/.ion l»lospice.
l`raudulentl_v submitted claims to Medicare for hospice services that were not medically necessary

and 1`<1r services not actually provided for patients who had been falsely certilied as tenninall_v 111

by DR. SCOTT :\’ELS()N.

 

CaSe: 4:17-Ct’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 78 Of 85 Page|D #Z 229

11
111

18. 1"1‘om 011 or about September 2011 to on or about Februar}' 2015, 1=-\1\1\"1~:'1'1`1§ @Q>
1,()1"101\'. through Zion l~lospice. submitted claims t`or reimbursement to .\-:ledicare for hospicev&\>'

se1\ ices that resulted 111 the total 1a\ 11 nt Q§ht$$o\nnatel\ 32.237 509111 \Iedietne

     
  

¥~o c,6 ~\o\' 0°` Q,
\ o .
Zion Hospicc. A?`:°d°°\’¢i*:'_ép °\ f »‘<~ \&A`l
\ . _ 7
09"~“°¢~"¢‘%`~° :.§ ` 1119
. v id (
1")_
D1_<11-1@101‘»1155; vs 15 m ,@t\ge _, ' '.:§`:° j f ; ' _’ titt.
. .
_ o ~\" “ \°\o*\\°°:a°‘°\\\\‘:o <\~* _ _ _
1111111\1130_\1%¢¥1¢1§§§4§.§,3;;;°1&» 1121 1 111111_ 1<1111\\-111§1>~ 111111 1111111`11111-
\°»"‘J" . ¢ `°\g".;\.g ' `
conspire and agrce@i'th c th ' ~ y- ‘ andra Livingston Laral _\nn
06 `
\ \
Thompson and Andre lxtrl\lanG,°t\ 1191 1 @§cd 111 this lndtctmcnt and others nno\\n and
unkno\m to the Grand lur\t tastb<e$;?;° " cme and unifice1 affecting interstate coinmerce, to
\("§

defraud a health care benefit pro§tatn that is \Iedie are and .\Iedicaid and to obtain mone\ and
property owned b_\' and under the custody and control of Medicare and f\/iedicaid, by means of
false and fraudulent pretenses, representations and promises in connection with the delivery of
and payment for health care benefits, items and Serviees, in violation ofTitle 18. United States
Code. Section 1347 and 1349.
.\=Ianner and Means

Ztl. lt was part ofthe conspiracy that DR. SCOTT NELS()N certified numerous
patients as terminall_v ill and qualified 1`01' hospice when in truth and in fact. the patients were not
terminall_\"-ill and did not qualify l"or hospice care. At the time he ccltitied the patients, DR.
SC`t)'l`T NleS()N knew that Cll »\RL].\‘|; BR/'\\D()\_ \\ 1-`\DEL1 BKANDO\ \~_\1\'1§ 1 115
L(’)li'l`OY\'_ named defendants, and Sandra Li\'ingston_. Andt'e l‘\'irklantl_. and others not named as

defendants in this lndictment, through (‘ienesis llospice, Ha\~'en Hospice, .\’orth 1111\'en l~lospice,

 

CaSe: 4:17-CI’-OOJ_31-Dl\/|B-.]l\/|V DOC #Z 52 Filed: 02/13/18 79 Of 85 Page|D #Z 230

 

, j
§ MEDlCARE A.\"IT PAll) FOR P.~\TIENTS § \\

 

 

HOSPICE § DATE RANGE § crzRTrrtED/REFERRED BY 1)1<. \YFLQONW
_.r l § '~ <¢».~/ V .
GP.\'t:sts ; i»'i,»'t)s_i/zz;\t t 6 sz_ 3,66 655 W§“ 4
t § 9 °(°Q‘*"d»" § Q/§\ §
__,, ,_M_,_ .,,,____ .,\\. 9 9 \;§§_ t mg
§ \'- "?‘§€"°6»° ‘ §§ =
j s_¢ii\'t).'.\i\i\:.¢\ t ""4§.'§‘2°€631<+3 4<>\ 34 602 76&,§0 f

§

§

 

 

w l

    
  

 

 

 

 
 

 

 

HAW\
LioN 61,103,284
€ZIoz\‘ l 6..17/13-2/23/15 z 31355-,228 F
§ t . `, l . _

§REVELATION z 12.12,<)./10-12.»'31,/13 z 5720,>06

l6. l" rom on or about January 2005 through on or about March 2011, CHARLINE
BR'-\.\§DON, through Genesis Hospice. submitted claims l`or reimbursement to Medicare for
hospice services that resulted in the total_ combined payment of approximately 33 l ,784_.254 in
Medieare funds

l7. l"`rom on or about September 20 l 0 through on or about March 2015. CHARLINE
BRA.\‘l)ON and \\~‘"ENl)l`:`LL BRANDO;\§. through Ha\'en l~lospice~ North l'laven llospice, l.ion
Hospiee and Nonh Lion l-lospice, submitted claims for reimbursement to 4:\'ledicarc l`or hospice
services that resulted in the total. combined payment of approximately Sl l ,()-'10,17`/` in _\‘letlicare

and the total_. eombined payment of approximately $2,917.247 in l\-ledicaid t`unds.

‘Jl

 

CaSe: 4:17-Cr-OOJ_31-Dl\/|B-.]l\/|V DOC #Z 52 Filed: O2/13/18 80 Of 85 Page|D #Z 231

1\
659

l2. To qualify for hospice care under Medicare and .\'ledicaitl, a patient must be v
certified by a physician as terminall_\' ill with a life expectancy of six months or less ii` the ?\>$\.
\)\l\
terminal condition runs its nonnal§e§q§':’ :A‘t$le end of a 90~da_\ enrollment period a ph&§\g{an

\<.
\\?~`°d se <P-‘
111;1\ re- -certit_\ a patient ftzé@$.prl`;®§"\°@\§t pa{Pent remained terminall\ il (\Ad[>p

o\
13. Gez§$@§fp\§`db% WHqu "\ortn Ha\ enllospice, ‘/thl!?ospiee_ \0rt`r_
Cl`° °.(\ 00 W" .
60 o`§§
lion Hospice¥§§gé§§§ \‘j; m °:§FHX; W€Q$§S}t~ \@¥dann@"§.bspotaw§£islievelation Hospice, as

\\"<"\

Dul'portcd¢%@§r @Q_ ¢.¢:° \d€°\;$;§§§: l\_wid::§;¢\ _ , _ v

\ \ ¢ ' § `

llos Ha$'% )i€° W' alert “` ,` 1 "

pmc 1156 § .,6‘~§;69\ `_\°\\\*46\‘° ~j _ "

Q_. k v /.

llospice and Re\ elation llo§@¢ee§:s&'\§o `
Q° 1'\'

0

14. DR seorrr,\@

.\oe* °®°\;"

hospice services and le‘l'erred“§§§ients to Genesis Hospice. lla\ en Hospice Norlh Ha\ en

    
  
  
  

»_ 1
»__)

Hospice, Lion Hospiee, Zion Hospice, .\lilestone l'lospice_. Sandanna i~lospice, and l\e\'elation
liospice. which allowed the aforementioned hospiee providers to bill ._\'l'edieare and _\ledicaid
and receive payments from \'ledicare and _\"Ie.dicaitl related to those patients

l5. AS described tn the chart be lo\\ from on or about the dates listed, Genesis
Hospice, Haven Hospice, North Ha\~‘en l~lospice_. Lion Hospice_. /`-ion l~lospice. Milestone
l»lospice, Sandanna l~-lospiee, and Re\"elation llospice. submitted claims For reimbursement to

Medicare and received payment. based on DR. SCOTT NF.l.SOl\”S false certification and

referral that patients were hospice appropriate and telTni11all_\_’-ill:

.1_.

 

CaSe: 4:17-Cr-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: 02/13/18 81 Of 85 Page|D #Z 232

l‘lospiee applied t"or and received a :\~'ledieare provider number to purportedly provide hospice Gl',g

services in the 1\’orthern District of Mississippi

      

The Medicare / M »

S. The Centers for< v`;°: ::"P`ca

`

the United States Depar@’lc:t§:;$;§°?§j °""% wsp `?;é°€l\\tit cruces \v as a departmcn
l

`(` ‘ `:_ .
' a _"fort inde
~ -1.~. _\°. -

09 ,%°° \° `
States ao\einmen&$;\b§ $§0 th§p;§%al

ams and>: ns ice Care .`1

i§br\ices (C\/lS} a federal agencéci:\?i§iin

   
 
 
  

l fbi l filled

 

\’\

9
"\>.\\ §§ 1
§§5: \\ ,\ \ 59 s §
su ervision of M;§ia%qp'i"°

1\'ledica1e and l\/l<?dtcai§°we? °@l€

24(’b`). ;;:q`:

federal funds from payroll ta\;es and premiums paid b_v benetieiaries.

lO. The Mcdicare program consisted of several parts, one ot`\vhich, relevant to this
indictment, was referred to as “l’art /\” hospital insurance, which covered inpatient care in
hospitals nursing homes and skilled nursing facilities lf cenain requirements wch mct_ Part A
also covered hospice care.

l l. The _\»lcdicaid Program \vas ajoint l"` ederal and State funded health insurance
program that \vas administered by the State Division of _\"ledicaid. ,-\'ledicaid provided medical
care to low income individuals and certain others with disabilities .r~\lthough t\'ledicaid was a
federal program, private insurance organizations called intermediaries and carriers contracted
\vitlt CMS to process and pay claims submitted by health care providers Under certain

conditions ;\"ledicaid would pay claims for hospice eare.

'v)

 

CaSe: 4:17-CI’-OOJ_31-D|\/|B-.]|\/|V DOC #Z 52 Filed: O2/13/18 82 Of 85 Page|D #Z 233

3. WE.\’DELI. BR»'\NDO.\I, a.l\'.a. ( 1111a1'i lbrahim El Bey, defendant. was the odd

QP*\

nominal o\\ner ofHa\-'en 1~lospice & l’alliative Care_. l 1 C (hcreinal`ter "1~1aven Hospice") Nort'r.~ z

Havcn Hospice de P illiati\e Caic. Id@éh¢? ve "‘:_\ortli llav';h Hospice") )Lion Hospiee M§)$
6 \ "»
\\ \'\d \°.°\ \'.o° »
Palliative Care LLC (her MMWMe `$`an'd \o1111 L1on Hospiee & Pal'liaL BEQ`.are
"::\q \" \5¢\° `
c

z¢(§i'pd§zvep 11ospi_ce._\011h 11a\t11 Hos"`

00 g \5'1."°0-0\>
and \'01111 Li§§o:\§z$ go %;1\"° ‘°m§'§d§w?bed 21 1\1ed .cart¢pro\ ide
`\‘\<P y.\>\¢ *i\\“ §§ M\¢Q ;§‘>Q°` 0\5::§ §;od;'. 4'4$5$'5`¢`. 19 \ .

pro\ider¢$!h`g¢.!$0 ;:;Wg°: Ne§$k§z

`°UAR<E§¢F f . vi ' ' ` 121 Be5 defendant, although no:

. l,ion llospiee

  

mher and a_:\ledicaid

19

  
  

s `<\ -\\'\
<¢, °\
9 °O°\ \¢ l :
listed as the owner in eoqserpqu*h 1 05 thh \l,.dua‘re \\as 1111 actual o\\ner ant
<\'":\°°: /.' . 4 '. `
the person primarily res 1b`!:;' ' . ` ‘ration ofHaven llospiée_, 1\`orth1~1aven Hospiee, lion
. `\ ' `
°`\° °` °\"°`° '(\
Hospice and \orth\I ion?`° gd§iee.

I. 1~\1\"1\1?`.111; LOF 1 O.\'. defendant, o\med and operated Zion Hospiee. Zion

)

Hospiee applied for and received a l\'ledieare provider number to purportedly provide hospice
services in the Northern District of§\lississippi.

6. Sandra Livingston, Who is not charged 111 this lndietment, owned and operated
Sandanna l~lospiee, lnc. and Milestone Hospice, lnc. Both Sandanna and Milestone applied for
and received a Medicare provider n1u11l)er to purportedly provide hospiec services in the
Northern District of Mississippi Sandanna received a Medicaid provider number Lara Lynn
Tholnpson, Who is not charged in this lndietment, was employed by Sandra Livingston at both
Sandanna 1-lospice and Milestone Hospice.

7. Andre Kirkland_ who is not charged 111 this indictment, owned and operated

Revclation Hospice & Palliative Care, 1..LC ( hereinafter “Revelatiou Hospice"). Revelation

l`J

 

 

, y
sr

CaS€Z 4217-'CI’-OOJ_31-D|\/|B-.]|\/|V D'OC #Z 52 Filed: 02/13/18 83 Of 85 Pag€|D #Z ZW
o

W\\ A/m/rs fare

\'

IN THE UQl/\`IIIED STATES DlSTRlCT COURT §¥Vm ~HS. C K
FOR 'l` ` RN DlSTRlCT O_F MISSISS`WP ' §epu!y

   
  
     
  

-\
UNlTED STATES OQ s_ r_ ,C;(_
" ` ` ,‘ 4' l v /"d
' o z ‘-__ 'J , ~ ,
/3/°-<*.-°1 o ~ , 1 , . , k ,

"- q‘}fg.<>°,~ 4‘" -/_‘-,A;,B ,C-ASE.,NO, 4;13§3_)\5¢

OO¢'\\`.\Q':$Q$`Q 1 " “ fn C§/l 3-,4;7);' . s `/..:‘i"

v `P .QP § \b _ k _ _;S`C'.j§ ' ry , d
'l`°§'.`é` 0@~`°`§ ~ - ¢ ’~’~,..:)'~ °" w / '~ ' ';, liy"'¢
` " ~*` sq\° s " .,., ` ,_71_."\-'

scott E , `° .
CHARLIN , ' §§
wENDELL o q‘.°k. .

Ai\?\‘arriz LoFT`oN '

    

6 _ x $ "'r,/.` l"th ‘ ,»' ‘_)h
§ '\ § )~S‘ \ €”’/‘ as .§' ",- Y
` T ly \ o$_q¢’€; ‘
§ §§ ch'rMEi\ 1”/.-¢,\ b f -,@
\ ° 0 6/,\\ 331 ' _`
69 " OO" \_` rr ‘"r;/_y' 5<,)_,/'
\ \ ,~ . ,__4 .. b
The Crrand Jury charges thd° ' ¢,,,:' °"
€"]

Count One
(Healthcare Fraud Conspiracy)

magma

At all times relevant herein;

l. DR. SCO'I`I` NELSON. defendant, was a medical doctor in Cleveland,
Mississippi and served as a medical director for Haven Hospice, North Haven Hospice, Lion
Hospice, Zion Hospice, Milestone Hospice, Sandanna Hospice and Re\'elation Hospice. DR.
SCOTI` NELSON was an enrolled provider for Medicare and Medicaid.

l CHARLINE BRANDON. ak.a. Hadiya lmani El Bey, owned and operated
Genesis Hospice Care, Genesis Hospice Care of lndianola, and Genesis Hospice Care ~
Batesville (liereinafter collectively referred to as “Genesis Hospice”). Genesis Hospice applied
for and received a Medicare and Medicaid provider number to purportedly provide hospice

services in the Northern District of Mississippi

 

 

 

MlSSISS|PPI STATE DEPARTMENT OF HEALTH

lllll|llllll|llllllll||llll

1273763 638

m `v. s_. m
JAN 25 1956

ll‘. KNUIB|I¢SIOR m

mm°lm

vouomm mmde
l¢¢= 'A;
m:nl.'

z_._:'-:..-.-..°.'.L -*:.

mss:ssm»l

I” m ml IIM"N *l_ MV _
(hi~dkllmfhllhd¢dl) 51` 'f

=‘ wm

m m A? W||
Vl|

,,nnu”,
MlSS/:

", ',”l””'”~,, .
\¢|Q?\ STA]~ ` .
FILE NAME: lgsm374m

DATE ISSUED! OCTOBER 5, 2017 Ju Mou|der
sT TE REGlsTRAR

. A REFRODUCT\ON OF THlS DOCUMENT RENDERS lT VO\D AND \NVAL\D. DO NOT ACCEPT UNLESS EMBOSSF.D SEAL OF THE
' MISSISS|PP| STATE BOARD OF HEALTH lS PRESENT IT lS lLLEGAL TO ALTER OR COUNTERFE|T TH|S DOCUMENT

,,u

WARN|NG

 

 

 

F?Ec loc ¢Clj\~ Q?_\C mL/ ANva
OFZN;: Waiver
f § §Om©£ WG:LLZQ§ ,Nm~

6

~

       
       

# W§O» _ ..uw_ww, w \
rev f

m THE 1140 N~\m 0 …\ww.` wNWl_.vOU
m
5
mm . j,. ¢z.+mcw~>wmmvomq>wmmw<_nms ..z_ C.w_u.>m_.Om._.>Om
%, dmm`m~.mdmd `Sd=. , m :=::= ::= nrmmmww>zo_ _<_w.,
M , ,, , , , law §§qu

W. , , . l 33 $._ @.Cm

 

253 m~uom§ SSFS

 

mm who omm mom cm

umz .`moo.ou.ooo.wu:

    
 

W /U_..ur.»_ D
U,w/i@/'

O/; MMFOKUOF @ccfP\ mg V§v y
ja ` 7\/{,\/#\, UM § UU »,».W

Case

 

 

